                                                                         Schedule 1
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                             2                           Updated List of Potential Parties in Interest

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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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                PG&E Corporation and Pacific Gas and Electric Company
                                Retention Checklist

Debtors                                               Deutsche Bank Trust Company
       PG&E Corporation                               Americas
       Pacific Gas and Electric Company               Fidelity Management Trust
                                                      Company
Debtors’ Trade Names and Aliases (up to 8             Goldman, Sachs & Co.
years) (a/k/a, f/k/a, d/b/a)                          JP Morgan Chase Bank, N.A.
        None                                          Merrill Lynch
                                                      Mitsubishi UFJ Securities USA,
Affiliates and Subsidiaries                           INC.
        Alaska Gas Exploration Associates             Morgan Stanley / ISG Operations
        Eureka Energy Company                         RBC Capital Markets
        Fuelco LLC                                    Royal Bank of Canada
        Midway Power, LLC                             Royal Bank of Scotland
        Morro Bay Mutual Water Company                U.S. Bank N.A. Global Corporate
        Moss Landing Mutual Water                     Trust Services
        Company                                       U.S. Bank, N.A.
        Natural Gas Corporation of                    Union Bank of California
        California                                    Wachovia Corporate Services, Inc.
        Pacific Energy Capital IV, LLC                Wells Fargo Bank, N.A.
        Pacific Energy Fuels Company                  Wells Fargo Securities, LLC
        Pacific Gas and Electric Company
        PCG Capital, Inc. (Formerly PG&E
        Ventures, Inc.)                        Bankruptcy Judges & Staff Northern District
        PG&E Corporation Support Services      of California
        II, Inc.                                       Chief Judge Charles Novack
        PG&E Corporation Support                       Judge Hannah L. Blumenstiel
        Services, Inc.                                 Judge Roger L. Efremsky
        PG&E National Energy Group, LLC                Judge M. Elaine Hammond
        Standard Pacific Gas Line                      Judge Stephen L. Johnson
        Incorporated                                   Judge William J. Lafferty III
        STARS Alliance LLC (formed in DE               Judge Dennis Montali
        7/12/12, PG&E ownership interest               Edward Emmons (Clerk of the
        acquired 7/30/12)                              Court)
                                                       Amy Leitner
Bank Accounts                                          Anna Lee
      Bank of America                                  Anna Rosales
      Bank of America Merrill Lynch                    Audrey Gervasi
      Bank of Marin                                    Benjamin V. Gapuz
      Bank of New York Mellon                          Cindy Fan
      Barclays Capital Inc.                            Dina Kakalia
      BNP Paribas                                      Emily Keller
      Citibank, N.A.                                   Jane Fabian
      Citigroup Global Markets                         Jane Galvani
                                                       Kay Fransson


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      Kenneth Conlan                                Miller, Forrest
      Laura Dripps                                  Minicucci, Benito
      Laurent Chen                                  Mistry, Dinyar Behram
      Lorena Parada                                 Montizambert, Eric Alan
      Monica Burley                                 Mullins, Eric
      Peggy E. Brister                              Parra, Rosendo
      Rachel Stoian                                 Powell, Deborah W
      Raenna J. Rorabeck                            Rambo, Barbara
      Rahmon Brown                                  Sanford, Scott Thomas
      Ruby Bautista                                 Shim, Gun S.
      Shannon Mounger-Lum                           Simon, John R
      Terence Desouza                               Singh, Sumeet
                                                    Smith, Anne Shen
                                                    Soto Jr., Jesus
Current Officers and Directors                      Stephens, Keith Fisher
       Affonsa, Deborah T                           Thomason, David
       Becker, Margaret Kryder                      Titone, Bonnie Beth
       Bell, Valerie J.                             Trevino, Rolando I.
       Bijur, Nicholas Marks                        Wan, Fong
       Cairns, Stephen James                        Wells, Jason P
       Caron, Mark T                                Welsch, James Michael
       Chan, Eileen                                 Williams, Andrew K
       Cheng, Linda Y
       Chew, Lewis
       Christopher, Melvin J.                Term and Revolving Loan Lenders and
       Cowens, Bernard A.                    Administrative Agents
       Dasso, Kevin John                           Bank of America, N.A. (Admin
       Foster, Christopher                         Agent - $300M)
       Fowler, Fred                                Barclays Bank PLC
       Franke, Jon A.                              BNP Paribas
       Giammona, Loraine M.                        Canadian Imperial Bank of
       Hogan, Patrick                              Commerce, New York Branch
       Johnson, Aaron J                            Citibank, N.A. (Admin Agent - $3B)
       Kane, Julie M                               Goldman Sachs Bank USA
       Kay, Kathleen B                             JPMorgan Chase Bank, N.A.
       Kelly, Richard                              Mizuho Bank, Ltd. (TL)
       Kenney, Robert S.                           Morgan Stanley Bank, N.A.
       King, Mary                                  Morgan Stanley Senior Funding, Inc.
       Kiyota, Travis T                            MUFG Union Bank, N.A.
       Kuga, Roy M                                 Royal Bank of Canada
       Lee, Wondy S                                Sumitomo Mitsui Banking
       Lemler, Gregg Lee                           Corporation
       Lewis, Michael                              TD Bank, N.A.
       Loduca, Janet C                             The Bank of New York Mellon
       Malnight, Steven                            The Bank of Tokyo-Mitsubishi UFJ,
       Martin, Jamie Lynn                          Ltd. (TL)
       Meserve, Richard                            US Bank, National Association


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      Wells Fargo Bank, National                      Altamont Power LLC (Partners 2)
      Association                                     Alvares Renewables Projectco LLC
                                                      Amedee Geothermal Venture 1
Contract Counterparties                               Amerex Brokers LLC
       1080 Chestnut Corp.                            American Energy, Inc.
       3 Phases Renewables, Inc.                      Ampco/national 1
       54KR 8me LLC                                   Anadarko
       83WI 8ME LLC                                   Anahau Energy
       87RL 8ME LLC                                   Anahau Energy, LLC
       8minutenergy Renewables, LLC                   Apache Corp.
       Abatement Fuels LLC                            Apex Greenworks LLC
       ABEC #2 LLC                                    Apex Natural Renewable Generation
       ABEC #3 LLC                                    LLC
       ABEC #4 LLC                                    APS - Pinnacle West Capital Corp -
       ABEC Bidart-Old River LLC                      (Trading Entity)
       ABEC Bidart-Stockdale LLC                      Arbuckle Mountain Hydro, LLC
       ABQ ENERGY                                     Arcadian Renewable Power Corp
       Acciona Energy N.A./ Pacific                   Arden Wood Benevolent Assoc.
       Renewables                                     Arizona Public Service
       Aera Energy LLC                                Arlington Wind Power Project, LLC
       Aera Energy LLC (Coalinga)                     Aspiration Solar G LLC
       Aera Energy LLC (N. Midway                     Atlantic Coast
       Sunset)                                        Atlantic Coast Energy Corp.
       Aera Energy LLC (Oxford)                       Atlantica Yield
       Aera Energy LLC (S. Belridge)                  Atlantica Yield
       AES Distributed Energy                         Ato Power Inc.
       Agua Caliente Solar, LLC                       Ausra Ca II, LLC
       Ahura Energy Concentrating                     AV Solar Ranch One, LLC
       Systems, Inc.                                  Avangrid Renewables, LLC
       Air Products Manuf. Corp.                      Avenal Park LLC
       Airport Club                                   Avista Energy, Inc.
       Alamo Solar, LLC                               Avista Utilities
       Alaun Group                                    Badger Creek Limited
       Algonquin Power Co.                            Bailey Creek Ranch
       Algonquin Power Sanger LLC                     Baker Station Associates L.P.
       Algonquin SKIC Solar 20 Solar,                 Baker Station Associates, L.P.
       LLC                                            Bakersfield 111 LLC
       Alpaugh 50, LLC                                Bakersfield Industrial PV 1, LLC
       Alpaugh North, LLC                             Bakersfield PV 1, LLC
       AltaGas Ripon Energy Inc.                      Bakersfield PV I, LLC
       AltaGas San Joaquin Energy Inc.                Bank of Montreal
       Altamont Cogeneration Corp.                    BAP Power Corporation
       Altamont Power LLC (3-4 )                      Barclays Bank PLC
       Altamont Power LLC (4-4)                       Bayshore Solar A, LLC
       Altamont Power LLC (6-4)                       Bayshore Solar B, LLC
       Altamont Power LLC (Partners 1)                Bayshore Solar C, LLC



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      Bear Creek Solar, LLC                          California Power Holdings, LLC
      Bear Mountain Limited                          Calpeak Power - Panoche LLC
      Beautiful Earth Group LLC                      Calpeak Power - Vaca Dixon LLC
      Bellus Ventures I LLC                          CalPeak Power, LLC
      Bena Power Producers LLC                       Calpine
      Berkeley Cogeneration                          Calpine King City Cogen.
      Berkshire Hathaway Energy                      Calpine Energy Services, L.P.
      Renewables                                     Calpine Energy Solutions, LLC
      Berry Creek                                    Calpine Geysers Co. L. P. (KW#1)
      Berry Petroleum Company                        Calpine Geysers Co. L. P. (KW#2)
      Bertha Noll                                    Calpine Geysers Co. L. P. (WFF)
      Bertha Wright Bertillion                       Calpine LLC
      BGC Environmental Brokerage                    Calpine Monterey Cogen Inc.
      Services, L.P.                                 Calpine Pittsburg Power Plant
      Big Creek Water Works, Ltd.                    Calpine Retained Assets Agreement
      Big Valley Power, LLC                          CalRenew -1 LLC
      BioEnergy Green Fuels, LLC                     Calstor, LLC
      BioEnergy Solutions LLC                        Calwind Resources, Inc.
      Blackwell Solar, LLC                           CAN NAT RES
      Blake's Landing Farms, Inc.                    Canadian Imperial Bank of
      Blue Mountain Electric Company,                Commerce
      LLC                                            Capital Dynamics, Inc.
      Bluesource                                     Capital Power Corporation
      BNP Paribas Securities Corp.                   Capital Power L.P.
      BNP Paribas US                                 Cardinal Cogen
      Bonneville Power Administration                Cargill Inc.
      Bottle Rock Power, LLC                         Cargill Ltd.
      BP Energy Company                              Cargill Power Markets, LLC
      BP Products North America Inc.                 Casas Del Sol Inc.
      Brookfield Renewable Energy                    Cascade Energy Storage, LLC
      Partners                                       Castelanelli Bros
      Browns Valley Irrigation District              Castleton Canada
      Buena Vista Energy, LLC                        Castleton Comm
      Burney Forefst Products                        CED Avenal Solar, LLC
      Burney Forest Products, a Joint                CED Corcoran Solar 3, LLC
      Venture                                        CED Corcoran Solar, LLC
      Buzzelle Renewables Projectco LLC              CED Lost Hills Solar, LLC
      BVP Property, LLC                              CED Oro Loma Solar, LLC
      CA Flats Solar 150, LLC                        CED White River Solar 2, LLC
      Calaveras County Water District                CED White River Solar, LLC
      Calaveras Public Utility District              Centaurus Renewable Energy LLC
      Calaveras Yuba Hydro #1                        Central California Irrigation District
      Calaveras Yuba Hydro #2                        (CCID)
      Calaveras Yuba Hydro #3                        Central Valley Ag Power, LLC
      California BioEnergy LLC                       Central Valley Gas Stor.
      California Dept. of Water Resources            Chalk Cliff Limited



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      Chalk Hill Solar Project, LLC                 ClimeCo Corporation
      Charcoal Ravine                               Cloverdale Solar 1, LLC
      Chevron (McKittrick)                          Cloverdale Solar 2, LLC
      Chevron (North Midway)                        Coalinga Cogeneration Company
      Chevron Natural                               Cochrane
      Chevron Products Company                      Cogen National
      Chevron Richmond Refinery                     Cogeneration Capital Association
      Chevron USA (Coalinga)                        Cogeneration Capital Association
      Chevron USA (Concord)                         (Altamont Power)
      Chevron USA (Cymric)                          Cogentrix
      Chevron USA (Eastridge)                       Collins Pine Company
      Chevron USA (Taft/Cadet)                      Columbia Solar Energy, LLC
      Chevron USA, Inc.                             Commerce Energy Inc.
      Chevron USA, Inc. (SE Kern River)             Commercial Energy of Montana
      Choice Natural Gas                            Commercial Energy of Montana Inc.
      Christensen Renewables Projectco              Community Renewable Energy
      LLC                                           Services, Inc.
      CID Solar, LLC                                Con Edison Development
      CIMA Energy, Ltd.                             Concord Energy
      Citadel Energy Mktg. LLC                      Concord Smart Energy Park, LLC
      Citigroup                                     Conoco Canada
      Citigroup Energy Inc.                         Conoco Phillips Company
      City County of San Francisco                  Conocophillips Co.
      City of Fairfield                             Constellation Energy Group, Inc.
      City of Milpitas                              Contra Costa Generating Station
      City of Roseville                             LLC
      City of San Jose (San Jose Clean              Convergent Energy and Power LLC
      Energy)                                       Copper Mountain Solar 1, LLC
      City of San Luis Obispo                       Copper Mountain Solar 2, LLC
      City of Santa Clara (SVP Muni)                Coral Power, LLC
      City of Santa Clara dba Silicon               Coram California Development, L.P.
      Valley Power                                  Cotton Renewables Projectco LLC
      City of Santa Cruz Water                      County of Santa Cruz ( Water St.
      Department                                    Jail)
      City of Seattle                               Covanta Power Pacific
      City of Vallejo                               Covanta Power Pacific, Inc.
      City of Vernon                                Coyanosa Gas
      City of Watsonville                           CP Energy Marketing (US) Inc.
      Classic Energy                                CRA International Inc
      Clean Power Alliance of Southern              CRA International Inc.
      California                                    CRC Marketing, Inc.
      CleanPower SF                                 Credit Suisse Energy LLC
      Clear Energy Brokerage &                      Crockett Cogeneration, LP
      Consulting, LLC                               Cross Court Athletic Club
      Clearway Energy                               Cupertino Green Club
      ClimateSmart Charity                          Cuyama Solar, LLC.



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      CVI CleanCapital LLC                         Eco-Energy, LLC
      Cypress Energy Partners                      Ecos Energy, LLC
      D&L Harris                                   Eden Vale Dairy
      DAI/Oildale, Inc.                            EDF Renewable Energy
      David O. Harde                               EDF Renewable Windfarm V, Inc.
      DB Energy Trading                            EDF Trading
      DE Shaw                                      EDF Trading North America, LLC
      Deadwood Hydro, LLC                          EDP Renewables North America
      Delano PV 1, LLC                             LLC
      Delta Diablo Sanitation District             EEN LP and Enbridge LP
      DES WholesalE                                El Dorado Hydro, LLC
      Desert Sunlight 300, LLC                     El Dorado Irrigation District
      Desri Portal Ridge Development,              El Paso Natural Gas Company
      LLC                                          Element Markets Renewable Energy,
      Devlar                                       LLC
      DG Fairhaven Power, LLC                      Elk Hills Power LLC
      DGEP Management, LLC                         Elk Mountain Energy
      Diablo Energy Storage, LLC                   Emmerson Investments, Inc.
      Diablo Winds, LLC                            Encana Mkt US
      Digger Creek Hydro                           Encarnacion Ventures Inc.
      Digger Creek Ranch                           Enel Green Power North America,
      Direct Energy                                Inc.
      Direct Energy Business Marketing,            Energy 21
      LLC                                          Energy America LLC
      Dole Enterprises, Inc.                       Energy America, LLC
      Dominion Solar Holdings, Inc.                Energy Capital Partners
      Donald R. Chenoweth                          Energy Nuevo Storage Farm, LLC
      Double "C" Limited                           Enerparc CA1, LLC
      DTE Biomass Energy                           Enerparc CA2, LLC
      DTE Energy Services, Inc.                    Enerparc Inc
      DTE Stockton, LLC                            Enfinity CAFIT 1 jacobscorner LLC
      Duke Energy Marketing America                Enstor Energy
      LLC                                          Enterprise
      Dynegy Marketing and Trade, LLC              EOG Resources
      Dynegy Morro Bay, LLC                        Equus Energy
      Dynegy Moss Landing LLC                      Equus Energy LLC
      Dynegy Power, LLC                            Escendent
      E J M McFadden                               ETC Marketing, Ltd.
      Eagle Creek Renewable Energy LLC             Eugene J M McFadden
      Eagle Hydro                                  Eureka Energy Company
      East Bay Community Energy                    Eurus Energy America Corp
      Authority                                    EVOL Mkts Fts LLC - Fin Brk -LE
      Eben Knight Smart IV & Everett               Evolution Markets Futures LLC &
      Allen Smart                                  Evolution Markets, Inc.
      EBMUD                                        Evolution Markets Futures, LLC
      Eco Services Operations Corp                 Evolution Markets Inc.



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      Evolution Markets, Inc.                       Gas Transmission Northwest, LLC
      Exelon Generation                             GASNA 16P, LLC
      Exelon Generation Company, LLC                GASNA 27P, LLC ("Peabody BRJ
      ExGen Renewables (Exlon)                      Option 1")
      Far West Power Corporation                    GASNA 30P, LLC ("Camden FiT
      Fayette II                                    1")
      Fayette III                                   GASNA 36P LLC
      Fayette IV                                    GASNA 60P, LLC
      Fayette Manufacturing Corp                    GASNA 6P, LLC
      Fayette V                                     GATX/Calpine Cogen-Agnews Inc.
      Fayette VI                                    Genesis Solar, LLC
      FFP CA Community Solar, LLC                   GenOn Delta, LLC
      Finavera Renewables                           GenOn Energy Management LLC
      First Reserve                                 GenOn Energy, Inc.
      First Solar                                   Geothermal Energy Partners 1
      Fitzjarrell Renewables Projectco              Geothermal Energy Partners 2
      LLC                                           GEPIF NAP I Holdings
      Five Bears Hydro, LLC                         Geysers Power Company, LLC
      Foothill Farmington Solar Project,            GFI Brokers LLC
      LLC                                           GFI Securities LLC
      Forebay Wind, LLC                             GHI Energy
      Forefront Power, LLC                          Gill Ranch Storage, LLC
      Fortis Energy Marketing (fka                  Gilroy Energy Center, LLC, Creed
      Cinergy)                                      Energy Center, LLC and
      Halliburton U.S. Onshore                      Goosehaven Energy Center, LLC
      Fortis Energy Marketing                       GIP III Zephyr Acquisition Partners,
      Fortistar LLC                                 L.P.
      Forward Power Plant Inc.                      GL Madera, LLC
      FPL Energy Montezuma Wind, LLC                GL Merced 2, LLC
      Freepoint Comm                                GL Peacock, LLC
      Freeport McMoRan Oil & Gas LLC                GL Sirius, LLC
      (Dome)                                        Global Ampersand, LLC
      Freeport McMoRan Oil & Gas LLC                Gold Hill Power
      (Welport)                                     Golden Hills Interconnection LLC
      Fresh Air Energy 1, LLC                       Google Inc.
      Fresh Air Energy IV, LLC                      Goose Valley Farming LLC
      Fresno Cogeneration Partners, L.P.            Graphic Packaging International Inc.
      Friant Power Authority                        Great Valley Solar 4, LLC
      Frito Lay Cogen                               Greater Vallejo Recreation District
      Frito-Lay, Inc.                               Green Light Energy Corporation
      FTP Power LLC                                 Green Light FIT 1, LLC
      Fuel Exchange, Llc                            Green Ridge Power LLC
      FuelCell Energy                               Greenleaf Energy Unit 1 LLC
      Fuelco LLC                                    Greenleaf Energy Unit 2 LLC
      Gansner Power and Water Company               Greenleaf Power
      Gas Recovery Systems, Inc                     GreenVolts, Inc.



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      Gregory Merwin                                 HZIU Kompogas-SLO Inc.
      Guzman Energy, LLC                             Iberdrola Renewables LLC
      GWF                                            Iberdrola Renewables, Inc.
      GWF Energy LLC                                 Icap
      GWF Power Systems Inc. #1                      Icap Capital Markets (Canada) Inc.
      GWF Power Systems Inc. #2                      ICAP Energy LLC
      GWF Power Systems Inc. #3                      ICE
      GWF Power Systems Inc. #4                      ICE NGX Canada Inc.
      GWF Power Systems Inc. #5                      Iceland America Energy, LLC
      Halkirk 1 Wind Project LP                      Idemitsu Apollo Corporation
      Hamlin Creek                                   Ignite Solar Holdings 1, LLC
      Hanford L.P.                                   Ignite Solar, LLC
      Hanford Renewable Energy LLC                   IHI Power Services Corp.
      Harbert Management Corp                        ImMODO California 1, LLC
      Harris Renewable Projectco LLC                 Indian Valley Hydro
      Hat Creek Bioenergy, LLC                       Institute for Energy Independence
      Hat Creek Hereford Ranch                       (IEI)
      Hatchet Ridge Wind, LLC                        Integrys
      Hawkins Creek                                  Intercontinental Exchange, Inc.
      Haypress Hydroelectric, Inc. (lwr)             International Turbine Research
      Haypress Hydroelectric, Inc. (mdl)             INTL FCSTONE FINANCIAL
      Hayward Area Rec & Park Dist.                  Invenergy Wind Development LLC
      Hayworth-Fabian LLC                            IPC (USA), INC.
      Hecate Energy Molino LLC                       IPC (USA), INC.
      Helton Renewables Projectco LLC                Iron Mountain Mines
      Henrietta D Energy Storage LLC                 J&A Santa Maria II, LLC
      Henwood (Karn)                                 J. Aron & Company LLC
      Henwood (Troy/Cal St)                          J. Aron and Company LLC
      HIC Energy                                     J.P. Morgan Ventures
      HIC Energy, LLC                                J.R. Wood
      High Plains Ranch II, LLC                      J.V.enterprise
      High Sierra Limited                            Jack Roddy
      Hilcorp San Juan, L.P.                         Jackson Valley Energy Partners
      Hill Renewables Projectco LLC                  (ione)
      HL Power Company                               Jackson Valley Irrigation District
      Hollister Solar LLC                            James B. Peter
      Humboldt Bay Municipal Water                   James C. Ross
      District                                       James Crane Hydro
      Humboldt Bay Mwd                               Jardine Renewables Projectco LLC
      Humboldt Redwood Company LLC                   Jarvis Renewables Projectco LLC
      Hummingbird Energy Storage, LLC                Java Solar, LLC
      Huntsman Wind LLC                              Joe Richardson
      Hydro Partners                                 John Neerhout Jr.
      Hydro Sierra Energy LLC                        Jonah Energy LLC
      Hydrocarbon                                    Jonah Energy LLC
      Hypower, Inc                                   JP Morgan Chase Bank, N.A.



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      JP Morgan Securities LLC                    Lodi Gas Storage LLC
      JP Morgan Ventures Energy                   Lodi Solar, LLC
      Corporation                                 Lofton Ranch
      JR Simplot                                  Longroad Energy Services, LLC
      JRW Associates, LP / Ridgewood              Los Angeles Dept. of Water and
      K&R Energy Partners, LLC                    Power
      K2 Commodities, LLC                         Los Esteros Critical Energy Facility
      Karbone Inc.                                LLC
      Karen Rippey                                Los Esteros Critical Energy Facility,
      KDW Solar 1, LLC                            LLC
      KDW Solar 2, LLC                            Los Medanos Energy Center
      Ken Link                                    Lost Hills Solar, LLC
      Kern Front Limited                          Macquarie Can
      Kern River                                  Macquarie Energy LLC
      Kern River Cogen Company                    Macquarie Futures
      Kern River Gas Transmission                 Macquarie Futures LLC
      Company                                     Macquerie Energy LLC
      KES-Kingsburg, LP                           Madera Chowchilla Water & Power
      Kettleman Solar LLC                         Authority
      Kinergy Marketing LLC                       Madera DP 2, LLC
      Kings River Conservation District           Madera Power, LLC
      Kingston Energy Storage, LLC                Madera Renewable Energy LLC
      Klondike Wind Power III LLC                 Madera-Chowchilla Water and
      KM Ventures                                 Power Authority
      KM Ventures, LLC dba Freedom                Magnus Energy
      Energy                                      Malacha Hydro L.P
      Koch Energy Svc                             Mammoth One LLC
      Koch Supply & Trading, LP                   Mammoth Three LLC
      Kompogas SLO LLC                            Manteca PV 1, LLC
      L.P. Reinhard                               Maricopa West Solar PV 2, LLC
      La Paloma Generating Company                Marin Clean Energy
      LADWP TSA                                   Mariposa Energy, LLC
      Laguna Cogen                                Martin Teeling
      Landmark                                    Martinez Cogen Limited Partnership
      Landmark Power Exchange, Inc.               MBF Clearing
      Langerwerf Dairy                            McFaddenhydro
      Lassen Community College                    Mckittrick Limited
      Lassen Station Hydroelectric LP             Mega Hydro
      Lassen Station Hydroelectric, LP            Mega Hydro (Goose Valley Ranch)
      Launderland                                 Mega Renewables
      Lehman Brothers Commodity                   Merced Irrigation District
      Services                                    Merced Solar LLC
      Lemoore PV 1, LLC                           Mercuria Commodities Canada
      Liberty V Biofuels Power, LLC               Mercuria Ener Amer Inc.
      Lincoln Solar Millennium Fund LLC           Meritspan
      Live Oak Limited                            Merrill Lynch



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      Merrill Lynch Commodities Inc.              NASDAQ OMX Commodities
      Mesquite Solar 1, LLC                       Clearing - Contract Merchant LLC
      Metcalf Energy Center                       National Fuel
      Michael W. Stephens                         Natural Gas Corp of California
      Micronoc Inc.                               Natural Gas Trading
      MidAmerican Energy                          Nelson Creek Power Inc.
      Midcoast Marketing (Us) L.P.                Nevada Irrigation District
      Midset Cogen Co.                            Nevada Irrigation District (Bowman)
      Midway Peaking, LLC                         NextEra
      Midway Power LLC                            NextEra Energy Marketing, LLC
      Midway Sunset Cogeneration Co.              Nextera Energy Montezuma Wind II,
      Mieco                                       LLC
      Mieco Inc.                                  NextEra Energy Parnters, LP
      Mill & Sulphur Creek Power Plant            NextEra Energy Partners
      LP                                          NextEra Energy Resources
      Millennium Pacific Resources LLC            Acquisitions, LLC
      Milpitas Unified School District            NextEra Energy Resources, LLC
      Mirant Energy Trading, LLC                  Nextera Energy Resources, LLC and
      Mission Solar LLC                           its subsidiary Aries Solar Holding,
      MNOC Aers LLC                               LLC
      Modesto Irrigation District                 NextEra Energy, Inc.
      Mojave Solar LLC                            Nihonmachi Terrace
      Mojave Sun Power LLC                        NJR Energy Serv.
      Monterey Bay Community Power                NLH 1 Solar, LLC
      Authority                                   NLP Porter Ranch G18, LLC
      Monterey County Water Res Agency            NNN Land and Energy Advisors
      Monterey County Water Resources             Noble Americas Corporation
      Agency                                      Noble Americas Energy Solutions
      Monterey One Water (M1W)                    LLC
      Monterey Power Company                      Noble Americas Gas & Power Corp.
      Monterey Regional Waste                     Norman Ross Burgess
      Management District mnoc                    North Fork Community Power
      Monterey Regional Water Pollution           North Sky River Energy, LLC
      Control Agency (MRWPCA)                     North Star Solar, LLC
      Morelos Solar, LLC                          Northern California Power Agency
      Morgan Stanley Capital Group Inc.           (NCPA)
      Morro Bay Mutual Water C                    Northwest Geothermal Company
      Moss Landing Mutual Water                   Northwind Energy
      Company                                     NRG Energy
      Mt. Poso Cogeneration Company,              NRG Energy, Inc.
      LLC                                         NRG Marsh Landing, LLC
      Napa Recycling & Waste Services,            NRG Power Marketing LLC
      LLC                                         NRG Solar Alpine, LLC
      Napa Sanitation District                    NRG Solar Kansas South LLC
      Napa State Hospital                         NV Energy
                                                  O.L.S. Energy-Agnews, Inc.



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      Oakland YMCA                                  Petrochina (CAN)
      OCCID Ener Mkt                                Petrochina (America)
      Occidental Energy Ventures Corp.              PFL Futures Limited
      Occidental of Elk Hills, Inc.                 PG&E California Gas Transmission
      Occidental Power Services, Inc.               Pilot Power Group, Inc.
      Ogden Power Pacific Inc.                      Pinnacle West Capital Corp
      Oildale Energy LLC                            Pioneer Community Energy
      Olcese Water District                         Placer County Water Agency
      Olsen Power Partners                          Portal Ridge Solar C, LLC
      Olympus Power, LLC                            Portland General Electric
      One Exchange Corp                             Portland TSA
      One Nation                                    Potrero Hills Energy Producers, LLC
      One Nation Energy Solutions LLC               Power Exchange Corporation -
      Open Sky Power LLC                            Wellhead
      Opera Plaza                                   Powerex
      Orange Cove Irrigation Dist.                  Powerex Energy Corp.
      Original Sixteen to One Mine                  Prebon Energy Inc.
      Orinda Senior Village                         Pricelock Inc.
      Orion Solar I, LLC                            Pristine Power LLC
      Ormat Technologies, Inc.                      Pristine Sun Fund 10 Fresno PGE
      Oroville Cogeneration, L.P.                   LLC
      Oroville Solar, LLC                           Pristine Sun Fund 2, LLC
      Ortigalita Power Company LLC                  Pristine Sun Fund 5 LLC
      Oxy Ener Canada                               Pristine Sun Fund 6 Butte PGE LLC
      Pacheco Wind Park                             Pristine Sun Fund 6, LLC
      Pacific Energy Fuels Co                       Pristine Sun Fund 7 San Luis Obispo
      Pacific Summit                                PGE LLC
      Pacific Summit Energy LLC                     Pristine Sun Fund 8 Sutter PGE LLC
      Pacific Tree Moving formerly Trees            Pristine Sun Fund 8, LLC
      of California San Jose                        Pristine Sun, LLC
      Pacificorp                                    Progressive Fuels Limited
      Palo Alto Landfill                            Public Service Company New
      Pan Pacific (Weber Flat)                      Mexico
      Panoche Energy Center LLC                     Public Service Enterprise Group
      Panoche Energy Center, LLC                    (PSEG)
      Parrey, LLC                                   Public Utility District No. 1 of
      Pattern Energy                                Klickitat County
      Pattern Energy                                Puget Sound Energy, Inc.
      Patterson Pass Wind Farm LLC                  Puget TSA
      PBF Energy Western Region LLC                 Putah Creek Solar Farms LLC
      PBM, LLC                                      PV Powerhouse
      PE - Berkeley, Inc.                           Raven Solar Parent Company, LLC
      Pedro Migueo                                  RDAF Energy Solutions, LLC
      Peninsula Clean Energy Authority              RE Astoria LLC
      Petaluma Solar Millennium Fund                RE Gaskell West 3 LLC
      LLC                                           RE Gaskell West 4 LLC



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      RE Gaskell West 5 LLC                       San Diego Gas and Electric
      RE Kansas LLC                               San Jose Cogen
      RE Kent South LLC                           San Jose Convention Center
      RE Old River One LLC                        San Jose Water Company
      Real Goods Trading Corp.                    San Luis Obispo Wastewater
      Recurrent Energy                            Treatment Plant
      Recurrent Energy Development                Sand Drag LLC
      Holdings LLC                                Sand Hill Wind, LLC
      Red Bluff Union High School                 Santa Clara Valley Water Dist.
      Red Cedar Grp                               Santa Cruz Cogen (Porter College)
      Redwood Food Packing Co                     Santa Cruz County
      Reliant Energy Services, Inc.               Santa Cruz WWTP
      Renewable Power Strategies, LLC             Sargent Canyon Cogeneration
      Renewables Holdco I LLC                     Company
      Repsol Canada Energy                        Satellite Senior Homes
      Rice Solar Energy, LLC                      Schaads Hydro
      Richard E. Akin                             Scherz Renewables Projectco LLC
      Rio Bravo                                   SDG&E CO
      Rising Tree Wind Farm II, LLC               Sea West Energy
      Risk Management Inc.                        Seattle City Light
      Rival Power & Energy LLC                    Sempra Energy
      River City Petroleum, Inc.                  Sempra Energy Trading Co.
      Robert and Joyce Vieux                      Sempra Gas & Power
      Robert W. Lee                               Sempra Gas and Power Marketing,
      Rock Creek Hydro, LLC                       LLC
      Rock Creek L.P.                             Sempra Generation
      Rock Creek Water District                   Sempra Generation, LLC
      Rogers Renewables Projectco LLC             Sempra U.S. Gas & Power
      Ronald Burrow                               Sequent Energy
      Roy Sharp Jr.                               Shadybrook
      Royal Bank of Canada                        Shafter Solar, LLC
      Royal Bank of Scotland, PLC                 Shamrock Utilities (Cedar Flat)
      RRI Energy Services                         Shamrock Utilities (Clover Leaf)
      RTR Global Investments                      Shamrock Utilities, LLC
      Ruby Pipeline                               Shasta Renewable Resources, LLC
      Ruby Pipeline, LLC                          Shastaview Inc
      Russell City Energy Company                 Sheila St. Germain
      Sacramento Municipal Utility                Shell Energy
      District                                    Shell Energy CAN
      Saint Agnes Med. Ctr.                       Shell Energy North America (US),
      Saja Energy LLC                             L.P.
      Salinas River Cogen Co.                     Shell Energy US
      Salmon Creek Hydroelectric Co.              Shell Trading (US) Company
      Salmon Creek Hydroelectric                  Shell Western E & P
      Company, LLC                                Shiloh III Lessee, LLC
      Salt River Project                          Shiloh IV Lessee, LLC



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      Shiloh Wind Project 1, LLC                      Southern California Edison
      Shiloh Wind Project 2, LLC                      Company
      Sierra Energy                                   Southern Counties Oil Company
      Sierra Energy Storage, LLC                      (dba SC Fuels)
      Sierra Green Energy LLC                         Southern Energy Solution Group,
      Sierra Pacific Ind. (Susanville)                LLC
      Sierra Pacific Industries                       Southern Power
      Sierra Power Corporation                        Southwest Generation
      Silicon Valley Clean Energy                     Spark Energy Gas
      Authority                                       Spinnaker Energy
      SilRay Inc.                                     SPS Atwell Island, LLC
      Sky Capital America Inc.                        SRI International
      Smotherman Renewables Projectco                 Standard Pacific Gas Line Inc.
      LLC                                             Stanford Energy Group
      SMUD                                            Stanislaus Waste Energy Company
      Snow Mountain Hydro                             Stars Alliance LLC
      Snow Mountain Hydro LLC (cove)                  Starwood Energy Group Global LLC
      Snow Mountain Hydro LLC (Lost                   State of California - Department of
      Creek 1)                                        Water Resources
      Snow Mountain Hydro LLC (Lost                   Statkraft US LLC
      Creek 2)                                        Stem Energy Northern CA, LLC
      Snow Mountain Hydro LLC                         Sterling Planet, Inc.
      (Ponderosa Bailey Creek)                        Steve & Bonnie Tetrick
      SO CAL EDISON                                   Steven Spellenberg Hydro
      SoCal GAS                                       Still Water Power LLC
      Soco Group                                      Stockton Cogen Co.
      Solano Irrigation District (SID)                Strategic Energy LLC
      Solar Partners II, LLC                          Stroing Renewables Projectco LLC
      Solar Partners VII, LLC                         STS HydroPower Kekawaka
      Solar Partners VIII, LLC                        STS HydroPower Ltd.
      Solar Partners XII, LLC                         STS Hydropower Ltd. (Kekawaka)
      Solar Partners XIV, LLC                         STS Hydropower, LLC
      Solar Partners XV, LLC                          STS HydroPower, Ltd.
      Solar Partners XXII, LLC                        Sun City Project LLC
      Solar Partners XXIII, LLC                       Sun Harvest Solar, LLC
      Solaren Corporation                             Suncor Energy
      SolaRenewal LLC                                 SunEdison Yieldco ACQ2, LLC
      Sonoma Clean Power Authority                    Sunray Energy 2, LLC
      Sonoma County Water Agency                      Sunrise Power Company, LLC
      South Feather Water and Power                   Sunshine Gas Producers, LLC
      Agency                                          Sustainable Power Group (sPower)
      South San Joaquin Id                            Swiss America
      (Frankenheimer)                                 T.V. Schuhart
      South San Joaquin Irrigation District           TA - Acacia, LLC
      (Woodward)                                      Tacoma Power
      South Sutter Water District                     Tall Bear LLC



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      Targa Gas Marketing Llc                       Transcanada Gas Transmission NW
      Targray Industries                            Transcanada Nova
      Td Energy Trading Inc.                        Transwestern Pipeline Company,
      Tenaska Gas                                   LLC
      Tenaska Mktg                                  Tres Vaqueros Wind Farms, LLC
      Tenaska Mktg Can                              Tri-Dam Power Authority
      Tenaska Power Services Co.                    Tri-Dam Project
      Tenaska Power Services Company                Trikern Resources
      Terzian Renewables Projectco LLC              Tulare PV II LLC
      Tesoro Refining & Marketing                   Tullet Liberty (NatSource)
      Company LLC                                   Tullet Prebon Americas Corp.
      Tesoro Refining & Marketing                   Tullett Prebon Americas Corp.
      Company, LLC                                  Tunnel Hill Hydro LLC
      Tesseron Vineyards, Inc.                      Turlock Irrigation District
      Texaco Exploration & Production,              Twin Eagle Res Mgmt, LLC.
      Inc. (fee A)                                  Twin Valley Hydro
      Texaco Exploration & Production,              Twine gas and power
      Inc. (fee C)                                  U.S. Windpower 14
      TFS Energy Futures LLC                        UBS AG (Switzerland)
      TFS Energy Futures, LLC                       UCSC Physical Plant
      TFS Energy, LLC                               UCSF
      TGP Coyote Canyon, LLC                        UE-00101CA, LLC.
      The Energy Authority, Inc.                    Ultra Resources
      The Finerty Group, Inc.                       United Airlines (Cogen)
      The Metropolitan Water District of            United Energy
      Southern California                           United Gas & Power
      The Regents of the University of              US Solar Holdings
      California                                    Utica Water and Power Authority
      Thomas Frisbie                                Vaca Solar Millennium
      Thomas S. Atkinson II                         Van Der Kooi Dairy Power LLC
      Three Rocks Solar LLC                         Vantage Wind Energy LLC
      Tiger                                         Vantage Wind Energy, LLC
      TKO Power (South Bear Creek)                  Vasco Winds, LLC
      Tom Benninghoven                              Vecino Vineyards LLC
      Topaz Solar                                   Verdure Techonologies, Inc.
      Topaz Solar Farms LLC                         Verliant Energy
      Toro Energy of California - SLO,              Vintner Solar, LLC
      LLC                                           Visage Energy
      Toronto Dominion Bank                         Visage Energy Corp.
      Total Gas                                     Vista Corporation
      Tourmaline Oil Marketing Co                   Vistra Energy
      TransAlta Corporation                         Vitol Inc.
      TransAlta Energy Marketing (US)               Volaire Energy LLC
      Inc.                                          VPI Enterprises, Inc.
      Transcanada Foothills                         Vulcan Power Company
      TransCanada Foothills Pipe Lines              Wadham Energy Limited Partnership



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      Wadham Energy LP                             Zero Waste Energy Development
      Walden Energy                                Company LLC
      Walden Energy LLC                            Zuckerman-Heritage Inc.
      Wallace Canyon (aka Nugget Hydro)
      Waste Management, Inc.
      Water Wheel Ranch                     Debtors Professionals
      Wellhead Power, LLC                          Accenture
      Wells Fargo LLC                              AlixPartners, LLP
      Wendel Energy Operations I                   AP Services, LLC
      West Biofuels, LLC                           Berman and Todderud LLP
      Western Antelope Blue Sky Ranch              Clarence Dyer & Cohen
      A, LLC                                       Coblentz Patch Duffy & Bass LLP
      Western Antelope Dry Ranch                   Compass Lexecon, LLC
      Addition LLC                                 (Application withdrawn)
      Western Area Power Administration            Cravath, Swaine & Moore LLP
      Western GeoPower, Inc.                       Deloitte & Touche LLP
      Western Grid Development, LLC                Groom Law Group Chartered
      Western Power and Steam, Inc.                Jenner & Block LLP
      Westlands Solar Farms LLC                    Keller & Benvenutti LLP
      Westmoor High School                         KPMG LLP
      Westside Solar, LLC                          Lazard Frères & Co. LLC
      WG Partners Acquisition, LLC                 Morrison & Foerster LLP
      WGL Energy Systems Inc.                      McKinsey & Company Inc.
      Wheelabrator Shasta Energy                   Munger, Tolles & Olson LLP
      Company Inc.                                 PricewaterhouseCoopers LLP
      Wheelabrator Technologies Inc.               Prime Clerk
      Wild Goose Storage                           Weil, Gotshal & Manges LL
      Wildwood Power                               Willis Towers Watson US LLC
      William Shelton                              Wilson Sonsini
      Williams Energy Power Company
      Williams Field Services               Counsel to the Board of Directors of Each of
      Willow Creek                          PG&E Corporation and Pacific Gas and
      Willow Springs Solar 3, LLC           Electric
      Windmaster Inc.                               Simpson Thatcher & Bartlett LLP
      Woodland Biomass Power, LTD
      WPX Energy Mktg.
      WSF PV2, LLC                          Former Officers and Directors (since 2008)
      X-Elio Energy, S.L.                         Allen, Barry S.
      Yolo County                                 Anderson, Barry D.
      Yolo County Flood & WCD                     Andrews, David R.
      Young Radio Inc.                            Angalakudati, Mallikarjun
      Youth with a Mission/Springs of             Arndt, William D.
      Living Waters                               Austin, Karen A.
      Yuba City Cogen Partners, L.P.              Barcon, Barbara L
      Yuba City Racquet Club                      Basgal, Ophelia B
      Yuba County Water Agency                    Becker, James R.



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      Bedwell, Edward T.                            Orange, Kay M
      Bell, Desmond A.                              Peters, Kenneth J.
      Biller, Leslie S.                             Powell, G. Robert
      Bottorff, Thomas E.                           Pruett, Greg S.
      Brinton, Elisabeth S.                         Rich, Brian F.
      Burt, Helen A.                                Salas, Edward A
      Butler, Jeffrey D.                            Stavropoulos, Nickolas
      Butler, Laura L.                              Suri, Anil K.
      Cherry, Brian K.                              Torres, Albert F.
      Cherry, Sara A.                               Whitcomb, Bradley E
      Conway, John T.                               Williams, Barry Lawson
      Coulter, David A.                             Williams, Geisha
      Cox, C. Lee                                   Yura, Jane K.
      Darbee, Peter A.
      Earley, Jr., Anthony F.
      Fitzpatrick, Timothy                   Affiliations of Former Officers
      Frizzell, Roger C.                             Alliance for Community
      Garrett, Ezra C.                               Development
      Halpin, Edward D.                              California Minority Counsel
      Hapner, DeAnn                                  Program (CMCP)
      Harper III, William H.                         Council of Korean Americans
      Harris, Richard R.                             Meals on Wheels of San Francisco
      Hartman, Sanford L.                            Meals on Wheels of San Francisco
      Harvey, Kent M.                                North Bay Leadership Council
      Hayes, William D.                              Nuclear Electric Insurance Limited
      Herringer, Maryellen C.                        (NEIL)
      Higgins, John C.                               San Francisco Ballet Association
      Horner, Trina A.                               SF/Marin Food Bank
      Howard, Robert T.                              The Alliance to Save Energy
      Jacobs, Donna                                  The Alliance to Save Energy
      Jain, Charu                                    The Commonwealth Club
      Johns, Christopher P.                          The Commonwealth Club
      Johnson, Jeh C.
      Johnson, M. Kirk                       Affiliations of Former Directors
      Johnson, Mark S.                               ABM Industries Incorporated
      Keenan, John S                                 American Gas Association (AGA)
      Kimmel, Roger H.                               American Gas Foundation (AGF)
      Kiraly, Gregory K.                             American Red Cross - Bay Area
      Knapp, Kevin B.                                Chapter
      Kolassa, Sean P.                               Associated Electric & Gas Insurance
      Lawicki, Patricia M                            Services Limited (AEGIS)
      Livingston, Randal S.                          Association of Edison Illuminating
      Martinez, Placido J.                           Companies
      McFadden, Nancy E                              Bay Area Council
      Metz, Mary S.                                  California Academy of Sciences
      Morrow, William T.



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       Center for Energy Workforce                     Alpha
       Development                                     American Alternative Insurance
       DCP Midstream Partners, LP;                     Company (Munich Re U.S.)
       Edison Electric Institute                       American International Reinsurance
       Edison Electric Institute (EEI)                 Company Ltd
       Edison Electric Institute; Electric             American Nuclear Insurance (ANI)
       Power Research Institute                        Apollo (Lloyds Syndicate)
       Edison Foundation Institute for                 Apollo Liability Consortium
       Electric Innovation (IEI)                       Arch Insurance (Bermuda)
       Encana Corporation                              Arch Insurance Company (Europe)
       Exploratorium                                   Limited
       the First Tee of San Francisco                  Arch Reinsurance Ltd.
       Ford Motor Company                              Argo
       Institute for Nuclear Power                     Argo Re Ltd
       Operations                                      Argonaut Insurance Company
       Mills College                                   Aspen Insurance Company
       Nuclear Energy Institute                        Aspen Specialty Insurance Company
       San Francisco Ballet                            Associated Electric & Gas Insurance
       San Francisco Museum of Modern                  Services Limited
       Art;                                            Associated Electric & Gas Insurance
       SF RBI                                          Services Ltd. (Aegis U.S.)
       Spectra Energy Partners, LP                     ATL Casualty Consortium
       United Way of the Bay Area                      AXIS Insurance Company
       University of Miami                             AXIS Specialty Limited (PDW)
       Vassar College                                  AXIS Surplus Insurance Company
       Western Energy Institute (WEI)                  Beacon Health Options, Inc.
                                                       Beazley Insurance Company
Insurance/Insurance Provider/Surety Bonds              Berkley Insurance Company
       ACE American Insurance Company                  Berkshire Hathaway International
       (Starr Tech)                                    Insurance Limited (PDW)
       Ace Insurance Company                           Blue Cross of California, Inc. d/b/a
       AEGIS Consortium                                Anthem Blue Cross (“Anthem”)
       AEGIS Insurance Services, Inc.                  Cal Phoenix Re (Cat Bond)
       (Associated Electric & Gas                      Chubb Bermuda
       Insurance Services Limited)                     Chubb Bermuda Insurance Ltd
       Aetna                                           CIGNA Group Insurance
       Aetna International                             Continental Casualty Company
       Allianz Global Corporate &                      Employers Insurance Company of
       Specialty SE (PDW)                              Wausau
       Allianz Global Risks                            Employers Insurance Company of
       Allianz Global Risks US Insurance               Wausau (Liberty Mutual)
       Company                                         Endurance Risk Solutions Assurance
       Allied World Assurance Company                  Co.
       Ltd                                             Energy Insurance Mutual
       Allied World Assurance Company                  Energy Insurance Mutual / NEIL
       Ltd. (AWAC)                                     Energy Insurance Mutual Limited



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      Energy Insurance Mutual Limited               Liberty Surplus Insurance Company
      (EIM)                                         Liberty Surplus Insurance
      Energy Insurance Mutual Limited               Corporation
      (NEIL)                                        Life Insurance Company of North
      Energy Insurance Services, Inc.               America (CIGNA)
      f/k/a/ Energy Insurance (Bermuda)             Lloyd of London Barbican Syndicate
      Ltd.                                          Lloyds of London (various)
      Energy Insurance Services                     Lloyds of London Hiscox (Alpha)
      European Mutual Association for               Lloyds of London Munich Re
      Nuclear Insurance (EMANI)                     Lloyd's of London Syndicates
      Everest Insurance                             Magna Carta Insurance Ltd (PDW)
      Everest National Insurance Company            MAPFRE Global Risks
      Express Scripts Holding Company               MS Amlin (Lloyds Synd)
      Federal Insurance Company                     Munich Re
      Fidelis Underwriting Limited                  National Fire & Marine Insurance
      General Security Indemnity                    Company
      Company of Arizona                            National Fire & Marine Insurance
      General Security Indemnity                    Company (Berkshire Hathaway
      Company of Arizona (Scor Re)                  Specialty Insurance)
      Great American Insurance Company              National Fire and Marine Insurance
      Great Lakes Insurance SE                      Company
      Great Lakes Insurance SE (Munich)             Navigators Management Company,
      Great Lakes Reinsurance (UK) PLC              Inc. New York
      (Munich Re London)                            North American Specialty Insurance
      Great Lakes Reinsurance (UK) S.E.             Company
      Hamilton Re                                   Nuclear Electric Insurance Limited
      Hamilton Re Ltd                               (NEIL)
      HCC / Tokio Marine                            Oil Casualty Insurance Limited
      HDI Global Insurance Company                  (OCIL)
      Helvetia Assurances S A                       Renaissance Reinsurance (Ren Re)
      Helvetia Schweizerische                       RLI Insurance Company
      Versicherungsgesellsc haft Ag                 SAFECO Insurance Company of
      Houston Casualty Company                      America
      InterHannover                                 Scor Channel Limited (PDW)
      Interstate Fire & Casualty Company            Starr Indemnity & Liability
      Iron- Starr Excess Agency Ltd                 Company
      Ironshore Insurance Limited                   Swiss Re International SE
      Kaiser Foundation Health Plan, Inc.           Swiss Re International SE (Swiss
      Liberty Insurance Underwriters Inc.           Re)
      Liberty Mutual Fire Insurance                 The Marine Insurance Company Ltd.
      Company                                       (Royal Sun Alliance - RSA)
      Liberty Mutual Insurance Company              The Ohio Casualty Insurance
      Liberty Mutual Insurance Europe               Company
      Limited                                       Twin City Fire Insurance Company
      Liberty Mutual Management                     U.S. Specialty Insurance Company
      (Bermuda) Ltd (PDW)



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       Underwriters at Lloyd's (AEGIS                 7-M CO
       UK) Syndicate No. AES 1225                     851-853 Howard Street LLC
       Underwriters at Lloyd's (Freberg               A to Z Tree Nursery, Inc.
       Environmental) Syndicate No. 1458              Aaron Seandel
       RNR                                            Accountant
       Underwriters at Lloyd's (Talbot)               Acer Landscape Materials
       Syndicate No. 1183 (Validus                    Adam Fletcher
       Underwriting Risk Services)                    Adrianna Gonzales
       Underwriters at Lloyd's (Travelers)            Adrienne A Badaracco
       Syndicate No. TRV 5000                         Afzao Chaudhry, General Manager
       Underwriters at Lloyd's London                 Akins
       (Towerstone)                                   Al Evans
       United States Aircraft Insurance               Al Freedman
       Group (USAIG)                                  Al Heer
       US Aviation Insurance Group                    Al Smith
       Validus Reinsurance Limited                    Alan & Patti Anderson
       Willis Towers Watson                           Alan Mac
       XL Insurance America, Inc.                     Alan Williams
       XL Insurance Company                           Alarid
       XL Specialty Insurance Company                 Albert Rose
       Zurich American Insurance                      Alex Brice
       Company                                        Alexander B. Haedrich Revocable
       Zurich Insurance Company                       Trust
                                                      Alexander McGeoch
                                                      Alexander Walker
Surety Bonds                                          Alfonso Gomar
       Liberty Mutual Insurance Company               Alice Martinelli Special Trust
       Liberty Mutual Fire Insurance                  Alice Rothlind
       Company                                        Allan Dudding
       The Ohio Casualty Insurance                    Allison Duncan (Insurance Agent)
       Company                                        Almanor Family Retreat
       SAFECO Insurance Company of                    Almanor Fishing Association
       America                                        Almanor Lakefront LLC (Almanor
                                                      Lakefront Village)
Landlords and parties to leases                       Almanor Lakefront Village
       101 NETLINK                                    Almanor Lakeside LLC
       1415 Meridian Plaza LP                         Almanor Lakeside Villas
       2001 Taylor Family Trust                       Almanor Lakeside Villas Owners
       2012 Fiber Optic Project Contact               Association
       Neil Hattenburg                                Almestad
       2012 Fiber Optic Project Contractor            Alpine County Sheriff's Dept.
       Jeremy Stroup                                  Amador County Sheriff's Dept.
       25th District Agricultural Assoc.              Amanda Green
       3551 Pegasus Partners LP                       Amen, Grant (Ivar)
       3900 West Lane Building Co                     Ametjian, Moses
       7-Eleven, Inc.                                 Amodei, Irene



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      Andersen, Dorna L.,                           Barbara Frey, President
      Anderson                                      Barbara Neumann/Emery Daily
      Anderson, Barbara & J. H.                     Barbarick
      Anderson, Derek & Patricia                    Barber, Pamela
      Anderson, Eric Ian & Edward A, Jr.            Bardin Bengard
      Anderson, Gary & Susan                        Bare Jr., Bruce
      Anderson, Paul                                Barker Family Trust
      Andrade, Eugene & Gail                        Barnes Design Inc.
      Andreae, Jr., et al, Sherman P                Barnes, Michael Lee Jr. & Cecilia
      Andreini, John A.                             Marie
      Andrew Everett                                Bartholf
      Andrew Gessow                                 Bartley, Jack
      Andrew Mesa (Insurance Agent)                 Bass Lake Enterprises, Inc. (The
      Andrew Phillips                               Forks Resort)
      Andrew Protter                                Bass Lake Island View, LLC,
      Andrew Stewart                                Bass Lake LLC, a Delaware LLC
      Andrzej Bugajski                              Batson
      Angela Bacon                                  Baxter, Jean C.; Hoffman, T. J.;
      Angela Lazezzo                                Hoffman, Frank; Hoffman, Laura
      Ann Williams                                  Bay Area Air Quality Management
      Anne Benson/W Brown                           District
      Anspach, Pres. Charles                        Bayles, Bonnie S.
      Anthony Bruno                                 Beadle Trust
      Anthony Scotch-V.P. Properties                Bear Valley Ski Company
      Areias                                        Beeler
      Arias, Ramon & Maria                          Behring
      Arnison                                       Bellach, James D. & Jay
      Arntz                                         Bender, Craig
      Arpaia Trust                                  Benjamin Shaw
      Arthur N Clemens Jr Trust                     Benjamin, Michael
      Arton Investment                              Bennett, James R.;
      AT&T Corp. - Lease Administration             Benton
      AT&T Corporate Real Estate                    Berg, Lisa J.
      Atherstone                                    Bergthold, Robert
      Atilla Mathe & Widmayer                       Berkelman
      Atkins, Roy C                                 Bert Reinsma
      Attinger, Richard; Ballard, Bruce;            Bertoluzza, Mike & Judy
      Ballard-Kogeler, Lynne                        Bertrand
      Avery                                         Bettie Hixson
      Aviation Consultants, Inc.                    Betty Compton
      AWE Trust                                     Biagini Properties Inc.
      Bader                                         Big Deal LLC
      Baker Trust                                   Big Properties of California
      Ballard Lowery                                Bigelow, Jon, trustee; Bordin,
      Banta                                         Edmond J.; Moss, Jere & Irene,
      Barbara Copeland                              trustees



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      Biggs, Trustee, Richard K.                   Brian Busch
      Bilbo Trust                                  Brian Cavanaugh
      Bill & Sausan Wickman                        Brian Sweeney
      Bill Guess                                   Bricker, Trustees, Steven M. &
      Bill Homan                                   Jeanne S.
      Bill Lewis                                   Briscoe, James A.
      Bill Pahland                                 Brittney Rubio (Assistant)
      Bill Phillips (Insurance Agent)              Britz, Inc.
      Bill Reid                                    Brock, Kelly
      Biondi Matt                                  Brooke Quilici
      Blackburn, Ross & Julie                      Brown, David M. Sec.-Tres.
      Blackhart & Kline                            Brown, Gary & Sharon
      Blaine Wood                                  Brown, John K.
      Blair Stratford                              Brownson
      Blake                                        Bruce Aldrich
      Blanchard, Robert Jr.                        Bruce Garrett
      Blankenship                                  Bruce M. Simurda; Diana L.
      Bless, Delbert W.                            Simurda
      Blue Sky Investment Holdings, LLC            Bruce Norlie
      Bob Ruehl - Eureka Office                    Bruce North
      Bobby Penland                                Bruce Patterson
      BOCCHI, Robert & Dagmar,                     Brumbaugh, Matt & Carrie
      Trustees                                     Brunson Investments
      Bolin Family Limited Partnership             Bryan Daniels Almanor Trust
      Bonner, Kenneth L. & Gerri                   Bryce Ruschhaupt
      Bonneville Power Administration              Buckman, Donald R. and Mari Ann
      (BPA)                                        Lucena
      Bonnie Bell                                  Bucks Creek Cabin Owners
      Bonnie Ericksen - Insurance                  Association
      Certificates                                 Bucks Lake 28 LLC
      Borba                                        Bucks Lake 29, LLC
      Borrows                                      Bucks Lake Camp and RV Park
      Boscovich, Brock & Jennifer                  Bucks Lake Marina, LLC
      Bossio                                       Bucks Lake Permittee's and
      Boutonnet, Rosa                              Homeowners Assoc.
      Boyett Petroleum                             Bucks Lakeshore Resort, LLC
      Bozek                                        Buckwalter
      Brad Baker & Debra Pearson                   Budget Storage Inc.
      Brady, C. Jean                               Burchard, David
      BRANDON, Marva Ruth                          Burke, Tim
      Brannon, Diane M.                            Burks, Pres. Jeff
      Bratty , Robert T.                           Burnett, Sharon and Ian
      Braun                                        Burr Plumbing and Pumping Inc.
      Breen                                        Burrows, William & Sally
      Brent Simor                                  Bursey, Gary
      Brett Barker                                 Bushman, Carl E. and Denise L.



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      Business Jet                                Casci Family Trust
      C & S Properties                            Casella, Paul A. Jr., Connie M., Gary
      C William Johnson                           J.
      C. Quam & J. Ornelas c/o Kristen            Casey Ashley
      Shepard                                     Casey Safreno
      C. R. Gibson                                Casey, Charles R., co-trustee
      Cadenazz, Robert                            Casity Trust
      California Department of Fish &             Cassvan
      Game                                        Cattran
      California Ice Properties, LLC              CC&H Lands LLC
      California-Oregon Telephone                 Cecile Opsahl
      Company                                     Central Valley Associates, L.P.
      CalPeak Power LLC                           Cesar Montoya (Insurance Agent)
      Calpeak Powr - Vaca Dixon, LLC              Chabrier
      CalTrans                                    Chaney Family Trust, The
      Camacho                                     Chantland, William S.
      Camp McCumber Corp.                         Chapin
      Camp Sunray                                 Chapman
      Campbell, John R.                           Charles & Sandra Sharrer
      Camper, Ronald                              Charles Carpenter
      Campion, Alison                             Charles D. Reynolds
      Capitol Wholesale Nursery                   Charles Green
      Capurro                                     Charles H Sears
      Cardoza Livestock                           Charles Hicks
      Caribou Crossroads Cafe' and RV             Charles L Sharrer
      Park                                        Charles Laurenson
      Carl Bartlett                               Charles P Grimmer
      Carl Blaha                                  Charles Priddy
      Carl Felts                                  Charles Shepardson
      Carleton                                    Charles Virden
      Carlsen trust                               Charter, Halbert & Amy
      Carlton Family Partnership                  Chase, Donald & Karol, and others
      Carman, Kurtis                              Cheryl Finley
      Carmela Santos, Risk Management             Cheryl Soto
      Carolyn Lowery                              Chester Sanitary District
      Carolyn Medici                              Chrisco, Ron & Eugenia; Chrisco,
      Carousel Broadcasting, Inc.                 Mark & Susan
      Carpenter                                   Christensen Family 2005 Trust
      Carr, Lonne                                 Christian Schwartz
      Carter Validus Operating                    Christina Lukens (Insurance Agent)
      Cartwright, Christopher; Jacuzzi,           Christine Carson
      Daniel                                      Christopher & Elizabeth Castello
      Cary, Patricia Ann                          Christopher Corrigan Family Trust
      Caryn Todd, Tresurer                        Christopher Earnest
      Casa de Mas Suenos, LLC ,Rex E. &           Christopher Lee
      Aline Duhn                                  Christopher Marx



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      Christopher R. Mayer Family Trust             COONEY & ACKER
      Christy Bax                                   Cooper, James
      CHRYSLER                                      Cornell Kurtz
      Church of Jesus Christ, LDS                   Corpus Christie School
      (Property #513-3521)                          Correia, Tony F.
      Ciano, Frank & Sandy                          Correspondence to David T. Gayley
      Citigarden Hotel                              Only
      City and County of San Francisco              Corrigan, Pat/Jill
      City of American Canyon, Public               Cortopassi Family Trust
      Works                                         Cory Avery
      City of Auburn                                Cote, Norman R.
      City of Clovis                                Country Club Resorts, a Nevada
      City of Hollister                             General Partnership
      City of Kingsburg                             Cowperthwaite, Peter
      City of Mill Valley Public Works              Coy Johnson
      Department                                    Coye, Trustee, R. Bruce
      City of Morro Bay                             Craig Conway
      City of Salinas                               Craig Lares
      City of San Jose                              Craig Muenter
      City of San Ramon                             Craig or Steven Ward
      City of San Ramon - Parks &                   Craig Van Delist
      Community Services                            Craig Weiner
      City of Santa Rosa                            Craig Wilson
      City of Soledad                               Crain, Harold
      City of South San Francisco                   Crane Valley Homeowners
      Civic Center Square Inc.                      Association
      Claiborne, Pres. Doug                         Crocker
      Clark, Thomas D. and Denise E.                Crockett Cogeneration, a Calif Lmt.
      Claudia Caramella                             Partnership
      Clauss, Michael & Sandra                      Crown Castle
      Clay LLC                                      Crown Communications Inc.
      Cleon Hubbard                                 Crystal Dirks (Insurance Agent)
      Cline Cellars                                 Currier
      CLYDE E BREWTON JR.                           Curry
      Cole, Christopher & Rita                      Curtis Moran
      Colleen Ham (Insurance Agent)                 Curtis Vixie
      College of the Redwoods                       Cynthia Hayashi (Insurance Agent)
      Collins                                       Cynthia MacDermott
      Collins #2                                    Dagmar Derickson
      Collins Pines C.                              Dahleen Trust
      Commander, NTC                                Dahlmeier (Insurance Agency)
      Commercial Waste & Recycling                  Dale Carlsen
      Concord Jet Service, Inc.                     Dale Huss
      Conrad Viano Winery                           Dalecio Family Trust
      Contra Costa County                           Dallaire, Cynthia Doty
      Cooke, Ron Charles                            Dammeier, Jerry & Vivian



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      Dan and Jeannie Borden                       Deanna Collins
      Dan Foos                                     Debbie Masciorini
      Dan Saccani                                  Debbie Pacheco
      Dana Butcher, Receiver                       DeBernardi, Donald
      Daniel Bastian                               DeBevoise, Bruce and Marie
      Daniel Marciel                               Deborah L. Hanssen & Others
      Daniel Van Elderen                           Debrah Ingersoll
      Daniel Vivoli                                Decoto
      Danny Lund                                   Deeter
      Darcy Channell                               Del Re Trust
      Darden, Edwin S.                             Delagardelle, Jeani C.
      Darrell Bash                                 Delmont Mallan
      Darryl Petersen                              Demmer & Weller
      Dave Carrion                                 Denise Andrews, Operations
      Dave Carrion's Cell                          Superintendent
      Dave Kathriner                               Dennis and Laura Tosti
      Dave Pugmire                                 Dennis Broselle
      David Anderson                               Dennis et al
      David Bosso                                  Dennis Gardemeyer/ Ed Zuckerman
      David Burger                                 Dennis Glendenning
      David Burke                                  Dennis O'leary
      David Campbell (Insurance Agent)             Dennis Tosti (husband to Laura)
      David DeRose                                 Dennis Van Middlesworth
      David Douglas                                Dennis, Bob. & Others
      David Finkbeiner, General Manager            Denton, Jay & Kandace
      David Fuller                                 Deputy Van Bogardus
      David Hoifjeld                               Derek Anderson
      David King, Esq.                             Desert View Dairy-
      David Koch                                   Devil Mountain Nursery
      David Little                                 Devoid
      David Myers                                  Dewar, George C., Trustee & Others
      David Palmisano                              DGS - Real Estate Services
      David Rice, et al                            Division/RPSS
      David Stamm                                  Diana Bellocchi
      David T. Gayley                              Diane Rouse (Insurance Agent)
      David Theobald                               Dick Shingler
      David Williams                               Diebert, Sec/Tres. Barbara
      Davidson Family Trust                        Diedra
      Davies, Thomas W.                            Dieter H Ewald
      Davis et al                                  Dimick
      Davis Investment Company,                    Dingel, Brent
      Davis, Shirley                               Discovery Land & Cattle Co
      De Franchisci, Et Al                         Ditzler Ranch Trust; Benson, Curtis
      De Groot & Son, John                         Loren
      De Silva, Joel & Vicki                       Dolan, Glenn E.
      Dean Snyder



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      Dolezal Family Limited Partnership,           Duck Ranch LLC
      The                                           Dunn, Valerie
      Dolores Silva                                 Dupzyk, Roger, Trustee
      DOMINIC V STOLO                               Durston Trust
      DON BEERS                                     Duval
      Don Bergen                                    DWR - Facilities Management
      Don Browning                                  Dyt, Richard and Patricia M., as
      Don Buzdon                                    Trustees.
      Don Franklin                                  E. Lee Horton
      Don Lorenz                                    EAC Family Properties
      Don Martin - Treasurer                        Eade, Timothy & Yvonne
      Don Schricker                                 Eagan
      Donald & Debra Endsley                        East Bay Municipal Utility District
      Donald & Karol Chase                          (Ebmud)
      Donald Felt                                   Ed Crownholm
      Donald Mayo                                   Ed Wing
      Donald R Travers and Ella H                   Eddie Dove
      Donaldson                                     Edgar McConnell III
      Donna Lauritsen                               Edgar Meyer
      Donna Lawler-Mashtare                         Edward Hatch
      Dorado Inn, Inc                               Edward Kilby
      Dore, Carol                                   Edward Morse
      Doris Dyt, Trustee                            Edward Staudenmayer
      Dorman                                        Edward Winkler
      Dorothy A. Ford living Trust                  Edwards, Mark
      Dorothy Ford                                  Eileen Henderson
      Dorothy Morse                                 Eimers
      Dotson, Gary G.; LeBaron, Terry;              Eldorado National Forest
      Dotson, Bonnie R.                             Elizabeth Gleghorn
      Dotson, James P.                              Elizabeth Nettles et al
      Doug Davie                                    Elliott
      Doug Merrill                                  Elliott Tom Allen
      Doug Shaw                                     Ellis
      Doug Zachary                                  Ellis, Scott C.
      Douglas & Suzi Kinkle Revocable               Elrod, Trustees. Rick G. & Diane M.
      Trust                                         Elvin Rentsch
      Douglas Bui                                   Elvis L Hazel
      Douglas Enoch                                 Ely, Mary C.
      Douglas Kuznik                                Emler, Rose Marie
      Douglas Merrill                               Endresen, Dan & Barbara
      Douglas Parking                               Enea, Diana
      Doyle                                         Enloe
      Doyle Springs Assn.                           Erassarret, Jean M.
      Doyle, Dustin F; Richardson, Ryan             Ergonis Land Co LP
      Drennan                                       Eric & Liane Christensen
      Duane and Gina Goebel



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      Eric Erickson, Director of Finance             Floyd Powell
      and Human Resources                            Fogarty, Thomas; Holcomb,
      Eric Thompson                                  Dorothy; Smart, Gail; Fogarty,
      Ernst                                          Susan; Zelina, William; Courtney,
      Espana                                         Katherine
      Esslin                                         Fording
      Etchepare, Allen & Shiela                      Fording Richard A & Joanne
      Eugene Tenbrink                                Former Vallejo CSO (leased portion)
      Eulert, Trustee, Kenneth A.                    Fortier Family Trust
      Evan Williams, Catherine Siemens               Foster Wheeler Martinez, Inc.
      Evangelho Vineyards, LLC                       Fox, Nancy
      Evanoff, Betty J.                              Foxworthy Southern Baptist Church
      Evans Management                               France Mc Gowan Hogan
      Evans, Jr., Louis H.                           Franchetti, Carol
      Everett, H. Parke                              Franich, John
      Everett; Andrew M., Everett, Charles           Frank Borgess & Others
      A.; Thompson, John W.; Scholten,               Frank Crain
      Melinday Y.                                    Frank Giorgi
      Evergreen Associates, Holiday Inn              Frank Hajnik
      Ewing                                          Frank Jensen
      Faiferek                                       Frank Lepori
      Fairferek                                      Frank Manner
      Fairman                                        Frank Perez
      Fales                                          Frankie Appling
      Fales, James and Judy                          Franz
      Faley                                          Frazier, Jon & Janette
      Fall River Ranch                               Frazier, Terrance
      Farnkopf                                       Fred Brown
      Farr, Ryan                                     Fred Davis
      Farrell                                        Fred Lowrey
      Fehlhaber                                      Free Family Trust
      Fehrman & McDowell                             French, Trustee, Patricia Mary
      Felix, John & Carol                            Fresno County Horse Park
      Fielder, William & Priscilla                   Frey, David K. & Barbara L.
      Figone                                         Frey, Richard & Janis
      Finch                                          Fryer
      Finkbeiner                                     G & G Capital
      First Hybrid Inc.                              G&R Five, Inc.,
      First Independent Bank of NV                   G. Oberti and Sons, a California
      Fish, Danny L. & Randa L.                      limited partnership
      Flannery, Steven P.                            Gabski Family Trust
      Fleming, Beverly A.                            Gaines
      Flores Family Investments, LLC                 Gakle
      Flournoy Family Trust, Elizabeth               Gallager
      Flournoy, Trustee                              Gamelin
      Floyd Damschen                                 Garcia, Roberto



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      Gardner, Pres. Ronald E.                      Gilbert Sheffield
      Garrett Family Trust; Wilsey, Kirk;           Gimelli, Joseph A.
      and Wilsey, Pauline                           Gimelli, Joseph A. & Deanna L.,
      Garrett, Robert and Marcia                    Trustees
      Garringer, William & Deborah                  Gimelli, Kenneth D. & Jill.
      Gary & Gretchen Jacobson                      Ginochio, Lawrence & Jerri
      Gary and Catherine Miller                     Gleghorn, George J. Jr. & Barbara
      Gary Bobo                                     M.
      Gary Casella                                  Gobba
      Gary Doane                                    Goerlich ("A" Dock), Pres. Scott
      Gary Kluge                                    Goerlich ("B" Dock), Pres. Scott
      Gary Moore                                    Goerlich ("C" Dock), Pres. Scott
      Gary Peterson                                 Goerlich ("D" Dock), Pres. Scott
      Gary Staves- El Dorado Stake                  Goerlich ("E" Dock), Pres. Scott
      Gary Waldron                                  Goerlich ("F" Dock), Pres. Scott
      Gary Walker                                   Golden Empire Council - Boy Scouts
      Gas Garden Corporation                        of America
      Gaskin Trust                                  Goodman
      Gateway Oaks Center LLC                       Google for Invoice Issues
      Gauger                                        Google, Inc.
      Gauthier, Paul A. & Stacy J., as              Gordon Ghiglione
      Trustees.                                     Gordon Johnson
      Gaylon Hansen-Caretaker                       Gorman, Loree L.; Kent, Steven;
      Geer, Glenn; Voboril, Stephen Louis           Watson, Gordon & Elaine;
      Gene Marinez                                  Gould, Donna
      Genevieve McKeon (Byrne), Trustee             Gould, Pres. Jeff
      George and Barbara Gleghorn                   Goulet
      George and Dana Holland Farms,                Gozdiff, Mike Alex, as successor
      LLC                                           trustee
      George Carpenter                              Granier, Frank & Laura
      George Emmerson                               Granite Creek Apartments Inc.
      George Hormel                                 Grant Donnelly
      George Protsman                               Grant E. Donnelly
      Gerald Evans                                  Grant Holliday
      Gerald Simpson                                Gray
      Gerald Swimm                                  Green, Thomas
      Gerber, Verna F.                              Greenlaw Pines Investments LLC &
      Gerhard Plenert                               Carmel Pines Investments LLC
      Geroge Barakat                                Greenville Rancheria
      Getz                                          Greenwood, Jr., Ron & Julie
      Geweke Familiy Partnership                    Greg Gaskin
      GGK LLC A CA LLC                              Gregory Novotny
      Giaramita, Richard & Lisa                     Gregory Maleski
      Gibbons, Bryan & Kelly                        Gregory McCandless
      Gibson, Trustee, Alan F.                      Gregory Webb
      Gilbert Reel                                  Gretchen Nicholas-USFS



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      Griggs                                       Heidman, Kris & Patricia (Trust)
      Grissom, Susan                               Heithecker
      Groppetti, Donald J. & Shelly K.             Helen Koehnen
      Grosvenor Properties, Ltd.                   Heller, Trustee, Dorella (Dee)
      Grzanich                                     Helmuth Jones
      Gudgel                                       Henderson, Gary; Cosper, Teri
      Gurr, Roger & Elsie                          Hennigan, Robert N.
      Guzman Family Trust                          Henry Schoenlein
      Gwynn                                        Henter LLC
      Haase Living Trust                           Heppler Family Trust
      Haedrich                                     Herold Sinclair
      Hafterson                                    Herrera, Alex & Margaret
      Hagan Family Trust                           Hicks
      Haling, Gregory                              Higgins, William B.
      Hall                                         Hilda Hudson
      Ham Branch POA                               Hillcrest Properties
      Hamilton Branch Property Owners              Hillyard, Robert J.
      Hamilton, Donald J. & others                 Hinman
      Hamilton, James W. & Jane E.                 Hires, Jack & Judy
      Hammack Family Trust                         Hitchen, Douglas & Karen M.
      Hamman, Howard & Florence K.                 Hobbs, Scott & Harmony
      Hamman, Larence D. & Joann A.                Hoblit
      Hann                                         Hodges
      Hansen, Brian & Cynthia                      Hoffman, C. Chase
      Hansen, Carol E.                             Holcomb Diamond LLC
      Harbor Village Mobile Home Park              Holly Baloran
      Hardisty, Loren G. & Joanne                  Holly Commerce Center LLC
      Hargrave, Keith                              Holm, Robert A. & Corliss R.
      Harness, Linda                               Holscher Robert
      Harrison Williams                            Holt, Craig & Jamie
      Harry Broderick                              Holve, William L.
      Harry P Digesti                              Hood
      Harsch Investment Corporation                Hope Lutheran Church
      Harter, Hayden; Harter, Amelia               Hotel Casino Management
      Hartman                                      Houston
      Hassur                                       Howe
      Hat Creek Rifle & Pistol Club                Huckman
      Hatch/Flanagan, Edward W., Trustee           Hudson, J. Robert, Pres.
      & W. Gerald Trustee                          Hull, Dennis R.
      Havelik K G                                  Humphreys, III, Miles
      Hawker, Chad & Ganeri, Courtney              Hunter, Robert & Diamond
      Hayward Area Recreation & Park               Ian Donnelly
      HD Supply                                    Imhoff
      Healey, William & Mary J.                    Imran, Travelodge general manager
      Hebert Family Trust                          Incline Holding Inc.
      Heesuck M. Noh                               Ingersoll, Debrah



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      Ingvoldsen, Eric F. & Carl                    Jessen, John
      Ira Rogers                                    Jessica Abbott
      Ireland                                       Jessica McCulloch (Insurance
      J & L Rentals, LLC                            Agent)
      J. Ornelas & C. Quam                          Jewett
      Jack Cortis                                   JHK Investment
      Jack Ellena                                   Jim Carbone
      Jack H Stansfield                             Jim McGuire
      Jack Mariani                                  Jim Meyer
      Jackson Street LLC/Morrissey,                 Jim Regimbal, Sr.
      Richard,                                      Joan McFadden
      Jackson, Curtis & Kathleen B.                 Joan St Clair
      Jacobs, Richard & Jacque                      Joann Simpson
      Jacobson, Norman & Diana                      JoAnne Battinelli (Insurance Agent)
      Jacuzzi                                       Joanne Masznicz Trust
      James                                         Joel Rondon
      James and Diana Gleghorn                      John Burroughs
      James Broyles                                 John & Jane McCowan
      James Carlsen                                 John & Kathleen Brownlie
      James Culberson                               John and Wilma Souza
      James Danielsen                               John Bouyea - Sr Right of Way
      James E Obannon                               Agent
      James R Lobitz                                John Christerson
      James Stephenson                              John Cowan
      James Toothman                                John Fara
      Jane Flynn                                    John Goodnight
      Janette Frazier                               John Green
      Janice M. Will                                John Grizzle
      Jared L. Moore Jr.                            John H Leete II
      Jarrett                                       John Howe
      Jay Bechtel                                   John Molea
      Jay Rosenlieb, co-trustee                     John Muir L and Trust
      JCPSAC Properties LP                          John Nora
      Jean Sinn                                     John Pehrson
      Jeff & Lori Olsen                             John Pfister or Mary Pfister
      Jeff Burris                                   John Regh
      Jeff Gough                                    John Rollings
      Jeff Greening                                 John S Foggy
      Jeff Mattherws                                John Solari
      Jeffrey Bumb                                  John Wilson
      Jennifer Jorda (Insurance Agent)              John Womach
      Jennings, Walt & Jan                          Johni Santucci
      Jeong                                         Johnny Steinert - Insurance Carrier
      Jerrold & Michelle Arnold                     Johns Manville
      Jerry Scolari                                 Johnson
      Jerry Worth-Sprint Area Manager               Johnson, Ron



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      Johnston, Pres. Sandy D.                     Kelley, Robert & Marilyn
      Johnstonville Properties LLC                 Kelly, Shaun & Melissa
      Jon Frazier                                  Ken Bell
      Jon Mayer                                    Ken Henry
      Jonathan, Dennis, President                  Kendall Stratford-Barrera
      Jones, Aaron L. & Sharon L.                  Kennedy
      Jones, David A.                              Kenneth Ensey
      Jones, Dennis R.                             Kenneth Fitzgerald
      Jones, Gordon T. Trustee                     Kenneth Head
      Jones, Pres. Art                             Kenneth R Hansen
      Jorgensen, Al V.                             Kenneth Rader
      Joseph                                       Kent Ahlswede
      Joseph (Jay) or Terri Thesken                Kent Mellerstig
      Joseph and Gayle Hensler                     Kevin Miller
      Joseph Chiapella                             Kim Cacace-
      Joseph Diprinzio                             Kim O Dales
      Joyce, Thomas & Rose Marie                   Kim Tardini (Insurance Agent)
      Juan B. Calderon, Trustee                    Kim Tsumara
      Juan Manuel Mata, MSG, USA                   Kimberly Tsumura
      Juan Reynoso                                 Kincannon
      Juan-Hwey Chen, Trustee                      Kindig
      Judith Carroll                               Kinkle
      Julie Brister (Insurance Agent)              Kirk Wilsey
      Julie Deal                                   Kirkpatrick
      Julina Colt                                  Kirshenblatt
      June Williams                                Kiviat
      Justin and Thea Baker                        Klein, Barbara
      Kaiser                                       Kluge
      Karen Nelson                                 Knapp, Arby
      Karen Zorbas                                 KNK Investments LP
      Katherine Gordon (Insurance Agent)           Knotty Pine Resort
      Katherine Soule                              Knudsen Family Trust
      Kathleen Compton (Insurance                  Koehnen, Michael and Lori
      Agent)                                       Konkin, Taylor and Rebecca
      Kathleen Hollowell, General                  KPR Properties/Poletti Realty
      Counsel                                      Kraatz Family Trust
      Kathleen Walsh (Insurance Agent)             Krause, Larry dba Wind River
      Kathy (Insurance Agent)                      Honey Company
      Kauffman                                     KRE 1330 Broadway Venture LLC
      Kaylor, Betty; Durkee, Timothy,;             Kris and Patricia Heideman
      Durkee, Tobin; Durkee, Hayden;               Kristi Bullock (Insurance Agent)
      Greathouse, Leslie Durkee                    Kruse
      Keith A. Wilton Family Trust                 Kuckowski
      Keith Lee                                    Kunitani, Kazuo & Suzu
      Keith Robertson                              Kurtis Brock
      Kelley & Ed Ferry                            Kutz



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      Kynett, Leslie and Joann                      Lee, Linda S.
      LACC #21                                      Leigh Hunt-Firestone
      Lackey, Trustee, Clarence A.                  Leland Armitage
      Lacretia                                      Lengsfelder
      Lagier                                        Leo Gonzales
      Laguna on the Beach Properties LLC            Leon Donohue
      Laier & Kantock                               Leroy Leabman
      Lake Almanor Assoc                            Lewandowski, Michael & Kristin
      Lake Almanor Associates LP                    Lhala, LLC
      Lake Almanor Country Club                     Libenson, Trustee, Richard M. and
      Lake Almanor Home Trust                       Claudia C.
      Lake Almanor Partners                         Lieberman et al
      Lake Pillsbury Homesite Association           Limmex/ Kemp
      Lake Pillsbury Resort, Inc.                   Linda Bowers
      Lakehaven LLC                                 Linda Yparraguirre
      Lakehouse Rentals (Lavoie)                    Lingle, David & Donna
      Lamar Advertising                             Lisa Sipko
      Lancaser                                      Little
      Lancaster, Tommie Gerald and Janet            Little Norway Partners
      Lance North Gimbal, Trustee                   Live Nation, c/o Matt Prieshoff
      Lance Tennis                                  Livesay, Michael and Susan
      Landers, Bobbie                               Lodge, Mareka G.
      Landry, Esq. Edward A.                        Lois Scott
      Larence Hamman                                Lombard-Howe Trust
      LaRiviere, Robert and Theresa                 Longerot, Keith E.
      Larry Alford                                  Loomis, Richard S. & Waterman,
      Larry Duccini                                 Douglas L.
      Larry Prentke                                 Lopez, Raymond and Cinde Bryant
      Larry Smith et al                             Lopez, Robert A.
      Larry Stephenson                              Loree Gorman
      Larson                                        Loree Joses.
      Lauck                                         Loren & Amy Nelson
      Laura Deahl (Insurance Agent)                 Lori Fetters, Community Manager
      Laura Tosti (daughter)                        Lori Martin
      Laurie Menzie Leathers                        Lorina Pisi
      Lawler, Michael B. & Pamela                   Lorree Gorman
      Lawler, Timothy and others                    Lotus Hospitality II, Inc. DBA
      Lawrence J. Thompson & Nancy A.               Holiday Inn
      Horton                                        Louis Bonino
      Lawrence Scott Skinner                        Louis J Peterson
      Lawrence, Robert I., Jr.                      Louise Camacho
      Lazzerini, William K. Jr.                     Loveless, Oscar W.
      LDS Recreation Properties LLC                 Lowe, Orville A. & Bonnie A.
      Leach, Elizabeth                              Lowell F Steel
      Lebaron                                       Lowry, Suzanne E.
      Lee, William                                  Lucas, Iii



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      Lujach Enterprises LLC                         Marlene J Nix & Others
      Luna                                           Marquart, Dennis
      Lusareta & De Young                            Marshall Slocum
      Lynch, John H & Gay O.                         Martella. Nicklus and Anna
      Lynda Trowbridge                               Martha Rush
      Lynn Stewart                                   Martin, Don & Lani
      Lysle Winchester                               Martina McKay
      M H Mills                                      Marvin Crockett
      Mace, Kathryn S.                               Marvin Reiche
      Machabee, Gary and Mary Lynn                   Mary Bell-Moudry
      Mackirdy                                       Mary Conway
      Madelyn Mason                                  Mary Sue O'Connell
      Magan, Betty                                   Marysville Group LLC
      Magers                                         Marzullo, Jr., Joseph J.
      Maggiora & Ghilotti, Inc.                      Mashaun O’Malley (Insurance
      Malachi Mogoba                                 Agent)
      Maleski, Karen                                 Mason, Madelyn C.
      Mallette, Miles T. & Eugene E.                 Mason, Marvin
      Mandy Fraser (Insurance Agent)                 Masonic Hall Associates of Colusa
      Mangin, Gary                                   Massa, Manuel Jr., & Mary
      Manning, Paul W.                               Massengill
      Mantle, Mark S. & Nancy W.                     Masten, Christopher M.
      Manuel Massa Jr.                               Mathis
      Marcum, Bert P., Jr. and Barbara B.            Matt and Carrie Brumbaugh
      Margaret aka "Peggy" Guyett                    Matt Bosco
      Margie Talbot                                  Matt McKeon
      Margo Ormiston (Insurance)                     Matthew Grimsley, State of CA -
      Mari Parino                                    DGS
      Maria Mojica (Insurance Agent)                 Matthew Molitor
      Marianna Love                                  Matthew Palade
      Maricela Reyes (Insurance Agent)               Matthew Southam
      Marie Kirchmeyer                               Maudru
      Marina View Heights Assn.                      Maurice St. Clair Family Trust,
      Marja Miller                                   Max Benton
      Mark & Marilyn Burington                       Maynard, Tamera
      Mark C Jones                                   Mayra Anesetti (Insurance Agent)
      Mark Curry                                     Mc Cartin, Judge Donald A.
      Mark E. Bron                                   Mc Cartin, Mark J.
      Mark Fechter                                   McArthur Resource Management
      Mark Johnson                                   Association
      Mark Leinwander                                McCabe Landscaping
      Mark Miller                                    McCarthy , Kevin
      Mark Parsinen                                  McCreary
      Mark Stewart                                   McDowell
      Mark Webber                                    McFadden, Eugene J.
      Markland, Laurie Ann                           McGowan, Edward H.



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      McGowan, Gail                                  Mike domimick
      MCI Telecommunications Corp                    Mike Egbert
      MCI Worldcom                                   Mike Kunitani (Son)
      McIsaac, Teresa R.                             Mike Tuttle
      McKay, Martina                                 Miles Mallette
      McKee Family Trust                             Miles, Gary
      McKenna                                        Millard Crain
      McKinnis, Steven & Lynne                       Millbrae Racquet Club
      McLeod, Vincent                                Millbrae Raquet Club
      McMillan, Daniel and Mary                      Miller Honey Farms Inc.
      McMurtney, Gene R.                             Miller, John R. dba Miller Honey
      McMurtrey, J. E.                               Farms Inc.
      McNeil                                         Miller, Mike
      McNeill                                        Miller, Tim and Tracey
      McSorley                                       Miller's Landing Resort
      Mechanical & Irrigation Sol                    Millian
      Meecham, Julie                                 Millikan
      Mega Renewables                                Milton La Malfa
      Meissner John                                  Mintegue et al
      Melissa Scott                                  Miravalle
      Mello, William & Frank Jr.                     Mispagel, Lawrence M.
      Mendo Lake Credit Union                        Moberly, F.B. & Caroline R.
      Menlo Park Fire Protection District            Moffett 259 LLC
      Mercedes Hernandez (Insurance                  Monk, Tom
      Agent)                                         Monpere, Dorothy J.
      Meredith, Gary J.                              Monroe
      Meredith, Pres. Carole                         Monson
      Meridian Farms Water Company                   Montague, Charles F.
      Meyer                                          Moore, James and Sherry
      Meyer Enterprises, LLC                         Morelli Ranch, LLC
      Meyer, Paula Ann                               Morris, James C. & Judy
      Meyer, Robert C. & others                      Morse / Karns
      Meyers Farming                                 Mount & Berg
      Michael Aldrich                                Mount Diablo Audubon
      Michael JARRETT                                Mount/Smith et al
      Michael Levy                                   Mountain Community Center
      Michael Price                                  MRB Associates
      Michael Rue                                    Ms. Dana Shigley, City Manager
      Michele Curiel (Insurance Agent)               Mt Jackson Bldg Assoc.
      Micheletti, Joseph & Monica                    Mt. Lassen Trout Farm, Inc.
      Michelle Alvarado                              Mullany, J. L. II
      Mickael S Kyle                                 Mulock, Chad
      Mignano, Julia                                 Munro, Neil and Patricia
      Mike Bauccio                                   Murphy
      Mike Beebe                                     My-Lien Neal (Insurance Agent)
      Mike Carbajal                                  Nachtsheim



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      Nancy Fanning                                 Pacific Service Employees Assn.
      Nancy Fox                                     (PSEA Concord)
      Nancy Huerta (Insurance Agent)                Pacific States Aviation, Inc.
      Nancy Tao                                     Palmisano, Dorothy G.
      Natalia Shparber (Insurance/Law)              Pamela J Cash
      Natonya Forbes                                Pass
      Neal Jern                                     Passalacqua, C. Joseph & Arlen
      Neal Saunders                                 Patburg, Gary & Jeanette
      Nearon Sunset LLC                             Patricia Flores
      Neff                                          Patricia Rubino-Brunetti
      Nell Tarantolo                                Patricia Smith
      Nelson                                        Patricia Weber (Insurance Agent)
      Nelson, Donald & Kay                          Patterson Holdings, LLC
      Nevada County Consolidated Fire               Patterson, Robert
      District                                      Pattison
      Nevada Irigation District                     Patty Lewis
      Newlin, Marvin and Shirley                    Paul Casella
      Newman, Roberta                               Paul Goodman
      Nicholau, William A.; Waite,                  Paul H Goodman
      Athena; Loew, Alexandra D.                    Paul Lavoi
      Nixon, Randall and Heather                    Paul Liston
      NMD Properties LLC                            Paul S. Lofgren
      NMSBPCSLDHB Partnership                       Pedersen/Rogers, Raymond/Richard
      Noal Belkofer                                 Peninsula Village
      Norman Madsen                                 Peninsula Village Homeowners
      Norman Sollid                                 Association
      Norton, David & Sandra                        Penman, Mike and Sheila
      NTC & CO., FBO Louise Benton                  Penny McCreary
      Nusser                                        Pep Boys
      Oberti, Philip                                Pep Boys- Director of Facilities
      O'Connell (Trustee), Ursula Hart              Pep Boys- Law
      O'Connor, Daniel J. & Irene G.                Perry, Jeffrey
      Ogle, Richard                                 Perry, Jim A.
      Ola Garrett/Kirk Wilsey                       Perry, Lee
      O'Neill                                       Peter (Fremont Loc Mgr)
      O'Neill, Mabel                                Peter Aloo
      Opera Plaza LP                                Peter Beck
      OPSAHL                                        Peter Giampaoli
      Oribello, Glenn & Linda                       Peter Grassi
      Oscar Donoian                                 Peter Knight
      Osh Acquistion Corp                           Peters
      Ottenwalter Trust                             Peters, Dr. Alfred G.
      Oxborrow                                      Petersen
      P.R. FARMS, INC.                              Petersen, Steven
      Pabst                                         Petrusha Enterprises
      Pac West Office Equities LP                   Pezzullo



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      PGE Starpoint LLC                              Property Works- Rents
      Phil Kleinheinz                                Prosperi, Robert
      Phil Mackey                                    Pugliesi, Chris
      Philip Ferris                                  PW Fund B LP
      Philip Price                                   Pyle
      Philip Springfield                             Quackenbush
      Phill Kelly                                    R & R Maher Construction Co.
      Phillip J. Oberti                              R. J. Cicchetti
      Phillips                                       Radenbaugh, Trustee, Richard F.
      Phyllis Castello                               Rainbow Estates (Caruana)
      Pierre O. Paquelier                            Rairdan, Todd and Christina
      Pierson/Waldrup, William J./Diane              Randall Jr., Walt
      Elaine                                         Randy Berkheimer-Scout Leader
      Pilegard, Cris                                 Rasmusson
      Pinckney                                       Rathmann,Robert L.
      Pine Cone Resort                               Ratto
      Pinjuv                                         Ray Crawford
      Pitigliano, Trustees, Charles B. &             Ray Dutro
      Nancy S..                                      Ray Johnston
      Placer County Water Agency                     Realty Income Corporation
      Plumas Audubon Society                         Reed Hillard
      Plumas Bank, Inc.                              Regents of the University of
      Plumas County Airports                         California
      Plumb, Darryl and Carrie                       Regimbal, Jr.
      Pollak                                         Rehermann
      Pollard, Donald James and Pamela               Reid, Kathleen A.
      Diane                                          Reid,Victor M. III
      Pollock, James M.                              Renee Russell
      Pomeroy, Susan                                 Repanich, Nicholas & Susan
      Ponderosa Telephone Company                    Retzloff, Lonny and Maryanne
      Poole, Daniel Stephen and Lynn                 Rex Hoover
      Murphy                                         Rex McBride
      Potter                                         Reynolds
      PQ Properties (Peri)                           Reynolds,Pres. Rod
      Pracilla Cooper                                Reynoso, Jaime
      Prattville Water District                      Rhodes, Ronald & Joan
      Pretel, Robert W. Trust                        Rhonda Kranick
      Price                                          Rhyne Trust
      Price, John & Diane                            RICE
      Price, Lawrence A. & Kathleen L.               Rice Airport Operations LLC
      Project 101 Associates                         Rice, Owen S.
      Project Chief, U.S. Geological                 Richard Borello
      Survey                                         Richard Dalton
      Prologis LP                                    Richard F Hathaway Jr.
      Promontory San Luis Obispo                     Richard Fields
      Property Works                                 Richard Hardin



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      Richard Hong (Rick)                          Robert Wallace
      Richard Linam                                Robert Weber
      Richard Livesay                              Robert Wolenik
      Richard Mack                                 Roberts
      Richard McNeil                               Roberts, Douglas & Colette
      Richard Nelson                               Robin Peterson
      Richard Rydell                               Robinson,Rob T. & Cynthia
      Richard S Tough                              Rock Harbor
      Richard St. Peter                            Rod Roland, Gen. Mgr.
      Richard Wells                                Rodriguez
      Richardson, Thomas H.;                       Roger Sohnrey
      Richburg, et.al., Brian K                    Rogers-Millhollin, Denna
      Rick Hatcher                                 Roland & Kathleen Clapp
      Rick Nielsen                                 Roland Ball Revocable Trust
      Rideout                                      Roland Cole
      Rife, Jeff and Debbie                        Rompal, Trustees, Larry S. & Shelly
      Riley, Warren                                R.
      Rion O'Connell                               Ron and Leslie Cox (Owners)
      Risse, Gregory and Michelle                  Ron Carpenter
      Ritts, William C. and Gayle                  Ron Chinn
      Rob Dudugjian                                Ron Decoto
      Rob Kautz                                    Ronald Noblin
      Robert & Jean Fernandez                      Ronald Piethe
      Robert & Kathy Sutton                        Rose, Sean and Leslie
      Robert & Michelle Bozek 2017 Trust           Rosenberg, Saul A.
      Robert Balkow                                Ross Erickson
      Robert Berry                                 Ross Lynn D Succ
      Robert Bilotta                               Rothman, Harold B.
      Robert Bleyhl                                Roweena Mangroo (Insurance
      Robert Care                                  Agent)
      Robert Carter                                Roxanne Mc Laughlin
      Robert Feeney                                Roy Gullo Properties
      Robert Fernandez                             Royal Gorge Ski Touring
      Robert Flint, Jr.                            Royce Friesen
      Robert Gallagher                             Rumberger, Dean and Tiffany Rene
      Robert Gans                                  Russell, Laurie J. (Laurie Leathers
      Robert Grupczynski                           Russell, as trustee of The Leathers
      Robert Hanley                                Family Trust)
      Robert Klein                                 Rydman
      Robert L. Smith                              SAAB Real Estate LLC,
      Robert Lichti                                Safreno
      Robert M Hillyer                             Sagie, Michael L.
      Robert Romar                                 Sahm, Jennifer and Brenton
      Robert Roth                                  Salas, Edward & Helen
      Robert Schneider. Asst. Mgr.                 Salem Venture LLC
      Robert Spooner                               Sally Krenn/Jim Blecha



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      Sally Moyer                                   Shahram Ameli (cell)
      Salvatore Rubino                              Shallu Sharma
      Sam Peracca                                   Shannon Thwaite
      Sam Taylor                                    Shannon, Susan K.
      Samford, Ted                                  Sharp, Donald L.
      San Jose Fire Department                      Sharp, Elsie Laverne, Trustee
      San Lorenzo Lumber Yard                       Shasta County
      San Luis Obispo County                        Shasta County Fire (Big Bend)
      San Luis Obispo Mental Health                 Shaw T & R Family Trust
      Association                                   Shay, Victor W. & Laura L.
      Sanchez / Petersen                            Shelsta, Robert & Janet
      Sanchez, Trustee, John G.                     Shepard, Lawrence & Nancy
      Sanders, Stanley/Steven                       Shephard
      Sanders, Trustee et al, Fahmie A.             Sheppard, Kenny R. & Anne Marie
      Sandridge Partners, a California              Sherri L Pettit
      Limited Partnership                           Sherry, Timothy J.
      Sandy Lane Properties LLC                     Shoreline Amphitheatre
      Santich et al                                 Sierra Alta Terra Inc. (Almanor
      Santucci Livestock                            Lakeside Resort)
      Sara Ann Dietzel                              Sierra Alta terra Inc. (Kerns)
      Sarah Barton                                  Sierra Pacific Industries
      Sasha Shamszad                                Sierra Pacific Properties Inc.
      Savage                                        Sig Hansen
      SBC Services Inc.                             Silva & Kiesler
      Schaeffer                                     Silveria, Gary; Carol, Ronald &
      Schlagel, Pres. Don                           Lorette
      Schmeeckle                                    Simison
      Schmidt, John P. & Schmidt, Arron             Simkins
      Schmitz, Frederic and Sheila                  Simpson Trust
      Schnathorst, H.A.                             Simurda, Bruce M. & Diana L.
      Schneider, Nicholas A.                        Sinor
      Schreck, Elaine                               Skaggs, Jeffrey and Shannon
      Schuh, Curtis & Samantha                      Sky Mtn. Christian Camp
      Schuler, Elizabeth                            Slevcove, Jim John & Mary Ann
      Schultz                                       Smades, Helen A.
      Schwabenland/Richardson,                      Smalling, Karl D.
      Lawrence/Evelyn                               Smith, James and Sandra
      Scott                                         Smith, James C.
      Scott Cooper                                  Smyth, Donald
      Scott McNutt                                  Snyder, Andy
      Sea Mist Farms, LLC                           Snyder, Mark and Pierrette
      Sears                                         Sobel, Trustee, Marc D.
      Sedlak, John and Lisa Mary                    Solano County
      Serrano, Avelio                               Solari, John A.
      SFO Good-Nite Inn, LLC                        Solaro, John P
      Shaffer/ Rogers                               Sonia (Insurance Agent)



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      Sonoma County Transit                           State of California - Dept. of
      Sonoma Valley Center LLC                        Forestry & Fire Protection
      Sortor, Donald and Emmy                         State of California - Dept. of Parks &
      Soule, Randall and Kameron                      Recreation
      South Shore Association                         State of California - DGS Real Estate
      South Valley Apartments LLC                     Services
      Southam                                         State of California - DGS RESD for
      Southern California Edison                      Telecom Div.
      Company                                         State of California - DOT
      Southern California Gas Co. &                   (CALTRANS)
      Southern Co. GA                                 State of California - DOT
      Souza Farming Co., LLC                          (CALTRANS) - Maint. Prog.
      Spargo Family Living Trust                      State of California Department
      Sparks                                          State of California Dept. of General
      Sparky Kirby                                    Services for Department of Justice
      Spectrum Properties Inc.                        State of California, Dept. of Water
      Spongberg                                       Resources
      Spooner                                         Steigner, Clarissa
      Sportshore Mutual Water Co                      Stemken Park
      Spring                                          Stepenson, Larry & Patricia
      Springer                                        Stephanie Coate
      Squeri                                          Stephen Dyer, President
      Stacey Dolan                                    Stephen Fuller
      Stacey Klajbor (Insurance Agent)                Stephen Kurtela
      STAFFORD, Trustees, Delbert T &                 STEPHENS, John R. and Vicki J.
      Kimberly A.                                     Stephenson
      Stahl, Alan Kurt & Ruth Ellen                   Sterling Hammack
      Stai                                            Stern Management Trust,
      Stan & Robin Dell'Orto                          Steve Essig
      Stan Braga                                      Steve Kurtela
      Stanion, James C.                               Steve Randall
      Stanley Barth                                   Steven Carter
      Stanley Cauwet                                  Steven F Potter
      State – Dept. of Justice                        Steven R. Walker
      State of CA - Dept. of Water                    Stewart, Ross and Lori
      Resources                                       Stidham, Dewey Allen & Zona Ruth,
      State of California                             Trustees
      State of California - CHP - Admin               Stockton City Center 16 LLC
      Services                                        Stone, Shirley Blanche
      State of California - CHP - Telecom             Stoneridge Westbridge Shopping
      Unit                                            Center LLC (c/o Potter - Taylor &
      State of California - Dept. Gen. Svc.           Co)
      State of California - Dept. of Fish &           Storie-Crawford
      Game                                            Stover, Tony & Megan
      State of California - Dept. of                  Straatsma, Derek
      Forestry & Fire Prot. (Mendocino)               Strain Trust



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      Strathmore Swim Club                          The Fairferek Living Trust
      Streeby, Kenneth L.                           The Finch Revocable Trust
      Stringfellow, Linda                           The Kaiser Family Trust
      Stroup, Robert and Dorothy                    The Kennedy Family Trust
      Struthers, Pres. Roger                        The Stacey J. Siroonian Living Trust
      STT Investments LLC                           Theodore Towler
      Sue Carlson (wife)                            Thomas & Karen Sullivan
      Sulprizio                                     Thomas Agnew
      Sunriver Investments                          Thomas Clark - Supervisor
      Sunseri, Philip & Leslie                      Thomas Delapain
      Sunset Building Company LLC                   Thomas Fullerton
      Susan Bryner                                  Thomas Ghidossi
      Susan Herzog (Insurance Agent)                Thomas Green
      Susan J. Espana Separate Property             Thomas Halpin
      Trust                                         Thomas Hutchins
      Susan Pomeroy                                 Thomas Joaquin
      Susan Stewart                                 THOMAS M DAUTERMAN
      Susan Witherspoon                             Thomas M. Stanton, trustee; Rodney
      Suzanne Flint                                 Cook, trustee
      SWETZ                                         Thomas Mason
      Swingle, Thomas and Carol                     THOMAS MILLAR
      Switzer, Goldau & Associates                  Thomas, Trent & Jill; Thomas,
      (Hemlock Property Management)                 Trevor & Tamra
      Sylester Lucena                               Thomma, Raymond R.
      Sylvester, Michael and Dana                   Thompson, Stanley
      Syvertsen, Robert K. & Jeanne M.              Thompson, William E.
      T W Dufour & Associates                       Three D Trust of 2003
      Tammy Dirker (Insurance Agent)                Tiffany Hilfer (Insurance Agent-
      Tammy Johnson (daughter)                      Cust. Service)
      Tammy Johnson, Sec./PG&E                      Tiffany Wilde (Insurance Agent)
      Liaison                                       Tim Campbell
      Tandy Bozeman                                 Tim Cashman
      Taylor                                        Tim Malone
      Taylor, Gayland S. & Nancy Ann                Tim Wellman
      Tedford, Jeffrey & Donna                      Timmer, Douglas & Carmen,
      Tehama-Colusa Canal Authority                 Trustees
      Teri Blatter                                  Timothy Durkee
      Terrell                                       Timothy R Crowley
      Terry Boatman                                 Timothy S. Watson
      Terry Remitz                                  Timothy Southwick
      T-H Apiaries (Terry Holcomb)                  Timothy Strong
      Tharp, Bobby and Judith                       Tina J. Van Breukelen, SR/WA
      Thayer                                        Tjerrild et al, Robert J.
      The Donald A. Fryer and Marjorie E.           T-Mobile
      Fryer Trust                                   Todd, Larry R.
      The Doyle 1999 Revocable Trust                Tom Armstrong



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      Tom Dolan                                      Uni-Kool Partners, The
      Tom Goss (Insurance Agent)                     Union Pacific Railroad Company
      Tom Hinojosa                                   USGS Pasadena Office, GPS
      Tom Mansperger (Insurance Agent)               Network Coordinator
      Tom Panages                                    USRPI REIT, Inc.
      Tom Sawyer - for Insurance                     Utility Tree Services, Inc.
      Tom Tisch                                      Vail
      Tom Wilkins (Insurance Agent)                  Valerie Crutchfield (Insurance
      Tomei, William J.                              Agent)
      Toor Village LLC                               Valero Refining Company
      Torres, Roberta A.                             Van Dyke
      TowerCo                                        Van Elderen
      Trammell, Curtis and Jocelyn                   Van Nuys
      Trapschuh, Pres. Frank                         Vanella, Daryl
      Travelodge                                     Varian Arabians
      TRC                                            Veady, Ralph and Cynthia
      Tree Movers, Inc.                              Vergil Owen
      Trees of California                            Vern G Ornbaun
      Trifolo et al                                  Vicent
      Trimble Land Company LLC                       Victor Alvistur
      Troost, IV, Frank W.                           Victor Biasotti III-USFS
      Trowbridge                                     Vierra
      Troy Dawson                                    Vincent Jr., John C.
      Tugend                                         VINCENT, Darrell E, & Dene,
      Turner et al                                   Trustees
      Tusker Corp                                    Vincent, Holly (spouse)
      Ty Thresher                                    Vincent, Richard and Teresa
      Tyler Marsh                                    Virgina Filter
      U.S. Army Corp of Engineers                    Vlahos
      U.S. Bureau of Land Management                 Vugrenes Farms
      (BLM Hollister                                 W D Weller
      U.S. DOT - Federal Aviation Admin.             W P Davies Oil Co
      (FAA Los Angeles)                              W. A Carleton
      U.S. Federal Bureau of Investigation           WACC
      (FBI San Francisco)                            Wallace
      U.S. Forest Service (Lassen National           Wallace, Barbara, Hicks, Jeffry C.;
      Forest)                                        Hicks, Peter; Hicks, Brian; Garlland,
      U.S. Forest Service, Forest Inventory          Carol
      & Analysis                                     Walsh
      U.S. Forest Service/Sierra NF                  Walt Turner
      U.S. Geological Survey - Menlo                 Walter Maynes
      Park                                           Ward, Craig
      U.S. Geological Survey (Pasadena)              Warren & Karen Plaskett Trustee
      U.S. National Oceanic &                        Warren Brusie
      Atmospheric Admin. (NOAA)                      Warren Steiner
      U.S.F.S. Skylake Yosemite Camp,                Watson Family Trust



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      Weber, Gregory W. and Patricia L.              Wishon Village, Inc.
      Welch, Steve R.                                Witt, James
      Werner, Timothy J. & Melinda C., as            Witt, Norman R. & Debra Lou
      Trustees                                       Wittmeier
      Wes Bradford Properties LLC                    Wittner
      Wescott Christian Center                       Wolcott, Patrick
      Wesley Anderson                                Wolford, Richard E.
      West                                           Womack Family Trust
      West Almanor Community Club                    Womack, Brett L. & Patricia
      West, Michael P. and Janis F.                  Wood, Mary Lee
      Western Alliance Bancorp                       Worrall
      Western Area Power Administration              Wraith, Saxon J; Loomis, Jane M.
      Western States Microwave Trans.                Wright, Robert dba Sierra Boulder
      Westman, Verner                                YMCA of Superior
      Westover, Russell C. III; Westover,            Yosemite/Bass Lake Activities, Inc.
      Garrett; Helms, Gail W.                        (Sub-Lessee)
      Westridge Homeowners                           Yosemite/Bass Lake Activities, Inc.
      Westshore Campers Assn                         (Sub-Licensee)
      Westwood Comm Svcs                             Yount, Patrick and Deborah
      Wheeler                                        Zaballos Jr., Trustees,Resti/Deborah
      Wheeler-Smith, Nancy, co-trustee               Zepher Mountain Family LP
      White                                          Zimmerman
      White ,Pres. Betty Jean                        Zimmerman & Luft
      White, Thomas and Jill                         Zimmerman, Roslyn
      Whitehead, Pres. Robert                        Zinkin,Dewayne
      Whiting/ Pickard                               Zona Stidham, Vice President
      Widmayer
      Wilbur H. Smith, III
      Wilburn                                 Lenders (Prepetition and Proposed
      Wilk, Linda D.                          Postpetition to the extent not already listed)
      Willam Hampton                                 Bank of America, N.A.,
      William Baber III                              Barclays Bank PLC and
      William Donaldson                              Citigroup Global Markets Inc.
      William Ettlich                                JPMorgan Chase Bank, N.A.,
      William Klett
      William L. Joseph Family Trust          Parties in 2019 Statements
      William LeMaire                         Abrams Capital Management, LP, onbehalf
      WILLIAM LEWIS                           of certain funds and accounts
      William S. Gaines and Ida Jeanne        Aegon Asset Management
      Gaines 2008 Revocable Trust             Aggreko
      Williams Communications, Inc.           Angelo, Gordon & Co., L.P.
      Wilma Stallins                          Apollo Global Management LLC
      Wilson, Donald & Kvale, Gisela          Assurant Group of Carriers
      Wilson's Camp Pratville                         American Bankers Insurance
      Wirick                                  Company
      Wishon III Esq.,A. Emory



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        American Bankers Insurance           Pacific Investment Management Company
Company of Florida                           LLC
        American Security Insurance          Roebbelen Contracting, Inc.
Company                                      Sachem Head Capital Management LP
        Standard Guaranty Insurance          Sculptor Capital Invesments, LLC
Company                                      Silver Rock Financial LP
        Voyager Indemnity Insurance          Senator Investment Group LP
Company                                      Serengeti Asset Management LP
Aurelius Capital Management, LP              SteelMill Master Fund LP c/o PointState
BlueMountain Capital Management, LLC         Capital LP
CSS, LLC                                     Taconic Capital Advisors LP
Canyon Capital Advisors LLC                  The Bank of Tokyo-Mitsubishi UFJ, Ltd.
Capital Group                                Third Point LLC
CarVal Investors                             TPG Sixth Street Partners, LLC
Caspian Capital LP                           U.S. Bank National Association
Castle Hook Partners LP                      Varde Partners, Inc.
Centerbridge Partners LP                     ACE American Insurance Company
Citadel Advisors LLC                         (collectively, the "Chubb Group").
Citigroup Global Markets                     Advent Underwriting Ltd.
Cyrus Capital Partners, L.P.                 AIG Europe Limited
Davidson Kempner Capital Management          Allstate Insurance Company and certain
D.E. Shaw Galvanic Portfolios, L.L.C.,       affiliates
D.E. Shaw Kalon Portfolios, L.L.C.           Alternative Insurance Corporation
D.E. Shaw Orienteer Portfolios, L.L.C.,      American General Insurance Company dba
Denenberg Tuffley, PLLC                      ANPAC General Insurance Company
Deutsche Bank Securities Inc.                Certain affiliates of American International
Diameter Capital Partners LP                 Group, Inc. (“AIG”):
Elliott Management Corporation                     AIG Europe Limited
Fidelity Management & Research Company             AIG Property Casualty Company
Fir Tree Partners                                  AIG Specialty Insurance Company
Farallon Capital Management, L.L.C.                American Home Assurance Company
Lord, Abbett & Co. LLC                             Granite State Insurance Company
Meadowfin, L.L.C.                                  The Insurance Company of the State of
MCE Corporation                                    Pennsylvania
MSD Partners, L.P.,                                Lexington Insurance Company
MSD Capital, L.P.,                                 National Union Fire Insurance
Meadowfin, L.L.C.                                  Company of Pittsburgh, Pa.
Monarch Alternative Capital LP,                    New Hampshire Insurance Company
Nor-Cal Pipeline Services                    American Modern Insurance Group
Nuveen Alternative Advisors, LLC             American National Insurance Company
Oak Hill Advisors, L.P.                      Amica Mutual Insurance Company
Oaktree Capital Management, L.P.             Arch Specialty Insurance Company
Och-Ziff Capital Management Group LLC        Armed Forces Insurance Exchange
Owl Creek Asset Management, L.P.             Ascot Underwriting Limited
P. Schoenfeld Asset Management LP            Aspen Specialty Insurance Company
Pacific Life Insurance Company               Assurant Group of Carriers



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         American Bankers Insurance            Crusader Insurance Company
Company                                        Electric Insurance Company
         American Bankers Insurance            Employers Mutual Casualty Company
Company of Florida                             Endurance American Specialty Insurance
         American Security Insurance           Company
Company                                        Endurance Specialty Insurance Company
         Standard Guaranty Insurance           Essentia Ins. Co.
Company                                        Everest Indemnity Insurance Company
         Voyager Indemnity Insurance           Everest National Insurance Company
Company                                        Certain Affiliates of Farmers Insurance
The Baupost Group L.L.C.                       Exchange
Berkley National Insurance Company                  Farmers Insurance Company of Oregon
Berkley Regional Insurance Company                  Farmers Insurance Company of
Berkshire Hathaway Guard Ins.                       Washington
Berkshire Hathaway Specialty Insurance              Farmers Insurance Exchange
Company                                             Farmers Specialty Insurance Company
California Casualty Indemnity Exchange              Fire Insurance Exchange
California Mutual Insurance Company            First American Insurance Company
Certain Underwriters at Lloyd’s.               First Specialty Insurance Corporation
Certain Underwriters of Lloyd’s of London      General Security Indemnity Company of
Subscribing to Policy No. HTB-002381-002       Arizona
c/o Raphael and Associates                     Generali U.S. Branch
Chubb Custom Insurance Company                 Global Indemnity Group
Chubb Group:                                   Grange Insurance Association
     Bankers Standard Insurance Company        Great American Insurance Company and
     Chubb Custom Insurance Company            certain affiliates:
     Chubb Insurance Company of New                 Great American Alliance Insurance
     Jersey                                         Company
     Chubb National Insurance Company               Great American Assurance Company
     Federal Insurance Company                      Great American E&S Insurance
     Great Northern Insurance Company               Company.
     Illinois Union Insurance Company               Great American Insurance Company
     Indemnity Insurance Company of North           Great American Insurance Company of
     America                                        New York
     Pacific Indemnity Company;                     Great American Spirit Insurance
     Vigilant Insurance Company                     Company
     Westchester Fire Insurance Company        Governmental Employees Insurance
     (Apa)                                     Company and certain affiliates
     ACE American Insurance Company            The Hanover Insurance Group
     (Chubb)                                   Hartford Accident & Indemnity Company
Church Mutual Insurance                        and certain affiliates:
Continental Casualty Company                        Hartford Casualty Insurance Company
Crestmont Insurance Company                         Hartford Fire Insurance Company
CSS, LLC                                            Hartford Underwriters Insurance
United States Fire Insurance Company d/b/a          Company
Crum & Forster                                      HDI Global SE



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     Property & Casualty Ins. Company of       Stillwater Insurance Group
     Hartford                                  Sutter Insurance Company
     Sentinel Insurance Company Ltd.           Tokio Marine American Insurance Company
     Trumbull Insurance Company                TOPA Insurance Co.
     Twin City Fire Insurance Company.         The Travelers Indemnity Company and
HDI Global SE                                  certain of its property casualty insurance
International Insurance Company of             affiliates
Hannover SE                                          Travelers Casualty Insurance Company
Ironshore Insurance Ltd.                             of America
Ironshore Specialty Insurance Company                Travelers Commercial Insurance
KBIC Insurance Company                               Company
Kemper Auto Alliance United                          Travelers Indemnity Company of
Knighthead Capital Management, LLC, on               Connecticut
behalf of certain funds and accounts                 Travelers Property Casualty Company
Landmark American Insurance Company                  of America
Certain affiliates of Liberty Mutual                 Travelers Property Casualty Insurance
Insurance Company (Liberty)                          Company
Liberty Mutual Insurance / Ironshore                 The Travelers Home and Marine
Certain Underwriters of Lloyd’s of London,           Insurance Company
UK Subscribing to Certain Policies                   The Travelers Indemnity Company
Mapfre USA                                           The Travelers Indemnity Company of
Markel Service Incorporated                          America
     Evanston Insurance Company                      The Travelers Indemnity Company
     Markel American Insurance Company               St Paul Fire and Marine
     Markel Insurance Company                        The Standard Fire Insurance Company
Maxum Indemnity Company                              Fidelity and Guaranty Insurance
Mercury Insurance and certain affiliates             Underwriters Inc.
Metropolitan Direct Property & Casualty              Northland Insurance
National Fire & Marine Insurance Company             The Northfield Insurance Company
Nationwide Mutual Insurance Company and              Constitution State Services, LLC
certain affiliates                             TWE Insurance Company Pte. Ltd.
Nautilus Insurance Company                     United Fire & Casualty Financial Pacific
Nonprofits Insurance Alliance                  Certain Affiliates of United Services
OneBeacon / Atlantic Specialty Ins. Co.        Automobile Association
Pacific Specialty Insurance Co.                      United Services Automobile
Philadelphia Indemnity Insurance Company             Association
The Princeton Excess and Surplus Lines               USAA Casualty Insurance Company
Insurance Company                                    USAA General Indemnity Company
ProSight Specialty Insurance                         Garrison Property and Casualty
PURE                                                 Company, and affiliates companies
QBE Americas, Inc.                             United Specialty Insurance Company
Rite Aid Corporation and Thrifty Payless,      United States Liability Insurance Company
Inc.                                           Tudor Insurance Company and certain
RSUI Indemnity Company                         affiliates
Starr Surplus Lines Insurance Company                Western World Insurance Company
Starr Technical Risks                          Velocity Risk Underwriters, LLC



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     United Specialty Insurance Company        Certain affiliates of American International
     Interstate Fire and Casualty Company      Group (“AIG”)
     Certain Underwriters at Lloyd's           Certain Underwriters at Lloyd’s London
     Certain Underwriters of Lloyd’s of        Subscribing to Policy No. HTB-002381-002
     London                                    c/o Raphael and Associates
683 Capital Partners, LP, on behalf of         Certain Underwriters at Lloyds, London
certain funds and accounts                     Certain Underwriters of Lloyd’s of London,
Abrams Capital Management, LP, on behalf       UK Subscribing to Certain Policies
of certain funds and accounts                  Citigroup Financial Products, Inc.
Advent International Corp.                     Citigroup Global Markets
Advent International GmbH                      Citigroup Global Markets Inc. (“Citigroup”
Advent Underwriting Ltd.                       CNA Insurance Company
Aegon Asset Management                         County of Alameda
AIG Investments                                County of Calaveras
Allianz Global Corporate & Specialty           County of El Dorado
Allied World Assurance Company                 County of El Dorado
American International Group, Inc.             County of Fresno
American Reliable Insurance Company            County of Madera
AmTrust North America                          County of Marin
AmTrust Syndicate 1206                         County of Mariposa
Anchorage Capital Group, L.L.C., on behalf     County of Monterey
of certain funds and accounts                  County of San Benito
ArgoGlobal London                              County of San Joaquin
ASI Select Insurance Corp.                     County of San Luis Obispo
Aspen Insurance                                County of Santa Cruz
Aspen Specialty Insurance Company              County of Sonoma
Assurant” Group of Carriers - American         County of Stanislaus
Bankers Insurance Company; American            County of Tulare
Bankers Insurance Company of Florida;          County of Tuolumne
American Security Insurance Company;           County of Yolo
Standard Guaranty Insurance Company;           Cushman & Wakefield, Inc.
Voyager Indemnity Insurance Company.           D.E. Shaw Galvanic Portfolios,
Attestor Capital LLP                           D.E. Shaw Galvanic Portfolios, L.L.C.,
Aurelius Capital Management, LP                D.E. Shaw Kalon Portfolios, L.L.C.
Azteca Partners LLC                            D.E. Shaw Kalon Portfolios, L.L.C.,
Brit Global Specialty                          D.E. Shaw Orienteer Portfolios, L.L.C.,
California Fair Plan Association               D.E. Shaw Orienteer Portfolios, L.L.C.,
California Insurance Guarantee Association     Denenberg Tuffley, PLLC
Canyon Capital Advisors LLC                    Empyrean Capital Partners, LP, on behalf of
Capital Group                                  certain funds and accounts
Caspian Capital LP, on behalf of certain       Federated Insurance
funds and accounts                             Fidelity Management & Research Company
Castle Hook Partners LP                        Fidelity Management & Research Company,
Centerbridge Partners, L.P., on behalf of      on behalf of certain funds and accounts
certain funds and accounts                     Fir Tree Partners
Century National



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First Pacific Advisors, LP, on behalf of         Palomino Master Ltd. (Appaloosa LP is the
certain funds and accounts                       investment advisor to Azteca Partners LLC
FTI Consulting, Inc.                             and Palomino Master Ltd.)
GCube Insurance Services, Inc.                   Parathon Asset Management
Glendon Capital Management L.P., on              Paulson & Co., Inc., on behalf of certain
behalf of certain funds and accounts3            funds and accounts
Golden Tree Asset Management, LP                 Pentwater Capital Management LP, on
Governors Lane LP, on behalf of certain          behalf of certain funds and accounts
funds and accounts                               Pharmacists Mutual Insurance Company
GuideOne Insurance                               PURE Insurance
HBK Master Fund L.P., c/o HBK Services           Redwood Capital Management LLC, on
LLC                                              behalf of certain funds and accounts
HSBC Bank plc                                    Sachem Head Capital Management LP,
Knighthead Capital Management, LLC, on           Sachem Head Capital Management LP, on
behalf of certain funds and Accounts             behalf of certain funds and accounts
Latigo Partners, LP, on behalf of certain        Sculptor Capital Investments, LLC
funds and accounts                               Sculptor Capital Management
Liberty Mutual                                   Selective Insurance Company of America;
Lloyds of London Novae 2007 Syndicate            Sentry Select Insurance Company
Marathon Asset Management                        Serengeti Asset Management LP
Marble Ridge Capital                             Serengeti Asset Management LP, on behalf
Maxum Specialty Insurance Group                  of certain funds and
Meadowfin, L.L.C.                                Serengeti Asset Management LP, on behalf
Meadowfin, L.L.C.                                of certain funds and accounts
Mesa Underwriters Specialty Insurance            Silver Point Capital, L.P.,
Company                                          Silver Point Capital, L.P., on behalf of
MFN Partners, LP                                 certain funds and accounts
Monarch Alternative Capital LP,                  Silver Rock Financial LP
Monarch Alternative Capital LP, on its own       Star Insurance Company
behalf and on behalf of its advisory clients     Steadfast Capital Management LP (“SCM”),
MSD Capital, L.P.,                               on behalf of certain funds, whether advised
MSD Capital, LP                                  directly by SCM or an affiliate thereof
MSD Partners, L.P on its own behalf and on       SteelMill Master Fund LP c/o PointState
behalf of its advisory clients                   Capital LP
MSD Partners, L.P.,                              SteelMill Master Fund LP c/o PointState
Newtyn Management, LLC, on behalf of             Capital LP
certain funds and accounts                       Stonehill Capital Management LLC, on
Nut Tree Master Fund, LP, by its investment      behalf of certain funds
advisor, Nut Tree Capital Management, LP         Strategic Value Partners, LLC
Oak Hill Advisors, L.P.                          TerraForm Power, Inc.
Olympus Peak Asset Management                    The Dentists Insurance Company
OneBeacon / Atlantic Specialty Ins. Co.          The Progressive Corporation
Owl Creek Asset Management, L.P.                 TPG Sixth Street Partners, LLC
Owl Creek Asset Management, L.P., on             Travelers Indemnity Company of
behalf of certain funds and accounts             Connecticut
Pacific Life Insurance Company



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Warlander Asset Management, LP, on                     Adrian Gowins
behalf of certain funds and accounts                   Adrian Maisonet
Wawanesa General Insurance Co.                         Adventist Risk Management, Inc.
Whitebox Advisors LLC                                  Agasi-Horn, Cody Alan
Whitebox Asymmetric Partners, LP                       Agasi-Horn, The Estate Of Cody
Whitebox Multi-Strategy Partners, LP                   Alan
XL America Insurance, Inc.                             AGCS Marine Insurance Company
York Capital Management Global Advisors,               Agneta Stevens
LLC, on behalf of certain funds and/or                 Agoncillo, Priscilla Ciubal
accounts managed or advised by it or its               Ahern, Edward Joseph Carl (A
affiliates                                             Minor, By & Through His Guardian
Zenith Insurance Company                               Ad Litem Lauretta Ann Ahern)
Zurich American Insurance Company                      Ahern, Lauretta Ann
Zurich American Insurance Company                      AHRS Paradise LLC
Zurich Insurance Company Ltd.                          AIG Europe Limited
                                                       AIG Property Casualty Company
                                                       AIX - Nova Casualty Company
Litigation Counterparties/Litigation Pending           Program
Lawsuits                                               Akhtar, Jahan Z.
        21 st Century Casualty Company                 Akram Elkhechen
        AAA Northern California Nevada &               Al Rydell
        Utah Insurance Exchange, as                    Alameda, Amadaeous (Minors, By
        Subrogee of its Policyholders                  and Through Their Guardian Ad
        Affected by the Butte Fire                     Litem Erika Francine Rummerfield)
        Aaron Davis                                    Alan Pettit
        Aaron Harper                                   Albert Ahad
        Aaron Hattley                                  Albert Bedrosian
        Abigail Gee                                    Albert Darby
        ACE American Insurance Company                 Albert Gurlue
        Ace Towers                                     Albert Low
        Adam (Barretto)                                Alberts, Nikolas Paul
        Adam Ballejos                                  Alec Page
        Adam Balogh                                    Alex Davis
        Adam Berry                                     Alexander, Daniel Benjamin
        Adam Hargrave                                  Alexander, Irving David
        Adam Karlan                                    Alexandria Storm
        Adam Kimball                                   Alfonso Jesus Magdaleno
        Adams, Adrienne Mary                           Ali Stratta
        Addison Martin, minor through GAL              Alice Pastrano-Springs
        Shannon Baird-Martin                           Alicia Blum
        Adele Leard                                    Alicia Rogers
        Adia Bartow                                    Alina Brown
        Administrator and successor in                 Alisha Balentine
        interest of the Estate of Delores              Alisha Long
        Silvas (Ashton)                                Alissa Nutt
        Adrian Bowers                                  Allen McCallum



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      Allen Patrick Hart Jr                         American Family Home Insurance
      Allen Patrick Hart Sr.                        Company
      Allene Lynn Moore                             American Fire and Casualty
      Alliance Global Risks US Insurance            Company
      Company                                       American Guarantee & Liability
      Allianz Global Risks US Insurance             Insurance Company
      Company                                       American Home Assurance
      Allied Property & Casualty                    Company
      Insurance Company                             American Insurance Company
      Allied Property and Casualty                  American Modern Home Insurance
      Insurance Company, A Nationwide               Company
      Company                                       American National Property and
      Allied World Assurance Company                Casualty Company
      Allison Bazan                                 American Reliable Insurance
      Allison Klrin                                 Company
      Allstate Insurance Company                    American Security Insurance
      Allstate Insurance Company"                   Company
      Alma Williams                                 American Strategic Insurance
      Alonzo Lang, Jr.                              Company
      Alta Neal                                     American Zurich Insurance
      Alvaro Alvarez                                Company
      Alys Peck                                     Amerman, Carol A.
      Alysha Lane                                   Amerman, William R.
      Alyssa Marcelling                             Amica Mutual Insurance Company
      Amaji Fox                                     Amie Myers
      Amanda Blankenship                            Amlin Underwriting Limited
      Amanda Larson                                 Amtrust at Lloyd's
      Amanda Mcclarren                              Amtrust Syndicate 1206
      Amanda Rogers                                 Amy Pivato
      Amanpreet Kaur                                Amy Richardson
      Amber Lee                                     Ana Brodie
      Amber Mcerquiaga                              Anabelle Vrismo
      Amber Nayfeh                                  Ancar, Brandie Lou-Ann
      Amber Toney                                   Andersen, Edgar Fridtjov
      AMCO Insurance Company                        Anderson, Cody Eric
      Amco Insurance Company, A                     Anderson, Kinsey Lee
      Nationwide Comp Any                           Anderson, Matthew Robert Rife
      American Auto & Home Insurance                Anderson, Scott Lee
      American Automobile Insurance                 Andrae Burton
      Company                                       Andrea Brazell
      American Bankers Insurance                    Andrea Cochran
      Company                                       Andrea Kathleen Mccoslin
      American Bankers Insurance                    Andrea M. Bruce
      Company of Florida                            Andrea Smith
      American Casualty Company                     Andrew Armstrong;
                                                    Andrew Boone



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      Andrew Cook                                   Armstrong, Arielle (Minors, By and
      Andrew Garcia                                 Through Their Guardian Ad Litem,
      Andrew Palmquist                              Miranda Clemons)
      Andrew Shaffner                               Arndt, Ilona
      Andrew Smith                                  Arpad Fejes
      Andrews, Richard                              Arrie Elaine Marie Ludlow
      Andries Bijstra                               Asa Bartow
      Angela Coker                                  Ascot Syndicate 1414
      Angela Gaitan                                 Ascot Underwriting Limited
      Angela Loo                                    Ashton, Julie Catherine
      Angela Welch                                  Asi Select
      Angelina Hung                                 Aspen Insurance Company
      Angelina Kohler                               Aspen Specialty Insurance Company
      Angelina Murphy                               Associated Indemnity Corporation
      Angie Orrego-Razo                             Atasha Bias
      Angulo, Addy (Joses)                          Atlantic Specialty Insurance
      Angus Fisher                                  Company
      Anita Anderson                                Atnip, Anthony Waco
      Anita Crandall                                Atnip, Brynley Lynn (Minors, By
      Anita Freeman                                 and Through Their Guardian Ad
      Anita Romano                                  Litem, Jeremiah Thomas Atnip)
      Ann Marie August                              Atnip, Christie Lynn
      Ann Martin                                    Atnip, Courtney Elaine
      Anna Janko                                    Atnip, Hank Waco (Minors, By and
      Anna Spirlock                                 Through Their Guardian Ad Litem,
      Annamarie Haemmerle                           Jeremiah Thomas Atnip)
      Anne R. Kamper                                Atnip, Jeremiah Thomas
      Annette Estes                                 Atnip, Kayla Anne
      Annette Peters                                Attic Treasures
      Annie Brodie                                  Aubree Perkins
      Annie Curtis;                                 Aurora Lorraine Ludlow
      Antanas (Tony) Audronis                       Austin Elkins
      Anthony Flores                                Auturo Cesena
      Anthony James Worthington                     AV Solar Ranch 1, LLC
      Anthony Kang                                  Avery Garcia
      Anthony Medway                                Avery Page
      Anthony Rudick                                Avila, Amanda Marie
      Anthony Tree                                  Avila, Dylan Marcanthony (Minors,
      Antonio Ray Olvera                            By and Through Their Guardian Ad
      Arch Insurance Company                        Litem Amanda Marie Avila)
      Argo Global London                            Avila, Kaylee Ann (Minors, By and
      Argo International Holdings Limited           Through Their Guardian Ad Litem
      Arianna Brazell                               Amanda Marie Avila)
      Armed Forces Insurance Company                Avila, Marc Richard
      Armed Forces Insurance Exchange




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      Avila, Shayna Marie (Minors, by and            Bednarchik, Doug James
      Through Their Guardian Ad Litem                Beekhuis, Christiaan William
      Amanda Marie Avila)                            Belen Mendoza
      Axton Bartow                                   Belinda Roberson
      Baartse, Chitten (Individually and As          Bell, Douglas Alexander
      Trustee Of The Baartse Investment              Bell, Maren
      Trust)                                         Bella Clark
      Bainard, Jamie D.                              Benjamin Baslow
      Baird-Martin, Shannon                          Benjamin Greenwald
      Ballard, Gina                                  Benjamin Hernandez
      Ballard, Jeff                                  Benjamin Moore
      Bankers Standard Insurance                     Benjamin Neumann
      Company                                        Bennett Parker
      Banttari, Joel                                 Benscoter, Amos Theodore (By and
      Banttari, Monica, as trustees of the           Through His Power of Attorney
      Banttari Trust dated January 28,               Patricia Ann Williams)
      2004 (Ashton)                                  Bently Rose, minors by and Through
      Barbara Carlton                                Their Guardian Ad Litem, Joseph
      Barbara Crisp                                  Louis Cambra
      Barbara Cruise                                 Benton, Ed (Individually, And As
      Barbara Gyles                                  Corporate Representatives of
      Barbara Haddox                                 Housing Alternatives Inc.)
      Barbara J. Wright                              Berkley National Insurance
      Barbara Kramer                                 Company
      Barbara Lynne Battaglia                        Berkley Regional Insurance
      Barbara Murray                                 Company
      Barbara Robinson                               Berkshire Hathaway AmGUARD
      Barbara Smiley                                 Insurance Company
      Barbara Van Deutekom                           Berliner, Daniel
      Barbara West                                   Berliner, Loan
      Barnett, Joshua                                Bermingham, Johan Matthew
      Barretto, Lawrence S.                          (Minors, by and Through Their
      Barretto, Lydia I.                             Guardian Ad Litem Desirae Alyse
      Barry Wenner                                   Smith)
      Barton, Amber C.                               Bermingham, Netaleigh Rae
      Barton, Paula K.                               (Minors, by and Through Their
      Barton, Timothy T.                             Guardian Ad Litem Desirae Alyse
      Basford, Richard                               Smith)
      Baumler, Chris Joseph                          Bert Callis
      Beaufils, Elizabeth Michele (related           Berthiaume, Johnnie Sue
      to Parisah Jesus; Levi Gage and                Berthiaume, Zackary Michael
      Amber Butler)                                  (Minors, By and Through Their
      Bechard, Melody                                Guardian Ad Litem Johnnie Sue
      Bechard. Macy C.                               Berthiaume)
      Becker, James Allen                            Berton, Daviene Patricia
      Becky Christensen



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      Bertrand, Anthony Kadin (A Minor,              Brad Lyon
      By and Through His Guardian Ad                 Brad Perry
      Litem Kim Irene Landry)                        Bradford, Penni
      Bethany Havey                                  Bradford, Robert Ryan
      Betsy Ann Cowley                               Bradley Dodge
      Bette Becker                                   Bradley Keith
      Bettencourt, Alyssa (a minor, by and           Bradley Neal
      through her guardian ad litem Sonia            Bradley P. Baber
      Bettencourt)                                   Branch, Todd Philip
      Bettencourt, Andrew                            Brandee Caldwell Habig
      Bettencourt, Erica Marie                       Brandee Rippee
      Bettencourt, Jessica                           Brandi Sutton
      Bettencourt, Sonia                             Brandon Benson
      Betty C. Kirkland                              Brandon Hill
      Biggs-Adams, Carrie                            Brandon Payne
      Bill Johnson                                   Brandon Perkins
      Bill Myers                                     Brandon Raynor
      Billy Fanning                                  Brandy Otterson
      Billy Ray Thurman                              Brandy Powell
      Birmingham, Brett J.                           Brayden Artero
      Bj Taylor                                      Breanna Kay Roberts
      Blake Donald                                   Breanne Hutchinson
      Bob Broman                                     Brenda Batey
      Bob Kozicki                                    Brenda Coelho
      Bobbi Canter                                   Brenda Howell
      Bobbi Ludlow                                   Brenda Kountz
      Bobby Gee                                      Brenda McGregor
      Bobby Rogers                                   Brendan Foss
      Bobijean Moore                                 Brent Carnegie
      Bodhi Garcia                                   Brent Ruby
      Boitano, Amanda Lynn                           Brenton Strine
      Bolint, Jeff                                   Brenton Williams
      Bonifield, Jeffrey Scott                       Bret Sandy
      Bonnie Davies                                  Brett Ostrom
      Boode, Aaron (Ashton)                          Brian Bell
      Boode, Arthur                                  Brian Bolton
      Boode, Arthur (Dba Superior                    Brian Flaherty
      Appliance Installations and Dba                Brian Freitas,
      Well I'll Bee Apiaries) (Ashton)               Brian Grahlman
      Boode, Marilu                                  Brian Hill
      Bordon, Craig; Nick Panayotou;                 Brian Hillskemper
      Mehrdad Varzendah; Genesis PVB,                Brian Larson
      LLC (on the Wilcox complaint)                  Brian McAuliffe
      Bowman, Diana                                  Brian Moffit
      Bowman, Kent                                   Brian Taylor
      Brad Brown                                     Briana Pierce



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      Bridge Randall                                   Calaveras County Water District
      Briones, Lisa                                    Calaveras Creek LLC
      Briski, Gregory A.                               Calderon, Amanda Michelle
      Brit Syndicate 2987                              Caleb Jon-Keith (Barretto)
      Brittany Burger                                  California Automobile Insurance
      Brittany Gregory                                 Company
      Brittany Morrow                                  California Capital Insurance
      Brittney Morrison                                Company
      Brodie, Colleen (Individually, And               California Casualty Indemnity
      As Doing Business As ABC                         Exchange
      Cleaning Service)                                California Dept of Veterans Affairs
      Brogan, Shawn Lee                                California Fair Plan Association
      Brook Clyde                                      California Joint Powers Risk
      Brooke Casey                                     Management Authority
      Brotherton, Tabatha Sue                          Calpine Corporation
      Brown, Don Maurice                               Calvin (Amerman)
      Brown, Jill Colleen                              Calvin Evans
      Bruce Hall                                       Calvin Gurule
      Bruce Kleiner                                    Calvin M. Perry III
      Bruce Muhlbaier                                  Camacho, Joann
      Bruce Remington,                                 Camblin, Mark
      Bruno, Angela, individually and dba              Cambra, Cayson Russell
      Highway Metals                                   Cambra, Joseph Louis
      Bryan Lisle                                      Cambra, Nicole
      Bryan Merritt                                    Cameron (Amerman)
      Bryan Venaas                                     Cameron Ray
      Bryce Boston                                     Cameryn Schulte
      Bryson, Kenneth                                  Campbell, Anna & Gagnon, George
      Buchalter, Elinita                               Campbell, Tami Sue
      Buchalter, Jack                                  Canada, Charles W.
      Bud Rigdon                                       Canada, Cynthia A.
      Buendia, Barbara L.                              Candice King
      Burgstrom, Mary Helen                            Candice Seals
      Burris, Sheila Kay                               Candida Applebaum
      Burriss, Cynthia                                 Canniff, Collin S.
      Burriss, Robert and Cynthia                      Canniff, Galen M.
      Butler, Amber Shandi                             Canniff, Keely H.
      Cachuex, Jason                                   Canniff, Mary M.
      Caires, Margaret                                 Canniff, Michael L.
      Caitlin Fobert                                   Cannon Daniels
      Caitlin Mederos                                  Canopius Managing Agents Limited
      Caitlin Mederos                                  Canopius Syndicate 4444
      Caitlin Mederos, et al. v. Pacific Gas           Cantine, Steven
      and Electric Company, et al., Case               Capital Dynamics, Inc.
      No. CGC-18-564641,                               Carie Lerner
      Cal Fire                                         Carl Bender



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      Carl Coleman                                     Cathy Okerlund
      Carleen Edwards                                  Catrina Oberg
      Carlson, Steven                                  Celestino Gencarell
      Carlton Schreiner                                Celil Morris
      Carmel McCoshum                                  Cenco Management, LLC
      Carmelita Sanchez                                Century National Insurance
      Carmen Baca                                      Company
      Carnella Marks                                   Certain Underwriters at Lloyd's
      Carol Amaya                                      London
      Carol Anderberg                                  Certain Underwriters at Lloyds of
      Carol Campbell                                   London Subscribing to Policy
      Carol Hemphill                                   Number LMHO1044
      Carol Ladrini                                    Certain Underwriters at Lloyds of
      Carol Manley                                     London Subscribing to Policy
      Carol Peterson                                   Number LMHO01163
      Carol Souza                                      Certain Underwriters at Lloyds of
      Carol Spears                                     London Subscribing to Policy
      Carole Davis                                     Number LSI102892
      Carole Holley                                    Certain Underwriters at Lloyds of
      Carole Holley                                    London Subscribing to Policy
      Carole Holley, et al. v. Pacific Gas             Number LSI101819-01
      and Electric Company, et al., Case               Certain Underwriters at Lloyd's of
      No. CGC-18-563951;                               London, UK Subscribing to
      Caroline Cardoza                                 Certificate No. B0507L16360-521
      Caroline Christofolis                            Certain Underwriters at Lloyd's of
      Carolyn Edie                                     London, UK Subscribing to
      Carolyn Hill                                     Certificate No. LSU 00402-05
      Carolyn Iott                                     Certain Underwriters at Lloyd's of
      Carrillo, Tanya                                  London, UK Subscribing to
      Carson Schulte                                   Certificate No.
      Carson-Romano, Connie Jo (indiv                  B1353DG1700356000
      and as trustee of The Connie Jo                  Certain Underwriters at Lloyd's of
      Romano 2012 Revocable Trust,                     London, UK Subscribing to
      dated August 5, 2014                             Certificate No. LSU 03618-01
      Casha, Susan J.                                  Certain Underwriters at Lloyd's of
      Casha, Thomas K.                                 London, UK Subscribing to Policy
      Caspary, Barbara                                 No. Nl7NA10020
      Caspary, Nicholas                                Certain Underwriters at Lloyd's of
      Caspary, Ricky                                   London, UK Subscribing to Policy
      Cassel, Bret Travis                              No. W1D52B160101
      Cassel, Carol Lynn                               Certain Underwriters at Lloyd's of
      Castillo, Gerardo                                London, UK Subscribing to Policy
      Casualty Insurance Company                       No. PN1600673
      Catherine Dornan                                 Certain Underwriters at Lloyd's of
      Catherine Tarbox                                 London, UK Subscribing to Policy
      Cathy Neste                                      No. PRPNA1600667



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      Certain Underwriters at Lloyd's of              Cheri Ann Van Over (RiskMaster:
      London, UK, Subscribing to Policy               Heavenly Ice)
      No. B1230AP56189A17                             Cheri Brakensiek
      Certain Underwriters at Lloyds,                 Cheri Haganey
      London                                          Cherie Burns
      Chacon, Adolfo Antonio                          Cherie Welch
      Chad Bosnell                                    Cheryl Broman
      Chantell Estess, individually and as            Cheryl Choate
      trustee of the Michael Estess Living            Cheryl Collier
      Trust                                           Cheryl Harrell
      Chapman, Barbara Joan                           Cheryl Larmore
      Chardonnay Telly                                Cheryl Marie Lynch
      Chargin, Dennis Anthony                         Cheryl Maynard
      Charis Raspi                                    Cheryl Mclain
      Charlene Perry                                  Cheryl Montellano,
      Charles Brugger                                 Cheryl Renwick
      Charles Carroll                                 Cheryl Rowney
      Charles F. Baldwin                              Cheyenne Reynders
      Charles Forquer                                 Chippewa Pest Control Inc.
      Charles Liquori                                 Chris Delorean
      Charles Lomas                                   Chris Franklin
      Charles Lomas                                   Chris Griffith
      Charles Lomas, et al. v. Pacific Gas            Chris Mangrum
      and Electric Company, et al., Case              Chris Martin
      No. CGC-18-564647;                              Chris Paul
      Charles Sanchez                                 Chris Pickett'
      Charles Thompson                                Chris Smith
      Charles Van Auken                               Christian (Amerman)
      Charles Walters                                 Christie, Temperance (Minors, By
      Charles Wright                                  and Through Their Guardian Ad
      Charlie Moffatt                                 Litem Amanda Hernandez)
      Charlotte Brockman                              Christina Frieh Hauer
      Charlotte Sweatt                                Christina Mercy-Kemp
      Charlsey Cartwright                             Christina Wolfer
      Chastain, Samuel Curtis (As an                  Christine Curtis
      Individual, And As Trustee Of The               Christine Dew
      Samuel Chastain Revocable Trust)                Christine Frances Maker
      Chaunce Thorburg                                 Christine Nystrom
      Chavez, Adrian                                  Christine Palmer
      Chavez, Rachelle                                Christine Presson
      Chavez, Rosa Azevedo                            Christopher Aldred
      Chavez, Victor Gonzalez                         Christopher Crabtree
      Chellsee Lende                                  Christopher David Jones
      Chelsea Matz                                    Christopher Gavin Hinz
      Chelsie Crisp Hart                              Christopher Howard
      Chelyl Martin                                   Christopher Nolan



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       Christopher Nystrom                         Clint Freedle
      Christopher Robinson                         Clint Garman
      Christopher Roseman                          Clinton Robertson
      Christopher Vorheis                          Closs, Susan
      Christopher Wilson                           Clyde Macon, Jr. (As Individual,
      Christopher Yoakum                           And As Trustee Of The Clyde M.
      Christopher, Steve                           Chapman Jr. Living Trust)
      Chubb Custom Insurance Company               CNA Insurance Company
      Chubb Insurance Company of New               Coast National Insurance Company
      Jersey                                       Cody Agost
      Chubb National Insurance Company             Cody Boston
      Chun Chu                                     Cody Cloyd
      Church, Cody Nathaniel                       Cody Mackel
      Church, Katlyn Michelle                      Coit, James
      Church, Mark Jay                             Coker, Thomas M.
      Church, Tammy Sue                            Colburn, Adam Gregory
      Cincinnati Insurance Company                 Colby Boston
      Cindy K. Row                                 Colby Payne
      Cindy Lee Hoover                             Collay, Michelle
      Citation Insurance Company                   Colleen Bottini
      Citizens Insurance Company of                Colonial County Mutual Insurance
      America                                      Company
      City of Santa Rosa                           Commerce West Insurance Company
      Civil Service Employees Insurance            Company National General
      Company                                      Insurance Company
      Claire Villanueva                            Company"
      Clara Lakin Knaus                            Conatser, Jennifer Joy
      Clarissa Perkins                             Conder, Breanne
      Clark Boucher                                Conder, Durise Ann
      Clark F. Bridgman                            Conder, Kenney
      Clark, Crystal A.                            Conder, Rodney Howard
      Clark, Gregory Charles                       Conley, Robert Andrew
      Clark, William R.                            Connie Danilov
      Claudia Bijstra                              Connie Epperson
      Claudia Gallentine                           Connie Roberts
      Claudia I. Palmer                            Conrad Wong
      Claudia Peck                                 Conrey, Anthony R.
      Claudia Reek                                 Consolidated Edison Development,
      Claudia Wright                               Inc.
      Clayton Schnurr                              Constantina Howard
      Clemons, Miranda                             Constitution State Services, LLC
      Clevenger, Kimberly Guerra                   Continental Casualty Company
      Clevenger, Monte Alan                        Continental Insurance Company
      Clifford Broman                              Contreras, Eduardo
      Clifford Garrison
      Clifton Brockman



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      Contreras, Hugo, a minor, by and               Crystal Grieg
      through his Guardian ad litem,                 Crystal Record
      Susana Contreras                               Crystal Tree
      Contreras, Susana                              CSAA Fire & Casualty Insurance
      Contreras, Violeta                             Company
      Cook, Benton                                   CSAA General Insurance Company
      Cook, Joshua M.                                CSAA Insurance Exchange
      Cook, Loretta                                  CSE Safeguard Insurance Company
      Copeland, Robert                               Cunha, Judy Lynn, Individually and
      Copello Square, LP                             As Trustees of The Cunha Family
      Cora Kolacz                                    Trust
      Corcoran, Elizabeth                            Cunha, Mark Allen; Cunha, Judy
      Corcoran, William                              Lynn, Individually and As Trustees
      Corey Gurule                                   of The Cunha Family Trust;
      Cortc. Schreiber                               Curtis Mcnamar
      Cory Farris                                    Curtis Schnurr
      Costa, Colt Ryan (A Minor, By and              Cyndie Norman
      Through His Guardian Ad Litem                  Cynthia Davis
      Courtney Elaine Atnip)                         Cynthia Lassonde
      County of Sonoma                               Cynthia Schierman
      County Right Inc.                              Cynthia Skala
      Coutnry Cliffs LLC                             Cynthia Smith
      Cowen, Michael Brian                           Cynthia Spence
      Cox, Haidyn Ray David (A Minor,                Cyrena Brown
      By and Through Her Guardian Ad                 Dacia Williams
      Litem Taylor Victoria Harris)                  Daisy Davis
      Cox, Tim                                       Dakota Gurule
      Cox, Tisha                                     Dale Eber
      Cra Paradise Llc                               Dale Hinerman
      Craig Edwards                                  Dale Miller
      Craig Montgomery, O.D.                         Dale Thompson
      Craig Wenner                                   Dallas Kiser
      Craig, Amber Leann; Boitano,                   Dalton, Helen L.
      Amanda Lynn; Tucker, Jacqueline                Damian Gonzales
      Leanne Craig; Rhodes, James Tyler;             Dan Colliss
      + minors Preslie Leann Tucker and              Dana Gajda
      Jordan Allen Tucker through GAL                Dang, Tuyet Anh
      Jacqueline Leann Craig Tucker                  Daniel Aaron Jesus
      Craig, Carolann                                Daniel Alvarez
      Crestbrook Insurance Company                   Daniel Bennett
      Cribbs, John                                   Daniel Canter
      Croft, Robert (Joses); Croft, Robert           Daniel Gallagher
      as trustee of the Goofey Trust UTD             Daniel George
      August 2012 (Ashton)                           Daniel Magana
      Crusader Insurance Company                     Daniel Mata
      Crystal Alcover                                Daniel Mcneill



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      Daniel Poole                                  Daryl Butts
      Daniel S. Robbins                             Dave Turner
      Daniel Seibert                                Davi Ramey
      Daniel Solors                                 David Bernacett
      Daniel Springs                                David Bockman
      Daniel Vujic                                  David Corson
      Danielle Bottini                              David Crane
      Danielle Costa                                David Crenshaw
      Danielle Gayton                               David Cuen
      Danielle Hall                                 David Dickinson
      Danielle Kingsley                             David Dimon
      Danielle Sellers                              David Ducommun
      Dannette Marquez                              David Foster Clemens Jr.
      Danny Mathis                                  David Gallentine
      Darcey Rudick                                 David Hamilton
      Darla O'Shea                                  David Herndon,
      Darlene Boston                                David J. Gadja
      Darlene Kirby                                 David K. Lakin
      Darlene Williams                              David Lakin Knaus
      Darrell Perkins                               David Liles
      Darren Gillespe                               David Masarik
      Darriel Darden Jr.                            David Peterson
      Darrin Stewart                                David Ricci
      Darwin Crabtree                               David Rice
      Darwin Sager                                  David Robert Fisher III
      Darwin, Jeffrey Charles; Darwin,              David Yates
      Tiffany Marie; Darwin, Kara Nicole            Davis Limbaugh
      (Minors, By and Through Their                 Davis-Joyce, Elizabeth
      Guardian Ad Litem Jeffrey Charles             Dawn Cronin
      Darwin); Darwin, Kilah Dae                    Dawn Garman
      (Minors, By And Through Their                 Dawn Huddleston
      Guardian Ad Litem Jeffrey Charles             Dawn Muhlbaier
      Darwin); Darwin, Lucas Charles                Dawn Stevens
      (Minors, By And Through Their                 Dawn Wright
      Guardian Ad Litem Jeffrey Charles             Dawson, Melissa
      Darwin)                                       Day, Timothy
      Darwin, Kara Nicole (Minors, By               Dayid Coelho
      and Through Their Guardian Ad                 Daynielle Raynor
      Litem Jeffrey Charles Darwin)                 De Posta, Janice
      Darwin, Kilah Dae (Minors, By and             Dean, Megan Rae
      Through Their Guardian Ad Litem               Deanna Hermann
      Jeffrey Charles Darwin)                       Deanna Williams
      Darwin, Lucas Charles (Minors, By             Debbie Boucher
      and Through Their Guardian Ad                 Debbie Waterman
      Litem Jeffrey Charles Darwin)                 Debora A. Wines
      Darwin, Tiffany Marie                         Deborah Glass



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      Deborah Harless                                Dhaliwal, Tarlok S.; Dhaliwal,
      Deborah Jones                                  Balvir K. (Joses)
      Deborah Long                                   Dhaliwal, Kulwant K.
      Deborah Olexiewicz                             Dhaliwal, Tarlok S.
      Deborah Stearns                                Dhaliwal, Yubray S. (Norfolk)
      Debra J. Berube                                Diamond States Insurance Company
      Debra Lynn Roberts                             Diana Dew
      Debra Oxborough                                Diana Machado
      Deckman, Lisa Anne Gardina                     Diana Moody
      Deckman, Louis Albert                          Diana Scharf
      Deckman, Melisa Ann Gardina                    Diana Tracy
      Decriscio, Kimberly D.                         Diane Engelbrite
      Dee Dee Mayhugh                                Diane Langdon
      Deidre Bartow                                  Diane Worsham
      Delaney, Shaun                                 Dianna Gartner
      Delijah Osbourn                                Dianna Varnell
      Delma O'Grady                                  Dickey, Denise R.
      Delores Hamilton                               Dickow, Teresa Marie
      Dena Stewart                                   Dillon Gaytan
      Denise Hunt                                    Dillon Hughes
      Denise Nelson                                  Dillon, Ann
      Denise Quinn                                   Dinah Coffman
      Dennis Glover                                  Directory Sales Management Inc.
      Dennis Gyles                                   Dobrich & Sons Septic Service
      Dennis Hughes                                  Dolly Buck
      Dennis Mark Wickes                             Dolores Percostegui
      Denver Weaver                                  Dominguez, Adam W.
      Deova M. Lewis; (minor clmnts                  Dominguez, Richard Douglas, Jr.;
      Mykala & Jackson)                              Douglas, Avery D. (not complaint)
      Depositors Insurance Comp Any, a               Dominguez, Victor Gonzalez
      Nationwide Company                             Don Varnell
      Derek Pierman                                  Don Wilt
      Desiree Williams                               Donald Bowman
      Destefano, Joann M., as trustee of             Donald Charles Poetker
      Joann M. Destefano Revocable Trust             Donald Cummings
      Destefano, Joann Marie                         Donald Dey
      Devaney, Barbara A.                            Donald Drowty
      Devaney, John R.                               Donald E. Liddiard
      Devin Gotterba                                 Donald Golble
      Devin Witham                                   Donald Greene
      Dewey Bunch                                    Donald Mansell, M.D.
      Dezirae Goodrich                               Donald Martin Geene
      Dhaliwal, Baldeep S.                           Donald Newsom
      Dhaliwal, Balvir K. (Joses)                    Donald R. Luft, Jr.
      Dhaliwal, Harwinter S., Kulwant K.,            Donatus Okhomina Jr.,
      Baldeep S., and Yubray S. (Norfolk);           Donna Brown



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      Donna Carrell                                Earl, Sonja K.
      Donna Cassianos                              Eastridge, Jean Rene Chipman
      Donna Davidson                               (Joses)
      Donna Gardner                                Eastridge, Paul L.
      Donna Huntley                                Eastridge, Paul L. (Brundage)
      Donna Padula                                 Ebbett, Denise (Amerman)
      Don's Saw & Mow                              Ebbett, Roger (Barretto)
      Dorean Gould                                 Ebbetts Pass Lumber Company, Inc.
      Doreen Zimmerman                             Ecklund, Matthew (Eckland on the
      Doris Bailey                                 complaint)
      Doroud, Seyed Mohammed                       Ed Brinson
      Dossue Thornton                              Eddie Candelieri
      Doty, Betty Ann                              Eddit Delongfield
      Doty, Robert Lloyd                           Edgar Ornelas
      Dougherty, Katherine Idell                   Edith Parkerson
      Douglas Eagle                                Edna Gleason
      Douglas Harner                               Edna Valdez
      Douglas Newsom                               Edson, Clifford
      Douglas Ramey                                Edson, Silvia
      Douglas Shilling                             Eduar Medina
      Douglas Sloan                                Edward Antihony Wright
      Douglas Vincent                              Edward Atkins
      Doyle Curtis Mullins III                     Edward Bothwell
      Dr. Bradley Smith                            Edward Gibson
      Druley, William R.                           Edward Hartman
      Duane Awalt                                  Edward Johnson
      Duane D'Amico                                Edward Lee Ricketts
      Duffina, Cody                                Edward Warren
      Duffina, David                               Edwin Zabel
      Duffina, Dustin                              Eggers, Riley Grey (Minors, By and
      Duffina, Vivian                              Through Their Guardian Ad Litem
      Durkay, Lawrence (now deceased)              Johnnie Sue Berthiaume)
      Dustan Bradley                               Eileen Hollingsworth
      Dustie Inman                                 Elaine McSpaddens
      Dustin Bradley                               Elaine Smith
      Dustin Daisy                                 Eldridge, Lori, individually and as
      Dwayne Little,                               trustee of the Darrell S. Eldridge and
      Dyken, Cortez                                Lori J. Eldridge Family Trust
      Dylan Loebel-Begelman                        Eleanor Southwick
      Eagle West Insurance Company                 Elisa Bigham
      Earl Adams                                   Elisha Sheridan
      Earl Jensen                                  Elissa Carne
      Earl Johnston                                Elizabeth Anderson
      Earl, Brandon Leslie                         Elizabeth Gorman
      Earl, Marissa                                Elizabeth Hemphill
      Earl, Robert M.                              Elizabeth J. Bartok-Klein



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      Elizabeth Keen                               Escalante, Ryan Nicholas
      Elizabeth Long                               Esparza, Roberta Haladein
      Elizabeth Solors                             Esteban Armenta
      Elizabeth Walliser                           Estefania Miranda,
      Ella West                                    Esther Pritchett
      Ellen Hamilton                               Ethel Hobe
      Ellen Mccaffrey                              Evan Genna
      Elsa Perry                                   Evan Ludington
      Elvia Bockman                                Evanston Insurance Company
      Emerson Gurule                               Evaristo Sotelo
      Emile Pratt                                  Everest Indemnity Insurance
      Emilie Wilson                                Company
      Emily Clemens                                Everest National Insurance Company
      Emily M. Hubbs                               Eversole, Doris G. (DECEASED)
      Emily Munn                                   Exelon Corporation
      Emily Reese Lee                              Faith Harper
      Emily Wilt                                   Fall Harvest Exchange, LLC
      Emmaline Rose (Minors, By and                FAP&C
      Through Their Guardian Ad Litem              Far West Returns, Inc.
      Celene Ann Taylor)                           Farmers Insurance Company of
      Employers Mutual Casualty                    Oregon
      Company                                      Farmers Insurance Company of
      Enayatulla Ajmal                             Washington
      Enayatullah Ajmal                            Farmers Insurance Exchange
      Encompass Insurance Company                  Farmers Specialty Insurance
      Endurance American Specialty                 Company
      Insurance Company                            Farrell, James L.
      Enel Green Power North America               Farrell, Kaila D.
      Enrique Guzman,                              Farrell, Kulani I. (A Minor, By And
      Epifania Medina                              Through Her Guardian Ad Litem
      Eric Benjamin Gowins                         Tracilyn H. Farrell)
      Eric Borders                                 Farrell, Tracilyn H.
      Eric Day                                     Federal Energy Regulatory
      Eric Lindberg                                Commission
      Eric Montague                                Federal Insurance Company
      Eric Richisen                                Federated Mutual Insurance
      Eric Shoemake                                Company
      Eric Vollmer                                 Federated Mutual Insurance
      Erick Balowin                                Company as Subrogee of Joe's
      Erick Sill                                   Services
      Erik Berkenstock                             Felicia Fain
      Erik Saevke                                  Felix Berkhoudt
      Ernest Farinias                              Ferretti, Hattie Lucille (Joses)
      Ernest Haleck                                Ferrucci, Robin
      Ervin, Kelly Ann                             Fidel Tunno
      Ervin, Ronald William



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      Fidelity & Deposit Company of                  Frank Medina
      Maryland                                       Frank Moetto
      Fidelity and Guaranty Insurance                Frank Navarro
      Underwriters Inc.                              Frank Peck
      Fiebich, John C., individually And as          Frank Sheehan
      Trustee of The Sequoia Family Trust            Frank Solors
      Fields, Bruce                                  Franklin, Alec William (Minors, By
      Figel, Sean M.                                 and Through Their Guardian Ad
      Finch, Gregory M.                              Litem Tanya May Franklin)
      Finesse Floor Covering, Inc.                   Franklin, John Michael
      Fire Damage Plaintiffs                         Franklin, Lily Ann (Minors, By and
      Fire Insurance Exchange                        Through Their Guardian Ad Litem
      Fireman’s Fund Insurance Company               Tanya May Franklin)
      First American Property & Casualty             Franklin, Scott
      First American Specialty Insurance             Franklin, Tanya May
      First National Insurance Company               Fred Foss
      First National Insurance Company of            Fred Scharf
      America                                        Freedom Specialty Insurance
      First Solar, Inc.                              Company
      First Specialty Insurance Company              Frieda L. Conoly
      Fischer, Lisa Denise, as trustees of           FTP Power LLC
      the Robert E. and Lisa D. Fischer              Fulford, Corey Preston
      Family Trust, dated January 8, 2018            Fulton, Chris (Pargett)
      Fischer, Robert Emile                          Funk, Christopher
      Fishman, Jonathan N.                           Gabbay, Abraham
      Fishman, Kaya Tamara                           Gabriel Bellejos
      Flicker Oaks LLC (a California                 Gabriel Dekelaita
      Limited Liability Company)                     Gabriel Senicero,
      Flint Nystrom                                  Gabriela F. Tazzaridineen
      Florists' Mutual Insurance Company             Gabriell Herndon,
      Floyd, Susanne                                 Gada Khechen
      Flynn, Zebulun                                 Gage Osbourn
      Foremost Insurance Company Grand               Gage, Levi Aaron
      Rapids, Michigan                               Gage, Nikolas Alexzander (Minors,
      Foremost Property and Casualty                 By and Through Their Guardian Ad
      Insurance Company                              Litem, Levi Aaron Gage)
      Foremost Signature Insurance                   Gage, Thomas Greyson (Minors, By
      Company                                        and Through Their Guardian Ad
      Foust, Bonita Leona (Individually,             Litem, Levi Aaron Gage)
      And As Trustee of The Bonita Foust             Gagnon, George
      Trust)                                         Gail Carr
      Francis Stabile                                Gail Leblanc
      Frank Bell                                     Gail McCann
      Frank Dodini                                   Galen Capineri
      Frank Liuzza                                   Gallagher, Sheralee
      Frank Lombard                                  Garcia, Kelley Laine



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      Garret Gilliland                            Gerald Krusell
      Garret Mallory                              Gerald Kuhn
      Garrison Property and Casualty               Gerald McClean
      Insurance Company                           Gerald Smith
      Garry Burt                                  Gerard Vanderleun
      Gary Bringuel                               Geyser, Robbi T.
      Gary Brown                                  Ghost Ship Warehouse Plaintiffs
      Gary Estenson                               Gibbons, Catherine
      Gary Hacker                                 Gibbons, Frederick, individually and
      Gary Haskins                                as trustees of Frederick J. Gibbons
      Gary Kendall                                and Catherine J. Gibbons 2002
      Gary Lambert                                Revocable Trust
      Gary Lee Drummond                           Gilbeau, Ariana Victoria
      Gary Mchargue                               Gilbeau, Erin Brooke
      Gary Postolka                               Gilbreath, Jerry
      Gary Robertson                              Gilbreath, Patricia
      Gary Tyler                                  Gilmore, Diane
      Gary Wells                                  Gilmore, Gerald
      Gates, Gary Dean                            Gini Durand
      Gavin Curbow                                Giuseppe Carola
      GCube Insurance Services, Inc.              Glenn Carlson
      GCube Underwriting Limited                  Glenn, Marysa (Minors, By and
      Geico General Insurance Company             Through Their Guardian Ad Litem
      Geico Indemnity Company                     Amanda Hernandez)
      Geln Mallory                                Gloria Reyes
      Gencon Insurance Company of                 Goble, Ethan Nickolas (Minors, By
      Vermont                                     and Through Their Guardian Ad
      Gene Engelbrite                             Litem Makalya Jean Wrede)
      General Casualty Company of                 Golden Eagle Insurance Corporation
      Wisconsin                                   Gotham Insurance Company
      General Insurance Company of                Gough, Glenn Gordon
      America                                     Goulart, Floy Sarah Salyer
      General Security Indemnity                  (Individually, And As Trustee of The
      Insurance Company of AZ                     Floy Sarah Salyer Living Trust)
      Geneva Aguirre                              Government Employees Insurance
      George D. Hanson                            Company
      George Fife                                 Grace Corbin
      George Godwin                               Grace Richardson
      George Gold                                 Grange Insurance Association
      George McMaster                             Granite State Insurance Company
      George O'Shea                               Grant, Brian (Individually, And As
      George Potstada III                         Corporate
      George Snyder                               Representative/CEO/General
      George W. Hopman                            Manager of Housing Alternatives
      George Weaver                               Inc.)
      Georgiana Brooks



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      Grant, Daisy Verna (Joses); Grant,            Greg McAte Lynch
      Gary And Pamela A. Grant, As                  Greg Montgomery Roberts
      Trustees Of The Grant 2011 Family             Gregori Cassianos
      Estate Plan and The G&P Grant                 Gregory Dornan
      2011 Family Trust (Ashton)                    Gregory Hollingsworth
      Grant, Dave                                   Gregory Hughbanks
      Grant, Elva                                   Gregory, Robert K.
      Grant, Fernanado D.                           Greta Louise Moranton-Colman
      Grant, Gary Richard; Grant, Pamela            Gretchen Franklin
      Anne; Grant, Daisy Verna (Joses);             Grewal, Lakhmir
      Grant, Gary And Pamela A. Grant,              Griffin, Donna Alice, individually
      As Trustees Of The Grant 2011                 and as Trustee of the Griffin
      Family Estate Plan and The G&P                Revocable Trust
      Grant 2011 Family Trust (Ashton)              Griffin, Gracie Lee Ruth
      Grant, Pamela Anne                            Grimes, Heather
      Grap, Arthur Ray                              Grisez, Jay Michael
      Grassi, Gloria Rose (Individually,            Grisez, Jay Michael "Mike"
      And As Trustee of The Gloria R.               Grow, Manuel Travis
      Grassi Trust)                                 Guglielmetti, Bailey (A Minor, By
      Graves, Dawn                                  and Through Her Guardian Ad Litem
      Graves, Philip                                Leighann Guglielmetti Luddon)
      Gray, George Albert                           Guideone Mutual Insurance
      Gray, Robert L.                               Company
      Great American Alliance Assurance             Guideone Specialty Mutual
      Company                                       Insurance Company
      Great American Alliance Insurance             Guillemin, Joy
      Company                                       Guillemin, Joy As Administrator
      Great American E&S Insurance                  And Successor In Interest To The
      Company                                       Estate of Joey Ray Guillemin
      Great American Insurance Company              Guillemin, Kenneth Ra
      Great American Insurance Company              Guillemin, Samantha Kaitlyn
      of New York                                   Guliani M. Medina Flores
      Great Northern Insurance Company              Gunn, Emily
      Green, Alyssa                                 Gunn, Karyn G.
      Green, Amanda Summer;                         Gunn, Walter S.
      Dominguez, Skyler Paige (A Minor,             Gus Boston
      By and Through Her Guardian Ad                Guvdeep Maddan
      Litem Amanda Summer Green)                    Guy Bill
      (Joses)                                       Guyan, Lance
      Green, Camille Suzanne                        Guyan, Owen, Individually and As
      Greenlee, Izaiah Vincent Anthony              Trustee of The Sierra Ridge
      (Minors, By and Through Their                 Investment Trust
      Guardian Ad Litem Krystal                     Guyan, Sarah (not on demand)
      Greenlee)                                     Gwen Dodini
      Greenlee, Krystal                             Hailey Gaytan
      Greg Bujor                                    Hal Smith



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      Haley Bannister                                Harding, Kathleen Ann
      Haley, Edna (Individually and As               (Individually, And As Trustee of The
      Trustees of The Terry And Edna                 Living Trust Of Kathleen A.
      Haley Trust)                                   Harding)
      Haley, Terry (Individually and As              Harlow Mackel
      Trustees of The Terry And Edna                 Harold Barnreiter
      Haley Trust)                                   Harold Hill
      Hall, Rollin L.                                Harold Stimson
      Halliday, Jean M.                              Harris, Dennisa Jo
      Halliday, Kurt R.                              Harris, Kerry David
      Hallmark Specialty Insurance                   Harris, Sarah Elizabeth (By and
      Company                                        Through Her Guardian Ad Litem
      Ham, Tammy J. (Individually, And               Dennisa Jo Harris)
      As Trustee of The Tammy J. Ham                 Harris, Taylor Victoria
      Revocable Trust 2007)                          Harry Bellamy
      Hamann, Austin James                           Harry Coffey
      Hamann, Erik Howard                            Harry F. Palmer
      Hamann, Erik Jergen Otto Hamann,               Harry Mason
      a minor, by and Through His                    Harry Whitlock
      Guardian Ad Litem, Erik Howard                 Hartford Accident & Indemnity
      Hamann                                         Company
      Hamann, Thor Cole Jerome (A                    Hartford Casualty Insurance
      Minor, By and Through His                      Company
      Guardian Ad Litem, Erik Howard                 Hartford Fire Insurance Company
      Hamann)                                        Hartford Underwriters Insurance
      Hamann, Viktoria Kathleen                      Company
      Hammer, Billie Anne as Trustees of             Hartsock, Estate of Carl M.
      the Michael E. and Billie Anne                 Harvel Hart
      Hammer Trust                                   Harvey Santos
      Hammer, Gerald                                 Hasan, Nadeem
      Hammer, Michael as Trustees of the             Hassell, Paula
      Michael E. and Billie Anne Hammer              Hathaway Holdings, LLC (as Doing
      Trust                                          Business as Joma's Artisan Ice
      Hammer, Nancy Kathleen,                        Cream)
      individually and as trustees of Jack           Hauer, Jason Stanley
      and Marjory Tone Revocable Trust               Haviland, Burton
      Dated March 2, 2001                            Haviland, Viola Alice
      Hanh Nguyen                                    Hawkins, Alexander Martin (A
      Hankins, Darryl (Amerman)                      Minor, By and Through His
      Hankins, Sandra (Ancar)                        Guardian Ad Litem Joshua Robert
      Hannigan, Shannon Lea                          Hawkins)
      Hannigan, Stephen Edwards                      Hawkins, Elizabeth Anne
      Hanover American Insurance                     Hawkins, Joshua Robert
      Company                                        HDI Global SE
      Hanson Ranch Home Owner's                      Heather Blowers
      Association                                    Heidi Coppin



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      Heidi Jolly                                     Hoekstra, Walter Charles
      Helen M. Lewis-Aris                             Hoekstra, Walter Charles (As
      Helen Swagerty                                  Trustees of The Bud and Maurie
      Helen Terry                                     Hoekstra Living Trust)
      Helena Modell                                   Hoffman, Ronald W.
      Helena Modell,                                  Hoffmaster, William J.
      Helene D. Stevens                               Holly Austin
      Heliotes, M. Scott (Individually, And           Holly Dalton
      As Trustees of The M. Scott and                 Holly Haller
      Phyllis Diane Heliotes Trust)                   Holly Knowles
      Heliotes, Phyllis Diane (Individually,          Holly Pitruzzello
      And As Trustees of The M. Scott and             Holt, Vaughn
      Phyllis Diane Heliotes Trust)                   Homesite Insurance Company of
      Helwig, Randy Michael                           California
      Hendrix, Jonathan (Ashton)                      Honey D. Olvera
      Hendrix, Karen L.                               Hooker, Michele (As Trustee Of The
      Henriette Hostoski                              1999 Marhenke Family Trust) (Mike
      Henriquez, Bonnie R.                            Marhenke is not on demand)
      Henry Becker                                    Hopkins, Arthur
      Henry Colt (A Minor, By and                     Horacio Cisneros
      Through His Guardian Ad Litem                   Housing Alternatives Inc.
      Ariana Victoria Gilbeau)                        Howard Brown
      Henry Freimuth                                  Howard Clewett
      Hernandez, Amanda                               Howard Garrison
      Hernandez, Joseph                               Howry, Tiffany (aka Tiffany Harris)
      Hession, Terrence Scovil                        Hugh Sutton
      Hewes, Deborah Jane                             Hugh W. Smith
      Hill, Stewart McCune, III                       Hughes, David Bancroft
      Hodson, Cecilia A., As Trustees of              Hughes, Douglas Keith, Jr.
      the Hodson TrustHodson, Cecilia A.              Hughes, Keith Raymond (A Minor,
      (Individually, And As Trustees Of               By and Through His Guardian Ad
      The Hodson Family Trust) (Joses)                Litem Fatima Luceia Bonotan
      Hodson, Glenn and Hodson, Cecilia               Pagtakhan)
      A., As Trustees of the Hodson Trust             Hugo Sibrian
      Hodson, Glenn As Trustees of the                Hunter Rutledge
      Hodson TrustHodson, Glenn                       Hurst, Jason A.
      (Individually, And As Trustees Of               Hust, Kate Darlene
      The Hodson Family Trust)                        Ian Mickey
      Hodson, Joseph Byron                            Ian Nelson
      Hodson, Sarah                                   Ian Rash
      Hoekstra, Marguerite Lynn (As                   IDS Property Casualty
      Trustees of The Bud and Maurie                  IDS Property Casualty Insurance
      Hoekstra Living Trust)                          Company
      Hoekstra, Marguerite Lynn and                   Illinois Union Insurance Company
      Hoekstra, Walter Charles Hoekstra               Immediate Care Medical Center
      Dba Berryblest Farm



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      Indemnity Insurance Company of              James Dungan
      North America                               James Elfers
      Inderpal S. Rajput                          James Finn;
      Ingols, Chris                               James Gaebe
      Inocencio, Cirilo                           James Hart
      Inocencio, Nerissa                          James Hauenstein
      Insurance Company                           James Hemphill
      Integon National Insurance                  James Henson
      Integon National Insurance                  James L.Gore
      Company                                     James Ladrini
      Iris Natividad                              James Logan MD
      Irma Enriquez                               James Lowe
      Irma Torres,                                James Marin
      Ironshore                                   James Nunn
      Ironshore Indemnity Inc.                    James Olexiewicz
      Ironshore Indemnity Inc. a/s/o              James Powell
      Charles M. Schulz Museum and Jean           James R. Mckay III
      Schulz                                      James R. Talevich
      Irvine, James                               James Redmond
      Isabella Boston                             James Richardson Jr.
      Isabelle Mikolja                            James Seth Roberts
      Isabelle Rozycki                            James Shepard
      Isla Hunt                                   James Smiley Rose
      Ivanka Vujic                                James Smith
      Ivy Morrow                                  James Sweatt
      Jacee Bates                                 James Wells
      Jackie Easton                               Jamie Muhlbaier
      Jackie Teal                                 Jan Black Greslie
      Jackson, Blair D.                           Jan Tally
      Jackson, Diane M.                           Jane Doe
      Jacob Ian Bates                             Jane E. Bode
      Jacob Joseph Jones                          Janell Goupil
      Jacob Stewart                               Janet Baker
      Jacobb Bottini                              Janet Kimmel
      Jacquelene Liddiard                         Janet Lee Lucich
      Jacqueline Andujar                          Janet Postolka
      Jaich, Melan William                        Janette Taylor
      Jaime Barry                                 Janice Bill
      Jaime Elliott                               Janice Bradford
      Jaime Workman                               Janice Elaine Adair
      Jakob Eddie Mederios                        Janice Elaine Adair
      James (Jim) Sadegi (Adams)                  Janice Elaine Adair, et al. v. Pacific
      James Cassady                               Gas and Electric Company, et al.,
      James Cronin                                19CV00430;
      James Cumpston                              Janice Hillskemper
      James Daryl Bonini



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      Jansson, David Paul (Individually,             Jeffrey Garrison
      And As Doing Business as Bonnie's              Jeffrey Merrill
      Inn)                                           Jeffrey Smith
      Jared Baptist                                  Jeffrey Van Eck
      Jarratt, Patty W.                              Jeffrey Young
      Jarratt, Richard C.                            Jennah Penrod
      Jarrell, Robert                                Jennifer Allbers
      Jarren Brown                                   Jennifer An
      Jarvie, Jens                                   Jennifer Clement
      Jason Brazell                                  Jennifer Dew
      Jason Eggleston                                Jennifer Dickinson
      Jason Gregory                                  Jennifer Johnson
      Jason Harbour                                  Jennifer Makin
      Jason Hastain                                  Jennifer Nichols
      Jason Hornbuckle                               Jennifer Pompati
      Jason Klump                                    Jennifer Risley
      Jason Mciver                                   Jennifer Saevke
      Jason N. Wines                                 Jennifer Stearns
      Jason Van Eck                                  Jennifer Stidham
      Jason Vance MD                                 Jennifer Stringer
      Jason Vance, M.D.                              Jennifer Weiler-Lindberg
      Jason Wagner                                   Jennings, Christopher E., Jennings,
      Jaszleen Rose Nicole More                      Roxanne E. Individually And As
      Jay Harley                                     Trustees Of The Christopher E.
      Jay Kipp                                       Jenny Crabtree
      Jayden Brazell                                 Jenny Gravage
      Jayeleen Radke                                 Jenny Hutton
      Jayette Williams                               Jeremiah Reyes
      Jayln N. Smith                                 Jeremy Puckett
      JB McCoy                                       Jeremy Virgil Peck
      JC Shaver                                      Jeri Sadegi (Adams)
      Jeanine Cartwright                             Jerod Himmist
      Jeanine Moore                                  Jerry Bright
      Jean-Ive Swan                                  Jerry Engelbrite
      Jedidiah Herndon,                              Jerry Frinzell
      Jeff Ellis                                     Jerry Lee Boone dba CC Custom
      Jeff Horton                                    Auto Specialist
      Jeff Scarberry                                 Jerry M. Kirkland
      Jeff Scott                                     Jerry Mendez
      Jeff, Mary (Owner)                             Jerry Mikolja
      Jeffers, Joseph Robert; Rose Mary              Jerry Rozycki
      Jeffers; Kaylee Nevaeh Lynn Jeffers;           Jerry Zollo
      Laycee Kae Avalon Jeffers                      Jesamin Flores
      Jeffery Button                                 Jessamy Cartwright
      Jeffrey Crummy                                 Jesse Arnold
      Jeffrey Funkhouser                             Jesse Connolly



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      Jesse Connolly, et al. v. Pacific Gas            John Barry Ludlow
      and Electric Company, et al., Case               John Eric Lozano
      No. CGC-18-563946;                               John Fendley
      Jessica Amundson                                 John Foster
      Jessica Ann Williams                             John Foutz
      Jessica Bates                                    John Guzman
      Jessica Brinson                                  John Hawk
      Jessica Eckles                                   John Jagger
      Jessica Eggleston                                John Jenkins
      Jessica Garrett                                  John Klepps
      Jessica Harris                                   John Klingenfuss
      Jessica Marie Ulrich                             John Lozano
      Jessica Olah                                     John Machado
      Jessica Stevens                                  John Mccord
      Jessica Thompson                                 John Moran
      Jessie Kay Hinerman                              John P. Martin III
      Jessie McCallum                                  John Peck
      Jessie Smith                                     John R. Baker
      Jesus Mendoza,                                   John Robert Orr
      Jesus, Parisah Nichole                           John Skotvold
      Jetton, Tim Howard                               John Tammaro
      Jian Li Kun                                      John Williams
      Jianhua Tian                                     John Yates
      Jill Abbiati                                     John, Dolly Katherine
      Jill Greslie                                     Johnnie Burns
      Jill Spooner                                     Johnny Duran
      Jim Huddleston                                   Johnny Smith
      Jim Kain                                         Johns, Patrick
      Jim Pitcock                                      Johns, Sharon
      Jim Porter                                       Johnson, Brian John (Packet is David
      Jimmy Payne Jr.,                                 Johnson, Administrator for the Estate
      Joan Baptist                                     of Brian J. Johnson)
      Joan Beeman                                      Johnson, Ken Evan
      Joan Etcheverry                                  Jon Reek
      Joanne Carlson                                   Jon Williams
      Joanne Hansen                                    Jonathan Bujor
      Joanne Lougaris                                  Jonathan Frankum
      Joanne Snyder                                    Jonathan Hanasab
      Jocy Williams                                    Jonathan Reavis
      Jodi World                                       Jonathan Whittington-Brown
      Joel Felice                                      Jones, Mary
      Joel Sycks                                       Jonni Dungan
      Joel Wylder                                      Jonnie Roberson
      Joey Palomar                                     Jordan Jolly
      Johanna N. Sweigart                              Jordan Smoots
      John Barrie                                      Jose Amaya



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Case: 19-30088    Doc# 8334-1       Filed: 07/08/20 Entered: 07/08/20 17:02:47     Page 69
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      Jose Antonio Hernandez                         Judy Floyd
      Jose Mario Avila                               Judy Kramer
      Jose Mata                                      Judy Simmons
      Jose Orlando Arevalo Iraheta,                  Judy Weddle
      Jose Silvestre Trejo                           Julia Herndon,
      Jose Torres                                    Julianne Fisher
      Joseph Barnes                                  Julie Gonzalez
      Joseph Brolliar                                Julie Holiter
      Joseph Cardoza                                 Julie Turner
      Joseph Chandler                                Julie Zabel
      Joseph Flores                                  June Schreiber
      Joseph Garfield                                Justice Lamar Cowen
      Joseph Gu1Ffra                                 Justin Desantis
      Joseph Johnson                                 Justin Hunt MD
      Joseph Kimmel                                  Justin Hunt MD Inc.
      Joseph Miles Earley III                        Justin Keillor
      Joseph Moralli                                 Justin Liska
      Joseph Morgan Jr.                              Justin Petersen
      Joseph Phillips                                Justin Ueda
      Joseph Romano                                  Justin Wagner
      Josephine Abeyta                               Justine Horning
      Joses-Minehart, Leanne Kaye                    Kacie Coulombe
      Josette Hoag                                   Kaila Isaacson
      Josh Van Eck                                   Kaitlyn Mason
      Joshua Blumlein                                Kaleiqua Bornhill
      Joshua Chastain                                Kamryn A. Olvera
      Joshua Murphy                                  Karen Audronis
      Joshua Pitruzzello                             Karen Brown
      Joshua Stillman, D.D.S.                        Karen Diane Konietzny, indiv. and
      Joshua Trostle                                 on behalf of The Robin's Nest
      Jost, Neil                                     Karen Goldsmith individually and
      Joy L. Klackle                                 successor in interest to the Estate of
      Joy L. Madrid                                  Owen Goldsmith and, Stephanie
      Joyce Carver                                   Mathes, representative of the Estate
      Joyce McClean                                  of Owen Goldsmith
      Juan Gayton                                    Karen Gowins
      Juan Lopez                                     Karen Graham
      Juan Zertuche                                  Karen Hordienko
      Juarez, Berancio                               Karen Lee
      Judd Williams                                  Karen Louise (Individually and Dba
      Judith A. Smith                                Wiebe Electric)
      Judith Ann Ellwood                             Karen Mata
      Judith Coffey                                  Karen Moras
      Judith Miller                                  Karen Neel
      Judith Moran                                   Karen Pierce
      Judith Soto                                    Karen Ricca



                                      Schedule 1 - 69
Case: 19-30088   Doc# 8334-1      Filed: 07/08/20 Entered: 07/08/20 17:02:47       Page 70
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      Karen Roberds                               Ken Henderson
      Karen S. Thurman                            Ken O'Neal
      Kariann Collins                             Kenneth Boston
      Karina Hordienko                            Kenneth Dugan
      Karl Frenzel                                Kenneth Gillen
      Karpathia Herzbrun                          Kenneth Mosby
      Karr, Farnum                                Kenneth Sevenns
      Kate McDonald                               Kenneth Smith
      Kate Townsend                               Kenneth Turner
      Katharine Mclaughlin                        Kenneth Welker
      Katherine Joan Taylor                       Kenneth Wolfe
      Katherine Rodriguez                         Kent Garcia
      Katherine Soudan                            Kerry Neufeld
      Katherine Wells                             KES Kingsburg, L.P
      Kathleen Bruce                              Kevin Burnett
      Kathleen Carter                             Kevin Hall
      Kathleen Dysert                             Kevin Locke
      Kathlena Schnurr                            Kevin Mckay
      Kathryn Orlando                             Kevin Regan
      Kathy Tyler                                 Kevin Sheridan
      Katie Gillen                                Kevin Stein
      Katie Lynn Castillo                         Kieley Ricker
      Katrina Hornbuckle                          Killion, Electra L.
      Kaur, Birinder                              KILN/RPS
      Kayla Greenleaf                             Kim Dennis
      Kayla Simmons                               Kim Hastain
      Kayla Snow                                  Kim Katherine Bonini
      Kaylee Nevaeh Lynn Jeffers                  Kim Potstada
      Kaytee Griffis                              Kim Ream
      Kc Easter                                   Kim Rose
      Keillor's Pest Solutions                    Kim Shaw
      Keith Farris                                Kimberly Bowden
      Keith Hall                                  Kimberly Brolliar
      Keith O. Ancar                              Kimberly Holbrook
      Keith Rowley                                Kimberly Monhead
      Keith Stoller                               Kimberly Stough
      Keith, Melton Ray, Jr.                      Kimberly Wines
      Kellie Roseman                              Kirk Trostle
      Kelly Brewer                                Knaus, Paul D.; Clara Lakin Knaus;
      Kelly Cody-Mooney                           Nicholas Lakin Knaus; David Lakin
      Kelly Jones                                 Knaus
      Kelly Perkins                               Knowles, Barbara
      Kelly, Debra                                Knowles, Barbara Diane as trustee of
      Kemper Independence Insurance               the Barbara Knowles 2003 Separate
      Company                                     Property Trust
      Ken Brow                                    Kody Rodgers



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      Konietzny, William J.                          Lara Hernandez
      Kopic, Cheryl A. As Successor In               Larry Correia
      Interest To The Estate Of Jeanette L.          Larry Harper
      Gwerder; As Trustee Of The Jeanette            Larry Stewart Jr.
      L. Gwerder Trust November 16,                  Larry Van Deutekem
      2017                                           Larsen, Gregory
      Kora Dobson                                    Larsen, Jacqueline
      Korin B. Baber                                 Latisha Liptrap
      Kory Haymond                                   Laura Elias-Calles
      Koshi Charvet                                  Laura Gibson
      Kovach, Carol Anne                             Laura McMaster
      Kovach, John Alexander                         Laura Powell Hanley
      Kraig Michael Kemp                             Laura Smith
      Kristen Schreiber                              Laura Sutfin
      Kristi Ackley                                  Lauren Kenyon
      Kristin Marada                                 Lauren P. Funk
      Kristina Wuslich;                              Laurence Brown
      Kristopher Kearns                              Lauretta White
      Krystle Young                                  Lauri D. Snyder
      Kurt Klackle                                   Lauri Miller
      Kurt Mayer                                     Laurie E. Talevich
      Kurt Stough                                    Laurie Pillsbury
      Kyle (Amerman)                                 Lavagnino, Shari
      Kyle Cowan                                     Lavagnino, Shari L.
      Kyle Crosley                                   Lavonne Marie (Ancar)
      Kyle Gartner                                   Lawrence Brown
      Kyle King                                      Lawrence Pring
      Kyle Lopea                                     Lawrence Rudick
      Kyle Lopea, Jr.                                Lawrence Townsend
      Kyle March                                     Lawson, Heidi L.
      Kylie Clarinda Strawn                          Laycee Kae Avalon Jeffers
      Laci Aileen Ping                               Lazzeri, Richard
      Lacy King                                      Leah Rogers
      Lames, Carlos                                  Leandro August
      Lance Gilpin                                   Ledia Watkins
      Lance Ludington, M.D.                          Lee A. Fickes
      Landavazo, Francisco, Jr. (Joses)              Lee Martin
      Landavazo, Ricardo (Norfolk)                   Lee, Janet H.
      Landmark American Insurance                    Lefler, Sahara (through GAL Felicity
      Company                                        Morton) (Coleman)
      Landon Thomspon-Wright                         Leigh Bailey
      Landry, Kim Irene                              Leininger, Chloe (Minors, By and
      Lanelle Smith                                  Through Their Guardian Ad Litem
      Lanette Perry                                  Genesis Leininger)
      Lang Giu Li                                    Leininger, Genesis
      Lara Balas                                     Leininger, Steve



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      Leininger, Steven (Minors, By and               Lily Rose Elizabeth Porto (related to
      Through Their Guardian Ad Litem                 Elizabeth Beaufils)
      Genesis Leininger)                              Linda A. Goates
      Leland C. Dineen                                Linda Ball
      Lenay Lucier                                    Linda Day
      Leon Baptist                                    Linda Garrison
      Leona Skaggs                                    Linda Haro
      Leonard Fallscheer                              Linda Ida Hart
      Leroy Bolander                                  Linda J. Barton
      Leroy Howard                                    Linda Knowles
      Leslie Bell                                     Linda Lefebvre
      Leslie Brian Mccoslin                           Linda McCann
      Leslie Bultema                                  Linda Miller
      Leslie C. Kaulum                                Linda Oaks
      Leslie Farinias                                 Linda Sake
      Leslie Mead                                     Linda Schooling
      Leslie Moore                                    Linda Wolff
      Lessaos, Janet, individually and as             Lindalee Hatch
      successor in interest for Chris Fulton          Lindsay Benson
      (Campbell)                                      Lindsay Hidalgo
      Lester Ball                                     Lindsey Venden
      Lester Kramer                                   Link, Kenneth W.
      Leticia Lopes                                   Lisa Anne Bird
      Letticia Elam Robles                            Lisa Awalt
      Lewis, Dayton, (A Minor, By and                 Lisa Barnes
      Through His Guardian Ad Litem,                  Lisa Bennett
      Breanne Conder)                                 Lisa Christine Ludlow
      Lewis, Timothy C., Sr.                          Lisa Delaine Allain
      Lexington Insurance Company                     Lisa Franks
      Li, Alvin                                       Lisa Hohenthaner
      Liam Thompson                                   Lisa Pierman
      Liberty Insurance Corporation                   Lisa Reimer
      Liberty Mutual Fire Insurance                   Lisa Van Norsdall,
      Company                                         Lisa Vogel
      Liberty Mutual Insurance Company                Lisa Yoshida
      Lida Chase                                      Lisa Yoshida
      Lili Thompson                                   Lisa Yoshida
      Lilia Williams                                  Liviu Bujor
      Liliana Gaytan                                  Liza Simms
      Lilianna Wright                                 Locke, Kevin (Individually, And As
      Lillian Lazzeri;                                Trustees of The Locke 2004
      Lillian, Individually and Dba Lazzeri           Revocable Trust and Representatives
      Family Vineyards                                of Locke Vineyards)
      Lilly Amunra                                    Locke, Theresa (Individually, And
      Lily Frances Castillo                           As Trustees of The Locke 2004




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      Revocable Trust and Representatives            Lubich, Stephen
      of Locke Vineyards)                            Lucich, Jacob
      Logan Jolly                                    Lucille Marshall
      Logan West                                     Luddon, James
      Lonnie Walker                                  Luddon, Leighann Guglielmetti
      Lonnie Walker, et al. v. Pacific Gas           Luddon, Riley (A Minor, By and
      and Electric Company, et al.,                  Through His Guardian Ad Litem
      18CV03992;                                     James Luddon)
      Looney, Martha                                 Luft, Carolyn Sue
      Lopez, Alejandro                               Luft, Christine
      Lopez, Anthony Rene                            Luke Bartow
      Lopez, Cynthia Ann                             Luke Morrow
      Lopez, Joseph                                  Lutzi, Teri Marie (Individually, And
      Lopez, Melissa Annemarie                       As Trustee of The Lutzi 2011
      Lopez, Nayella Boe (A Minor, By                Revocable Trust, Under Instrument
      and Through Her Guardian Ad Litem              Dated March 22, 2011)
      Anthony Rene Lopez)                            Lydia Schrader
      Lopez, Rebecca Rochelle                        Lyle Hunt
      Lora Ostrom                                    Lynda Chanel (A Minor, By and
      Loran Kidd                                     Through Her Guardian Ad Litem
      Lorenzo Jesus Molina                           Rodney Howard Conder)
      Loretta Martin                                 Lynda Howell
      Lori D. Miller                                 Lynda Matthews
      Lori Dugan                                     Lynda Otten
      Lori Lee Mccoslin                              Lyndi Kay Jones
      Lori Loyd                                      Lynn M. Johnson
      Lori Velasco                                   Lynn Wood
      Lorraine Faires                                Lynne Grauberger
      Lorraine Marchant                              Lynne Keerans
      Lorraine Mcquilliams                           Lynnette March
      Lorraine Muhlbaier                             M. Aboui Nasser
      Lorraine Shy                                   Madaline Beeman
      Lorrie Jordan                                  Maddux, Jeremy
      Louis Balsamo III                              Maddux, Michelle
      Louis Balsamo Jr.                              Madison Bujor
      Louise Cambray-Kyle                            Madison Gillen
      Louise Howell                                  Magar, Brandon
      Lovecchio, Gianni Kingston                     Maili Gibson
      Anthony (Minors, By and Through                Main, Elizabeth Kay
      Their Guardian Ad Litem Krystal                Malinallilzin Medina Ocadio
      Greenlee)                                      Malorie Limbaugh
      Lovecchio, Michael                             Malta, Joseph Edward, Jr.
      Low, Nikko                                     Mandy Coons
      Low, Reno                                      Mandy Douglas
      Low, Savina                                    Manney, Gail (Renter)
      Luanne Powell                                  Manny Knowles



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      MAPFRE Insurance Company                       Mark Brockman
      Marc Alan Belon                                Mark Castelluci
      Marc Alan Belon                                Mark Dew
      Marc Alan Belon, et al. v. Pacific             Mark Dolan
      Gas and Electric Company, et al.,              Mark Dornan
      CGC-17-562660;                                 Mark Hansen
      Marc D. Rezin                                  Mark Hidalgo
      Marc Thomas                                    Mark Jenne
      Marcel Burns                                   Mark Light
      Marcel Orbea                                   Mark Manzella
      Marcella Velasquez                             Mark Muhlbaier
      Marcella Wilson                                Mark Orlando
      Marcia Wilson                                  Mark Presson
      Marcus Littlejohn                              Mark Scalese
      Marcus Warford                                 Mark Thompson
      Marcussen, Della                               Mark Turner
      Marcussen, Lance Rozier                        Mark Velasquez
      Marecak, Scott A.                              Mark Williams
      Margaret Becker                                Mark Wilson
      Margaret Dupree                                Markland, Dacia Renee
      Margaret Estrada                               Markland, Jenna Renee (Minors, By
      Margaret McMahon                               and Through Their Guardian Ad
      Margaret Muto                                  Litem Dacia Renee Markland)
      Margarete Whitaker                             Markland, Joshua Ryan (Minors, By
      Margot Van Auken                               and Through Their Guardian Ad
      Marguerite Lynn Hoekstra                       Litem Dacia Renee Markland)
      Marguerite Sheffler                            Markland, Richard Scott
      Marhenke, Mike                                 Marla Gibson
      Maria Elena Diaz Doak                          Marla Steele
      Marianne Kuusisto                              Marla Steele, et al. v. Pacific Gas
      Maribeth Waegner                               and Electric Company, et al., Case
      Marie Fickert                                  No. CGC-18-564640;
      Marie-Claire Starr                             Marlene Tuthill
      Marilyn A. Smith                               Marlyn Jenvey Baker Stark
      Marilyn Barker                                 Marquez Greene
      Marilyn Litty                                  Marsha Harlan
      Marilyn Smith-Tracy                            Marshall, Judith
      Marilynn Darlington                            Marshall, Nicoy M.
      Marionne M. Myers                              Marshall, Robert
      Marja Himmist                                  Martha Besseghini
      Marjorie Maraviov                              Martha Lamberts
      Mark Bowman                                    Martha Low
      Mark Bowman                                    Martin Farrell-Araque,
      Mark Bowman, et al. . Pacific Gas              Martin, Amanda Rheanne
      and Electric Company, et al., Case             Martin, Davie Allan
      No. CGC-17-562661;                             Martin, Dustin Hervey



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      Martin, George Merriell                        Mata, Corina Rose
      Martin, Michael                                Mathes, Stephanie, individually and
      Martin, Nadine Aderhold                        successor in interest to the Estate of
      (Individually, And As Trustee of The           Owen Goldsmith and, Stephanie
      Martin Family Trust, Dated 7-22-99,            Mathes, representative of the Estate
      and As Representative Of The Estate            of Owen Goldsmith
      Of Gene Douglas Martin)                        Mathew Buxton
      Martin, Nina Lavonne                           Mathew H. Phillips
      Martin, Robert G (related to Dalton,           Matt Paine
      Helen and Shamberger, Ryan)                    Matthew Alcover
      Martinez, Anthony D., as trustees of           Matthew Ball
      The Martinez Family Trust                      Matthew Becerril
      Martinez, Jacob                                Matthew Bowden
      Martinez, Paul T. as trustee of The            Matthew Chauvin
      Martinez Family Trust                          Matthew Cookson
      Marwan Jaradah                                 Matthew Crummy
      Mary Ann Christine Etter                       Matthew Guerra
      Mary Ball                                      Matthew John Plourd
      Mary Bauer                                     Matthew Lochner
      Mary Bauer, et al. v. Pacific Gas and          Matthew Pesqueira
      Electric Company, et al., Case No.             Matthew Rowney
      CGC-18-563953;                                 Matthews, Timothy
      Mary Brown                                     Maureen Garcia
      Mary Denise Ancar                              Maureen Steward
      Mary Edith Gowins                              Mauro Reveles
      Mary Gray                                      Max M. Montellano,
      Mary Jo Palmer                                 Maxine Christian
      Mary K. Morrison                                Maxine Derington
      Mary K. Morrison, et al. v. Pacific            Maxine Wong
      Gas and Electric Company, et al.,              Maxum Indemnity Company
      18CV04083;                                     Mayra Acosta
      Mary K. Riley                                  McBride, Kathleen
      Mary Kirk                                      McBride, Teresa
      Mary Knowles                                   McCarthy, Gregory
      Mary Nieland                                   McCartney, Brady Shea Thomas
      Mary Nordskog                                  McCartney, Philip (As President and
      Mary Sharon Saunders                           Representative of Mokelumne Hill
      Mary Turner                                    Sanitary District)
      Mary Walters                                   McCartney, Philip James
      Mary Whitlock                                  McCartney, Rebecca Ann
      Marybeth Guzman                                McClellan, Raven C.
      Mason A. Wood                                  McCluskey, Erin Holmes
      Mason, Ken                                     McCluskey, Linda Holmes
      Mason, Lynn                                    (Individually And As Trustee Of The
      Massachusetts Bay Insurance                    Patrick Francis McCluskey And
      Company                                        Linda Holmes McCluskey Truist,



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      And Through Erin Holmes                       Megan Osbourn
      McCluskey, Their Power Of                     Megan Wise
      Attomey Dated January 13,2016)                Mehrizi Properties LLC
      McCluskey, Patrick Francis                    Meiring, Robert Lawrence
      (Individually And As Trustee Of The           Meiring, Roberta Ann
      Patrick Francis McCluskey And                 Melanie Crook
      Linda Holmes McCluskey Truist,                Melanie Richisen
      And Through Erin Holmes                       Melba Donnell
      McCluskey, Their Power Of                     Melissa Bujor
      Attomey Dated January 13,2016)                Melissa Lucas
      McCombs, Michael Lee                          Melissa Myers
      (Individually and As Trustee of The           Mendocino County
      Mike And Patti McCombs 2011                   Mercado, Ernesto
      Revocable Trust)                              Mercury Casualty Company
      McCombs, Patricia Ann                         Merlin Hembel
      (Individually and As Trustee of The           Metro Direct Property & Casualty
      Mike And Patti McCombs 2011                   Insurance Company
      Revocable Trust)                              Metropolitan Direct Property &
      McCreery, Robert, individually and            Casualty Insurance Company
      as trustees of the Robert and Susan           Metropolitan Property and Casualty
      McCreert Family Trust                         Insurance Company
      McCreery, Susan, individually and             Mey Saechao
      as trustees of the Robert and Susan           Meyer, Frank H.
      McCreert Family Trust                         Michael (Barretto)
      McCuen, Trenton                               Michael Applebaum
      McGrew, Shanda                                Michael B. Zachwieja
      McKinney, Michael James                       Michael Barrett
      (Individually, And As Agents of               Michael Benedict
      Flicker Oaks LLC and Flicker Oaks             Michael Bitker
      LLC, A California Limited Liability           Michael Brooks
      Company)                                      Michael Brown
      McKinney, Stephanie Barshear                  Michael Buck
      (Individually, And As Agents of               Michael Caldwell
      Flicker Oaks LLC and Flicker Oaks             Michael Charvel
      LLC, A California Limited Liability           Michael Charvet
      Company)                                      Michael Clemens
      McMillan, Michelle Lee                        Michael D. Snyder
      McMillan, Troy Allen                          Michael DeFrietas
      McMurtry, Judy Alison                         Michael Delzell
      McSweeney, Anne Shirley                       Michael Erickson
      Medina, Abel                                  Michael Faires
      Mee Forbes                                    Michael Garcia
      Megan (Barretto)                              Michael Genna
      Megan Boone                                   Michael Graham
      MEgan Brown                                   Michael Hill
      Megan Heric                                   Michael Hoaglund



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      Michael Hohenthaner                            Michelle Powers
      Michael Karol                                  Michelle Rae Wilson
      Michael Krzanich                               Michelle Rose Nelson
      Michael Lakin Knaus                            Michelle Springsteen
      Michael Lamberts                               Michelle Wine
      Michael Larmore                                Mid-Century Insurance Company
      Michael Lozano                                 Miguel Gallardo
      Michael Lunsford                               Miguel Haro
      Michael Marroquin,                             Miguel Jimenez
      Michael McCann                                 Mike Clement
      Michael McDonald                               Mike Danilov
      Michael Medeiros                               Mike Kelly
      Michael Miller                                 Mike Williams
      Michael Moody                                  Mildred Jane Alexander
      Michael Moore                                  Miles Berdache Lynk
      Michael Moretta                                Miles Corbin
      Michael Olah                                   Miles Eckart III
      Michael Osbourn                                Milet, Carol Jean
      Michael Pillsbury                              Milet, Carol Jean As Trustee Of The
      Michael Pulliam                                Carolyn J. Milet Revocable Trust
      Michael Ramey                                  Miley Hutchinson
      Michael Ramey & Associates Inc.                Miley, Erin Gayle
      Michael Renwick                                Miley, Norman Lafayette, Jr.
      Michael Ryan                                   Miller, Deborah Laurie
      Michael Schulte                                (Individually, And As Agents Of
      Michael Silpan                                 Flicker Oaks LLC and Flicker Oaks
      Michael Slightom                               LLC, A California Limited Liability
      Michael Southwick                              Company)
      Michael Stipe                                  Miller, Gary Lee
      Michael Thiede                                 Miller, Joan Marie
      Michael Tipton                                 Miller, Mariah Sierra Theodora
      Michael Tracy                                  Miller, Marian Janeel
      Michael Wildman                                Miller, Michael
      Michael Wood                                   Miller, Patrick
      Michele Aguilar                                Millet, Carolyn J. (as trustee of the
      Michele Aguilar v. Pacific Gas and             Carolyn J. Millet Revocable Trust)
      Electric Company, et al.,                      Mills, Tonja
      19CV00332                                      Milton Graham
      Michele Gremillion                             Minehart, Colton Matthew Joses (A
      Michele Petit                                  Minor, By And Through His
      Michelle Becerril                              Guardian Ad Litem Leanne Kaye
      Michelle Cousino                               Joses-Minehart)
      Michelle Digiordano                            Minehart, Courtney Matthew
      Michelle Dupree                                Minehart, Keifer Cole Joses
      Michelle Holmes                                Minor Jordan Allen Tucker through
      Michelle Mcnamar                               GAL Jacqueline Leann Craig Tucker



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      Minor Preslie Leann Tucker through           Murray Creek Ranch Homeowners
      GAL Jacqueline Leann Craig Tucker            Association, Inc.
      Miranda Gaebel                               Muschalek, Franklin H., Jr.
      Miriah Williams                              Muschalek, Franklin H., Jr. (trustee)
      Miroslav Vujic                               Mychel Jeffrey
      Misty Dalla-Thomas                           Myles Harland
      Misty Wadzeck                                Naify, Jennifer Elizabeth
      Mitchell Manley                              Najat Medway
      Mitti Miller                                 Nanc Sawyer
      Mohammed, Amir                               Nancy Castillo
      Mojave Solar LLC                             Nancy Ellis
      Mokelumne Hill Sanitary District             Nancy Hansen
      Moldovan, Richard                            Nancy Hubbard
      Molly Morbeto                                Nancy Owens
      Monic Ilharreguy                             Nancy Seals
      Monica Ballejos                              Nancy Silvera
      Monica Brinkman                              Naomi Ballejos
      Monique Gurlue-Gallegos                      Napa County’
      Monique Jaasma                               Natale Lima
      Monteith, Raymond                            Natalia Padilla
      Monteith, Roberta                            Natalie Chupil
      Monterey Insurance Company                   Natalie Gaytan
      Moore, John Cody                             Natalie Wyatt
      Morgan, Lynda Kathleen (As                   Nate Garrison
      Administrator And Successor In               Nathan Bravo
      Interest Of The Estate Of Gloria             Nathan Deal
      Louallen Morgan) (Ashton)                    Nathan Nine
      Morgan, Lynda Kathleen (Joses)               Nathan Towers
      Moria Favors                                 Nathan, Randall; Calaveras Creek
      Morning Star Group Enterprises,              LLC; Rosaire Properties, Inc.; Tap
      LLC (As Doing Business As Hotel              Wine Systems, Inc. (Norfolk);
      Leger)                                       Weinstein, Sidney (Individually,
      Morton, Felicity (Armstrong)                 And As A Representative Of
      Mountain Ranch Community Club, a             Pauline's Pizza) (Joses)
      California non-profit corporation            Nathaniel Risley
      Mullen, Scott                                National Casualty Company
      Mullen, Stephanie                            National Fire Insurance of Hartford
      Mundale, Pamela S. (As Trustees of           National General Insurance
      The Peter F. Pamela S. Mundale               Company
      Living Trust 2016)                           National Surety Corporation
      Mundale, Peter F. (As Trustees of            National Union Fire Insurance
      The Peter F. Pamela S. Mundale               Company of Pittsburgh, PA
      Living Trust 2016)                           Nationwide Affinity Insurance
      Murello, Christopher                         Company
      Murello, Evelyn                              Nationwide Agribusiness Insurance
      Murissa Rogers                               Company



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      Nationwide Agribusiness Insurance-             Nichole Shelton
      Naic                                           Nichols, Travis
      Nationwide General Insurance                   Nick Battaglia
      Company                                        Nick Miniello (Plaintiff)
      Nationwide Indemnity Company                   Nicolas Robinson
      Nationwide Insurance Comp Any Of               Nicole Aguilera
      America                                        Nicole Donato
      Nationwide Insurance Company of                Nicole Greener
      America                                        Nicole Quesada
      Nationwide Joint Underwriting                  Nicole Ritza
      Nationwide Lloyds Insurance                    Niebur, Chelsea M. (Individually,
      Company                                        And As Trustee Of The Chris Niebur
      Nationwide Mutual Fire Insurance               Trust Dated 2011)
      Company                                        Nielsen, Fletcher
      Nationwide Mutual Insurance                    Nihal Hordagoda
      Company                                        Nikita Bosnell
      Nationwide Property & Casualty                 Nikki Jo Smith
      Insurance Comp Any                             Nikki Mae Roberts
      Nautilus Insurance Company                     Noah Edwards
      Neatia Ducommun                                Noble, William
      Nedra Dudkowski                                Noel Perez
      Nedra Vandergrift                              Nonprofits Insurance Alliance Of
      Needels, Nicole                                California
      Nelson, Tonia Michele                          Norcal Wireless, Inc.
      Nelson, Tonia Michele (As Trustee              Norma Medina
      Of The Tonia M. Nelson Revocable               Norma V. Kast
      Trust)                                         Norman, Bailey, minor, by and
      Nessler Jr., Ronald Jacob (possible            through their guardian ad litema
      dup, or possible Jr./Sr.)                      Marissa Earl; Earl, Brandon Leslie
      Netta Berkenstock                              Norman, Clay Daniel
      Neva Rodrigues                                 Norman, Grant
      Nevada Capital Insurance Company               Norman, Hudson Skylar, minors by
      New Cingular Wireless PCS, LLC                 and through (Minors, By And
      New Hampshire Insurance Company                Through Their Guardian Ad Litem,
      New York Marine & General                      Amanda Michelle Calderon)
      Insurance company                              Norman, Kinsley, minor, by and
      NextEra Energy, Inc.                           through their guardian ad litema
      Nicholas Abeyta                                Marissa Earl; Earl, Brandon Leslie
      Nicholas Grimm                                 North Light Specialty Insurance
      Nicholas Grimm, et al. v. Pacific Gas          Company
      and Electric Company, et al., Case             Northland Insurance
      No. CGC-18-563949;                             Norwood, Adam O'neal
      Nicholas Lakin Knaus                           Norwood, Amanda Mary
      Nicholas Sklenar-Brown                         Norwood, David Betcher
      Nichole Barchus                                Norwood, Grace Lillian
      Nichole Jolly                                  Norwood, Mary Crowley



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      Nosanow, Todd Israel                          Pamela Watson
      Novae 2007 Syndicate                          Paradise Gas & Food Inc.
      Nowhere Ranch Co                              Paradise Lens Lab LLC
      Nunn, Edwin Lawrence                          Paradise Medical Group Inc.
      Nunn, Sheila Jane (Individually And           Paradise Medical Group PC
      As Trustees Of The Edwin Lawrence             Paradise Moose Lodge
      Nunn And Shelia Jane Nunn                     Pares, Rylan Michael (Minors, By
      Revocable Trust)                              And Through Their Guardian Ad
      Ohio Security Insurance Company               Litem, Kaitlyn Rochelle Ramirez)
      Oliver Conoly                                 Pargett, Ronald
      Olivia Bujor                                  Parker, Silas Daniel
      Olivia Dawn Chauvin                           Parker, Tracey
      Omar Elkhechen                                Patricia Bradley
      O'Neal, Brian Keith                           Patricia Brewer
      O'Neal, Janet Lynn                            Patricia Bright
      Oney Carrell                                  Patricia Davy
      Ong, Rebecca Cherie                           Patricia Decker
      Ora Elizabeth Weaver                          Patricia Garrison
      Oregon Mutual Insurance Company               Patricia Gee
      Orr, Cathie Childress                         Patricia J. Clark-Aris
      Orr, Greta                                    Patricia K. Sollars
      Orville Stephen Gray                          Patricia Kelley
      Oster, Katherine                              Patricia Q. Wickes
      Oviatt, Marsha                                Patricia Robinson
      Oviatt, Nevin W.                              Patricia Rold
      Pacific Bell Telephone Company                Patricia Smith
      Pacific Property and Casualty                 Patricia Wenner
      Company                                       Patrick Garrett
      Pacific Specialty Insurance                   Patrick Konzen
      Company                                       Patrick McCann
      Paden, Marjorie                               Patrick Mirabelli
      Paden, Michael                                Patrick Moody
      Page, Aaron Michael Carnahan (A               Patsy Ueda
      Minor, By And Through His                     Patty Humphrey
      Guardian Ad Litem Michael Steven              Patty Littlejohn
      Page)                                         Paul Arnold
      Page, Michael Steven                          Paul Bowen
      Pagtakhan, Fatima Luceia Bonotan              Paul Brackett
      Paige Jannett                                 Paul Farsai
      Pam Thronton                                  Paul Gloeden
      Pamela Bailey                                 Paul Kemblowski
      Pamela Cox                                    Paul Opper
      Pamela Garrison                               Paul Stavish
      Pamela K. Muschalek                           Paula Anne Lucas
      Pamela K. Muschalek (trustee)                 Paula Tyler
      Pamela Steed                                  Paulette Goupil



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      Pauline Hohenthaner                             Priscilla A. White
      Pauline Pearson                                 Privilege Underwriters Reciprocal
      Paulsen, Linda Kim                              Exchange
      Paulson, Audrey                                 Progressive Casualty Insurance
      Paulson, Bruce                                  Company
      Peddy, Bruce V.                                 Progressive Direct Insurance
      Peek, Christopher, individually and             Company
      as trustees of the Presley Peek Trust           Progressive Express Insurance
      Peek, Estate of Presley                         Company
      Peerless Indemnity Insurance                    Progressive Select Insurance
      Company                                         Company
      Peerless Insurance Company                      Progressive West Insurance
      Peggy Ann Hall                                  Company
      Peggy Evanson                                   Property & Casualty Ins. Company
      Peggy Ricketts                                  of Hartford
      Pena, Martha                                    Property and Casualty Insurance
      Penny Darby                                     Company of Hartford
      Permanent General Assurance                     Public Employees Retirement
      Corporation                                     Association of New Mexico
      Perry, Grant                                    QBE European Operations
      Peter Gorniak                                   QBE Insurance Corporation
      Petersen, Joseph                                QBE Specialty Insurance Company
      Petersen, Nancy                                 Queen, Rosemarie
      Philadelphia Indemnity Insurance                Quiana Taylor
      Company                                         Quiroz, Cecilia
      Phillip Torres                                  Rachel Branch
      Philpotts, Debra                                Rachel Robinson
      Phulps, Alan Covington                          Rader, Lorita R.
      Pierce, Isis                                    Raeann Baer
      Pieri, Jesse                                    Raeanna Butts-King
      Pigeon, Monica S.                               Raini Maddan
      Pisanelli, Elizabeth                            Ramirez, Benjamin Shane
      Piyawan Thompson                                Ramirez, Draven Hunter
      Plunkett, Tim Joe                               Ramirez, Kaitlyn Rochelle
      Polk, Rick L.                                   Ramona Leavitt
      Polk, Terri L.                                  Ramona Maxwell
      Ponderosa Pest & Weed Control                   Randal Ahlswede
      Porter, Alfiea                                  Randall Parkerson
      Porto, Leon Michael                             Randy Hall
      Powers, Robert Wayne, II                        Ratha Wilson
      Prabhjot Singh, individually and dba            Ray Burton
      Stop & Shop                                     Ray LeLoup;
      Praetorian Insurance Company                    Ray McCoshum
      Pratt, Andrew Macfarlane (Ashton)               Ray, Joe Robert (As Trustees Of The
      Pratt, Charles Fletcher                         Life Estate Of Octavia Huntly)
      Price, Chablee Nicole



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      Ray, Joe Robert; Ray, Octavia; Ray,             Rezentes, Lawrence Thomas
      Stanley                                         Rhea Douville
      Ray, Laura J. (Amerman)                         Rhodes, James Tyler
      Ray, Octavia                                    Rhonda Roberts
      Ray, Octavia Renee (As Trustees Of              Rich Gulch Ranch Inc.
      The Life Estate Of Octavia Huntly)              Rich Soudan
      Ray, Stanley                                    Richard Arthur Lucich
      Raymond Beeman                                  Richard Berdache Lynk
      Raymond Imbro                                   Richard Brinkman
      Raymond Moreno Rios                             Richard Byer
      Raymond Semanisin                               Richard Costa
      Raymundo, Brendan                               Richard Eckman
      Rayne, Ellory (minor claimant)                  Richard Foster
      Rayne, Jan                                      Richard Heffern
      Raz Shaffel                                     Richard Homem
      RC Copiers                                      Richard Kolodziejczk
      Re, Armando Ruben                               Richard Kyle
      Re, Michael Armand                              Richard L. Gowins
      Rebeca Cobb                                     Richard Seaton
      Rebecca Anne Parker                             Richard Skala
      Rebecca Bausch                                  Richard Stark
      Rebecca Bausch, et al. v. Pacific Gas           Richard Talley
      and Electric Company, et al.,                   Richard Tally
      18CV03839;                                      Richard Thorp, M.D.
      Rebecca Dodson                                  Richard Turner
      Rebecca Guereque                                Richard V. Maule
      Rebecca Harvey-Rutz                             Richard Whitaker
      Rebecca Kennon                                  Richmond, Jack D. (Estate of)
      Reeves, Anita(Individually And As               (Barretto)
      Trustees Of The Loren And Anita                 Richmond, Pamela, as Owner and
      Reeves Living Trust)                            Devisee of Jack Richmond,
      Reeves, Loren                                   Deceased
      Regent Insurance Company                        Richmond, Sharon (Ancar)
      Regie Elizabeth Greywolf                        Ricky Caspray
      Regina Pickett                                  Ricky Rodriguez
      Regis Graham                                    Rita Bell
      Renee Hall                                      Rita Morarji
      Renee Moore                                     Rita Serra
      Rennels, Sue (Corey Danko filed                 Robert Beall
      adoption complaint)                             Robert Becker
      Rennels, Sue Denise                             Robert Bell
      Reno Besseghini                                 Robert Bieghler
      Residence Mutual Insurance                      Robert Brandenburg
      Company                                         Robert Brereton
      Reynosa, David                                  Robert Brown
      Reynosa, Eve                                    Robert Broyles



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      Robert Bucher                                   Robertson, Lawrence William
      Robert Bucher, et al. v. Pacific Gas            Robertson, Nadine Selma
      and Electric Company, et al., Case              Robin Gurule
      No. CGC-18-564639;                              Robin Moore
      Robert C. Bruce                                 Robin Muto
      Robert Carter                                   Robin Reek
      Robert Castillo Harding                         Robinson, Benjamin
      Robert Charles Hooton                           Rock, Richard Lawrence (As
      Robert Choate                                   Representatives Of The Murray
      Robert Collier                                  Creek Homeowners Association)
      Robert Cruz,                                    Rod Franchi
      Robert Davy                                     Rodney Rold
      Robert Dayne Adams                              Rofkahr, Jaime E.
      Robert E. (Amerman)                             Rofkahr, Kenneth R.
      Robert Eldridge                                 Roger Martinez
      Robert F. Kast                                  Roger Otten
      Robert Fickert                                  Roland R. Miller
      Robert Forbes                                   Romano, Michael Thomas Jr. as
      Robert Himmist                                  trustee of the Michael T. Romano Jr.,
      Robert Horvatich                                dated August 5, 2014
      Robert Kirby                                    Ron Harris
      Robert Lowry                                    Ron Moras
      Robert Mederos                                  Ron Vaillancourt
      Robert Miller                                   Ronald Batin, M.D.
      Robert Modell                                   Ronald Bottini
      Robert Nichols                                  Ronald Cunningham
      Robert O'Hearn                                  Ronald Hogan
      Robert Phillips                                 Ronald Lassonde
      Robert Postolka                                 Ronald Matz
      Robert Richardson                               Ronald Parker
      Robert Rippner                                  Ronald Perry
      Robert Sheridan                                 Ronald S. Batin, M.D., Inc.
      Robert Simmons                                  Ronald Shea
      Robert Skelton                                  Rory Benedict
      Robert Sweet                                    Rory Hall
      Robert Taylor                                   Rosaire Properties, Inc.
      Robert Thompson                                 Rosalie Hunter
      Robert Wagoner                                  Rose Jacob
      Robert Walsh                                    Rose Mary Jeffers
      Robert Williams                                 Rose Telucci-Skotvold
      Roberta Mcneill                                 Rose, Julie
      Roberto Sanchez Quintero                        Rose, Ronald
      Roberts, Elizabeth Anne                         Roseanna Ramirez
      Robertson, Cristy Noel                          Rosemary J. Redmond
      Robertson, Heidi Yavone                         Ross Smith
      Robertson, James William                        Roxane Criger



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      Roxanne Doty                                 Sadegi, Barry
      Roxanne E. Jennings Family Trust             Sadegi, Barry (Barretto)
      Dated March 22, 2018                         Sadegi, James
      Roy West                                     Sadegi, Jeri
      Rozita Karimi                                Sadek, Michael G. (Individually And
      RSUI Indemnity Company                       As Trustee Of The Michael G. Sadek
      Ruby Foster                                  Trust)
      Rufus Mazimillon Haywoo,                     Sadler, Deborah C.
      Rummerfield, Eric Eugene, Sr.                Saeed Movehed
      Rummerfield, Erika Francine                  Safeco Insurance Company of
      Rummerfield, Harold (Minors, By              America
      And Through Their Guardian Ad                Safeco Insurance Company Of
      Litem, Harold James Rummerfield)             Illinois
      Rummerfield, Harold James                    Sakura Charvet
      Rummerfield, Joyce Louise                    Sally Thorp
      Rummerfield, Raquel                          Saltzer, Samuel
      Rummerfield, Shanelle (Minors, By            Sam Ahad
      And Through Their Guardian Ad                Sam Colman
      Litem, Harold James Rummerfield)             Samantha Kleaver
      Russell Wright III                           Samantha Storgaard
      Russett, Kenneth                             Samuel Worsham
      Ruth Jensen                                  Sanchez-Thom, Sandra (Joses)
      Ruth Magin                                   Sandoval, Cierra Jean (related to
      Ruth Yates                                   Ray, Joe)
      Ruthrauff, Eric Marion                       Sandoval, Daniel David
      Ruthrauff, Kimberley Jean                    Sandoval, Mayra
      Ruthrauff, Makayla Nicole                    Sandra Bennett
      Ruthrauff, Taylor Rives (A Minor,            Sandra Brugger
      By And Through His Guardian Ad               Sandra Burdick
      Litem, Kimberley Jean Ruthrauff)             Sandra Crabtree
      Ryan Backstrom                               Sandra Dillard
      Ryan Barnett                                 Sandra Hoff
      Ryan McCann                                  Sandra Kidd
      Ryan Nickel                                  Sandra Lindberg
      Ryan Petit                                   Sanfilippo, Joel
      Ryan Pine                                    Santens, Brian
      Ryan Worthington                             Santens, James
      Saavedra, Luis                               Santens, Mark William
      Saavedra, Rosa                               Sara Collins
      Sabelberg, Lori                              Sara Hill
      Sabelberg, Steven                            Sara Moore
      Sabin, Loana                                 Sara Robinson
      Sabin, Raymond                               Sarah Brockman
      Sabrina Rose Pfenning                        Sarah Collins
      Sachs, Chelsea                               Sarah Evans
      Sachs, Jonah                                 Sarah Garcia



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      Sarah Lakin Knaus                            Sequoia Insurance Company
      Sarah Mcfarland                              Serena Hiticas
      Sarah Quinton                                Seronello, Michael co owner w
      Satwant Kaur Malitotra                       separately named Borgedalen,
      Scarlett Marie Frankum                       Darren Shelley, Norma
      Schaller, Martin John                        Seth Mallory
      Schmidt, Kristine L.                         Shada Cable
      Schmidt, Kyle Hart                           Shamberger, Ryan D. (related to
      Schubert, Ronald Gerhart (As                 Martin, Robert)
      Representatives Of The Murray                Shane Brecheisen
      Creek Homeowners Association)                Shane Knowles
      Schugart, John Raymond                       Shane Lavigne
      Schulz, Robert                               Shannon Crosley
      Schunzel, John Paul                          Shannon Hill
      Schunzel, Tami Lynn                          Shannon Kathleen Cowen
      Scobee, Craig                                Shannon Lairol
      Scott Gray                                   Shannon Mccann
      Scott Muhlbaier                              Sharalyn Dee Armstrong
      Scott Norman                                 Sharen Mcgowan
      Scott Petersen                               Shari Bernacett
      Scott Rippee                                 Sharlene Potter
      Scott Shaw, individually and dba             Sharon Albaugh Pargett
      Scott Shaw Painting                          Sharon Barrett
      Scott Will                                   Sharon Britt
      Scott, Robert A.                             Sharon Brown
      Scottsdale Indemnity Company                 Sharon L. Jones
      Scottsdale Insurance Company                 Sharon Ward
      Scottsdale Surplus Lines Insurance           Sharon Williams
      Company                                      Sharron Holinsworth
      Sean Ballard                                 Sharron Turner
      Sean Beckett                                 Shauna Goody
      Sean Bowers                                  Shavon Schmidt
      Sean Hileman                                 Shawn Martin
      Sean McFarland                               Shawn Page
      Sean Reek                                    Shawn Rippner
      Sean Turner                                  Shawna Hudson-Strock
      Seay, Robert                                 Shawna Lopez
      Security National Insurance                  Shawnee Hutton
      Company                                      Shayna Spielman
      Sedona Haymond                               Sheila Leblanc
      Seikoh Newton                                Sheila Mccarthy
      Sentinel Insurance Company                   Shelby Boston
      Sentinel Insurance Company, LTD.             Shelby Thomas
      Sentry Insurance A Mutual Company            Shelley Woods-Peace
      Sentry Select Insurance Company              Shelly White
      Universal North America                      Sheri Darden



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      Sherri Gardner                                 Smith, Glenn Maurice
      Sherri Pena                                    Smith, Jay R.
      Sherri Quammen                                 Smith, Kimberly Ann
      Sherrie M. Crawford                            Smith, Paula Ray
      Sherry Brown                                   Smith, Scott Ryan
      Sherry Edington                                Soares, Arthur E., Jr.
      Sherry Pritchett                               Soares, Dianne
      Sheryl Almburg                                 Solar, Joseph
      Shin Lee Cobble As Attorney-In-                Solinsky, Peter; individually and as
      Fact For Ok Ja Baek                            trustees of the Solinsky Family Trust
      Shinkle, Robert L. (Ancar)                     Solinsky, Virginia; individually and
      Shinkle, Shelley G. (Amerman)                  as trustees of the Solinsky Family
      Shirlena Dobrich                               Trust
      Shirley Baumann                                Solski, Judy M. (Individually And
      Shirley Bothwell                               As Trustees Of The Ronald W.
      Shirley Tubolin                                Solski And Judy M. Solski 1999
      Shona Smith                                    Revocable Trust)
      Shortal, Joseph Dean                           Solski, Ronald W.
      Shusuke Bender                                 Sonoma County Agricultural
      Sieck, David Gwynne                            Preservation and Open Space District
      Sieretas, Cheyanne                             Sonoma County Community
      Sierra Cascade Properties LLC                  Development Commission
      Sierra Rowney                                  Sonoma County Water Agency
      Sierra Williams                                Sonoma Valley County Sanitation
      Silvas, Leonard James (Joses)                  District
      Singer, Daniel W. (Individually, And           Sophia Lopez
      As Trustee of The Daniel W. Singer             Soracco, Genelle M. (Joses)
      2004 Separate Property Trust                   Soracco, Sam L.
      Singh, Baljit (A Minor, By And                 Soracco, Vinnie Samuel, (A Minor,
      Through His Guardian Ad Litem,                 By And Through His Guardian Ad
      Surjit Singh)                                  Litem, Gennelle M. Soracco)
      Singh, Charanjit                               (Ashton)
      Singh, Surjit                                  Southern Exposure Wellness (CA
      Singleton Law Firm fire victim                 Corp)
      claimants                                      Sparks, Kevin
      Skyler Ann Dawn Bell                           Sparks, Marni
      Slayter, Cordelia Rose                         Sparks, Spencer
      Slayter, David Lee                             Sprayberry, Sangchan
      Small, Richard H. (Individually and            Squires, Courtney
      As Trustee Of The Cordova Small                Squires, Karson T. (A Minor, By
      Family Trust)                                  And Through His Guardian Ad
      Smiley, Tabbetha Jean                          Litem Courtney Squires)
      Smith, Barbara (Bobbie)                        St Paul Fire And Marine
      Smith, Debra                                   Staaterman, Robert Alan;
      Smith, Desirae Alyse                           Staaterman, Robyn Susan
      Smith, Gerald (Larry)                          Stacy B. Phillips



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      Stacy DeFrietas                                Steven Cox
      Stafford, William Samuel (Norfolk)             Steven Dobrich
      Standard Guaranty Insurance                    Steven Karlin
      Company                                        Steven Lee
      Stanley Curtis                                 Steven Mcfarland
      Stanley Miller                                 Steven Moore
      Starr Surplus Lines Insurance                  Steven Wiener
      Company                                        Stevens, Eva
      State Farm General Insurance                   Stevens, Magdalena Nichole
      Company                                        Stevens, Richard Paul (Individually,
      State Farm Mutual Automible                    And As Trustees Of The Richard
      Insurance Company                              Paul Stevens Living Trust Utd 7-28-
      Steadfast Insurance Company                    08)
      Steck, Paul                                    Stevens, Richard Paul, Jr.
      Steck, Paul R.                                 (Individually, And As Trustees Of
      Steck, Trinia R.(As Trustee Of The             The Richard Paul Stevens Living
      Steck Trust)                                   Trust Utd 7-28-08)
      Stephani Thompson                              Stewart, Jolene
      Stephanie A. McCoy                             Stewart, Karen Ann
      Stephanie Cockrell                             Steyer, Gregory Carl
      Stephanie Dillard dba CC Custom                Stillwater Insurance Company
      Auto Specialist                                Stillwater Property & Casualty
      Stephanie Hargrave                             Insurance Company
      Stephanie Johnson                              Stollenwerk, Brett Paul
      Stephanie Mccary                               Stollenwerk, Franchesca Elizabeth
      Stephanie Modena                               Stone, Daren Mitchell
      Stephanie Uuzza                                Stone, Kathie
      Stephanie Van Eck                              Stoney King
      Stephanie Waggener                             Stoughton, Carlos (Individually, And
      Stephanie Wilt                                 As Trustees Of The John and Maria
      Stephen Clifford                               Stoughton Family Trust)
      Stephen Gentile                                Stoughton, John (Individually, And
      Stephen Marada                                 As Trustees Of The John and Maria
      Stephen McArthur                               Stoughton Family Trust)
      Stephen Vergara                                Stoughton, Maria Cleofas
      Steve Cherma                                   (Individually, And As Trustees Of
      Steve Deuble                                   The John and Maria Stoughton
      Steve Lambach                                  Family Trust)
      Steve Matthews                                 Stover, Lyndyn (Minors, By And
      Steve Thomson                                  Through Their Guardian Ad Litem,
      Steve Waterman                                 Miranda Clemons)
      Steve Wilson                                   Strickland, Andrew (Minors, By And
      Steven A, minors, by and through               Through Their Guardian Ad Litem
      their Guardian ad litem(guardian not           Erika Francine Rummerfield)
      listed on complaint)                           Stuart Bannister
      Steven Anglin                                  Stuart Glass



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      Stuart Langford                                Suzanne Winchester
      Stump, Donald Wayne (Individually,             Suzie Dukes
      And As Trustees of The Stump 1993              Sweet Corn Properties LLC
      Revocable Trust and Representatives            Sweet Corn Properties, LLC (Ancar)
      of Hathaway Holdings, LLC as                   Swift-Franklin, Kathy Sue
      Doing Business As Joma's Artisan               Sybil E. Cody
      Ice Cream)                                     Sydney Zimmerman
      Stump, Joann (Individually, And As             Sylvia Arnott
      Trustees of The Stump 1993                     Sylvia Clevenger
      Revocable Trust and Representatives            Sylvia Kay
      of Hathaway Holdings, LLC as                   T & L Automotive Enterprises, LLC
      Doing Business As Joma's Artisan               Takara, Darrell (Ashton)
      Ice Cream)                                     Takara, Tari (Joses)
      Sue Ann Iott                                   Talley, Michael
      Suffle, Jennie                                 Tallia, Jack
      Sui King Fong                                  Tallia, Jack (As Doing Business as
      Sullivan Ellis                                 Sunset Automotive)
      Sullivan, Serene Star                          Tallia, Jason
      Summer Harley                                  Tamara Buckles
      Sunshine Hang                                  Tamara Ludington
      Susan Charvel                                  Tamara Lynch
      Susan Coulombe                                 Tamara Roberts
      Susan Fife                                     Tamara Smith
      Susan Hauptman                                 Tambra Van Dyke
      Susan Huge                                     Tamera Harrah
      Susan Jane Delacruz                            Tami Coleman
      Susan Lang                                     Tamika Jones
      Susan Mallory                                  Tammy Foutz
      Susan McDaniel                                 Tammy Parker
      Susan Miller                                   Tammy Spirlock
      Susan Moeckel                                  Tamra Gray
      Susan Moeckel                                  Tamra Medley
      Susan Moeckel, et al. v. Pacific Gas           Tamra South
      and Electric Company, et al., Case             Tana Russell
      No. CGC-18-564643                              Tanessa Egan
      Susan Shirley                                  Tanforan Industrial Park, LLC,
      Susan Smith                                    Tanya Jenkins
      Susan Spencer                                  Tanya Swearinger- Duarte
      Susan Thomas;                                  Tap Wine Systems, Inc. (Norfolk)
      Susan Wolheim                                  Tarbat, Christopher James
      Sutton, Krista Corinne                         Taunya Shilling
      Suzanne Cramton                                Taylor, Abigail Neveah (Minors, By
      Suzanne Frank                                  And Through Their Guardian Ad
      Suzanne Hauptman                               Litem Celene Ann Taylor)
      Suzanne M. Carrington                          Taylor, Celene Ann
      Suzanne Reeves



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      Taylor, Charlotte Adele (A Minor,             Thom, Alyssa (Ashton)
      By And Through Her Guardian Ad                Thom, Carol
      Litem Erica Marie Bettencourt)                Thom, Rebecca
      Teal Mangrum                                  Thom, Wallace V.
      Technology Insurance Company,                 Thomas A. McCoy
      Inc.                                          Thomas Atkinson
      Ted Hingst                                    Thomas Bernard Oliver
      Teela Baker                                   Thomas Castro
      Teresa Cronin                                 Thomas Cremer
      Teresa Medina                                 Thomas Frank
      Terese Bellamy                                Thomas Gardner
      Teri Lee Hoenig                               Thomas L. Decker
      Terrence Korton                               Thomas Morris
      Terri Brooks                                  Thomas Nalley
      Terri King                                    Thomas Solors
      Terrie Bannister                              Thomas Taylor
      Terrie Wolfe                                  Thomas Vandergrift
      Terry Moore                                   Thomas, Becky Lynn
      Terry Olwell                                  Thomas, Julie (through GAL Marc
      Terry Rhine                                   Thomas) (Coleman)
      Testa Environmental Corporation, a            Thomas, Julie Ann (A Minor, By
      California corporation (Bayer)                And Through Her Guardian Ad
      Testa, Lydia                                  Litem, Marc Michael Thomas)
      Testa, Stephen (Armstrong)                    Thomas, Marc M.
      The Annie Sierra Curtis Trust                 Thomas, Marc Michael
      The Brown Revocable Trust, With               Thomas, Shirley
      Donald M. Brown                               Thomas, Susan K. (Rush)
      The Brown Revocable Trust, With               Thomas, Susan Kirby
      Jill C. Brown, Trustee                        Thomas, Thomas Robert
      The Dentists Insurance Company                Thompson, James A. & Joanne H.
      The North River Insurance                     Thompson, Joanne H.
      The Northfield Insurance Co.                  Thorne, Martin Brenia
      The Ohio Casualty Insurance                   Thornton, Cherill (Norfolk)
      Company                                       Thornton, Ross Labar (Joses)
      The Outhouse Collection, LLC                  Those Certain Underwriters
      The Standard Fire Insurance                   Subscribing To Policy No.
      Company                                       16K71094D As Subrogee Of
      The Travelers Home And Marine                 Charlotte Mize Lee
      Insurance Company                             Those Certain Underwriters
      The Travelers Indemnity Company               Subscribing To Policy No. Amr-
      The Travelers Indemnity Company               5293702 As Subrogee Of Thayer
      Of America                                    Lodging Group
      Theis, Keeli                                  Those Certain Underwriters
      Theresa Kereazis-Page                         Subscribing To Policy No.
      Theresa Rivera                                B1230Ap01428A17-20197 As
      Thiago Orozco



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      Subrogee Of Stephen D.                      Hvh11374 As Subrogee Of James
      Peat/Janesco Ent.                           Caldwell And Jan E. Mcfarland
      Those Certain Underwriters                  Those Certain Underwriters
      Subscribing To Policy No.                   Subscribing To Policy No.
      B1230Ap01428A17-31424/916775                Hvh11413 As Subrogee Of Henry
      As Subrogee Of Denise S. Hamm               Kane
      Those Certain Underwriters                  Those Certain Underwriters
      Subscribing To Policy No.                   Subscribing To Policy No. Pc900-
      Buhv02036 As Subrogee Of Paul               155395 As Subrogee Of Gary And
      Machle, Kathleen Jordan, James              Nancy Trippeer
      Cummings, and Julia Jordan                  Those Certain Underwriters
      Those Certain Underwriters                  Subscribing To Policy No. Pc900-
      Subscribing To Policy No.                   155620 As Subrogee Of Robert And
      Cbb654517 As Subrogee Of Joan               Karla Gitlin, and Julia MacNeil
      Fausett And Edith Perez                     Those Certain Underwriters
      Those Certain Underwriters                  Subscribing To Policy No.
      Subscribing To Policy No.                   Pha034S16Aa As Subrogee Of
      Csn0000995 As Subrogee Of                   Marissa L. Bartalotti
      Hudson Vineyards/Hudson Wines               Those Certain Underwriters
      LLC                                         Subscribing To Policy No.
      Those Certain Underwriters                  Pha034S17Aa As Subrogee Of Mark
      Subscribing To Policy No.                   Smith
      Hvh11164 As Subrogee Of John                Those Certain Underwriters
      And Kimberly Zopfi                          Subscribing To Policy No.
      Those Certain Underwriters                  Pj1700047Ab As Subrogee Of
      Subscribing To Policy No.                   California Joint Powers Risk
      Hvh11180 As Subrogee Of Ali And             Management Authority (City Of
      Sharon Khadjeh                              Santa Rosa)
      Those Certain Underwriters                  Those Certain Underwriters
      Subscribing To Policy No.                   Subscribing To Policy No.
      Hvh11201 As Subrogee Of Eugenia             Pj1700047Ac As Subrogee Of
      G And Michael R Carter                      California Joint Powers Risk
      Those Certain Underwriters                  Management Authority (City Of
      Subscribing To Policy No.                   Vallejo)
      Hvh11206 As Subrogee Of James               Those Certain Underwriters
      And Linda Yust                              Subscribing To Policy No.
      Those Certain Underwriters                  Prpna1701248 As Subrogee Of
      Subscribing To Policy No.                   Starwood Capital Group Lp
      Hvh11294 As Subrogee Of                     Those Certain Underwriters
      Raymond And Emily Conway                    Subscribing To Policy No.
      Those Certain Underwriters                  Ptnam1701313/010 As Subrogee Of
      Subscribing To Policy No.                   Ashford Inc.
      Hvh11330 As Subrogee Of David               Those Certain Underwriters
      Traversi                                    Subscribing To Policy No.
      Those Certain Underwriters                  Rpsf23067 As Subrogee Of
      Subscribing To Policy No.                   Comeragh LLC



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      Those Certain Underwriters                  Tiger Natural Gas, Inc.,
      Subscribing To Policy No.                   Tim Harper
      Rpsf23127 As Subrogee Of Richard            Tim Shurtliff
      Sutherland                                  Timm, Gerald
      Those Certain Underwriters                  Timm, Shelly (Joses 1st Amended)
      Subscribing To Policy No.                   Timm, Travis (Underhill)
      Rpsf56389 As Subrogee Of Debora             Timothy Arnott
      Davis                                       Timothy C. Morrison
      Those Certain Underwriters                  Timothy Depuy
      Subscribing To Policy No.                   Timothy Wilkinson
      Rpsf56456 As Subrogee Of Nancy              Tina Smith
      Fae Sideris And Nancy Sideris               Tison Gray
      Living Trust                                Todd Boyd
      Those Certain Underwriters                  Todd Dailey
      Subscribing To Policy No.                   Todd Swagerty
      Rpsf56570 As Subrogee Of Ali And            Tokio Marine Kiln, London
      Sharon Khadjeh                              Tom Coffee
      Those Certain Underwriters                  Tom Okerlund
      Subscribing To Policy No.                   Tom Reinert
      Rpsf57020 As Subrogee Of Peter              Tommy D. Barrett
      And Janice Lucia                            Tommy Wehe
      Those Certain Underwriters                  Tone, Lottie
      Subscribing To Policy No.                   Tonja Genna
      Vb0464554Rs As Subrogee Of                  Tony Candelieri
      Martha Simon And Joe Marino                 Tony Dover
      Those Certain Underwriters                  Tony Magree
      Subscribing To Policy No.                   Tonya Calhoon
      Vb0465075R4 As Subrogee Of                  Tonya Hays
      Victor Thay 2009 Revocable Trust            Topa Insurance Company
      Those Certain Underwriters                  Torri Jones
      Subscribing To Policy No.                   Tosha Adams
      Vbx616918 As Subrogee Of Nils               Tower Select Insurance Company
      Welin                                       Tracy James
      Those Certain Underwriters                  Tracy Petit
      Subscribing To Policy                       Tracy Riffel
      No.Prpna1701498 As Subrogee Of              Tramel, James Ellison (Adams)
      Atrium Holding Company/Sonoma               Transportation Insurance Company
      Hilton                                      Travelers Casualty Insurance
      Those Certain Underwriters                  Company of America
      Subscribing To Policy SO174466801           Travelers Commercial Insurance
      Tiffany Elizabath Fassett                   Company
      Tiffany Garrison                            Travelers Indemnity Company of
      Tiffany Keyes                               Connecticut
      Tiffany Pagtulingan,                        Travelers Indemnity of CT
      Tiffany Slightom                            Travelers Insurance Company of
      Tiffany Sloan                               America



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      Travelers Property Casualty                  United Services Automobile
      Company of America                           Association
      Travelers Property Casualty                  Untied States Fire Insurance
      Insurance Company                            Company
      Travis Gee                                   Upstart Publishing Inc.
      Travis Grosse                                USAA Casualty Insurance Company
      Travis Martin, minor through GAL             USAA General Indemnity Company
      Shannon Baird-Martin                         and Garrison Property
      Travis Quinton                               Val.Erie Bishop
      Trent Schuckman                              Valarie Susnow
      Trevor Brolliar                              Valdez, Shaina Eveningstar
      Trevor Hughes                                Valerie Pring
      Trevor Mcwilliams                            Vallery, Van & Mercedes (Emilio
      Trevor Nixon                                 Emebrad)
      Tri-Flame Propane Inc.                       Valley Forge Insurance Company
      Trimble, Tyler Austin (Minors, By            Valyanda Goble
      And Through Their Guardian Ad                Van Au Duong
      Litem Dacia Renee Markland)                  Van Kimmell Hauer
      Trina Bowers                                 Van Over, Cheryl Ann
      Trinity Sky Cronin                           Vance Marquez
      Trisha Floyd                                 Vance, John Leroy (Vance not
      Triston Brewer                               included in demand)
      Troy Dodson                                  Vanessa Smith
      Troy Hobden                                  Vanessa Stark
      Truck Insurance Exchange                     Vanessa Stewart
      Trueman, Darren (Burriss)                    Vang, Mai
      Trumbull Insurance Company                   Vanover, Gilbert J.
      Tuck, Jane Lenore                            Vantage Wind Energy LLC
      Tuck, Jerry Neal                             Vasconcellos, Steven
      Tucker, Jacqueline Leanne Craig              Velez, Rande
      Tudor Insurance Company                      Velvet Knowles
      Turinni, Karen                               Vera Kay Pearson
      Twin City Fire Insurance Company             Vicki Davis
      Tyler Johnson                                Vicki Will
      Tyler West                                   Vickie Perez
      Tyler, Richard                               Vickie Redmond
      Tyson M. Bode                                Vickie VanScyoc
      U.S. Attorneys - Office San                  Victor Pugh
      Francisco                                    Victor Rodriguez
      Ubrun, Elizabeth Ann                         Victoria Borders
      Ubrun, Paul Henry                            Victoria Fowler
      Unigard Insurance Company                    Victoria I. Heishman
      United Financial Casualty Company            Victoria Insurance Company
      United Fire & Casualty Company               Victoria Laub
      United National Insurance Company            Victoria Rose
                                                   Victoria Vorpagel



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      Vidal Cisneros                                 Weinstein, Sidney (Individually)
      Vigilant Insurance Company                     Weldy, Dennis James
      Vikki Tuck                                     Wendy Cromwell
      Viloria, Cristina                              Wendy Le Master
      Vincent Lucich                                 Wendy Limbaugh
      Vincent Ramirez                                Wendy Lozano
      Violet Ahad                                    Wenger, Michael Doug
      Violet Rose                                    Wesco Insurance Company
      Virginia Bruns                                 Wesley Bentley
      Virginia Gibbons                               Wesley Wagoner
      Virginia McAlister-Vaillancourt                West American Insurance Company
      Vishal Mahindru                                Westchester Fire Insurance
      Vivian Warren                                  Company
      Vollmer's Home Repair                          Westchester Surplus Lines Insurance
      Voss, Rebecca Ann                              Company
      Voyager Indemnity Insurance                    Western Heritage Insurance
      Company                                        Company
      Vrismo, Casey                                  Western Mutual Insurance Company
      Wagner, Tamara Jan                             Western World Insurance Company
      Walker, Allyson (Amerman)                      Westfell, John
      Walker, James W. (Adams)                       Weston Kohler
      Wallace, Belinda J.                            Westport Insurance Corporation
      Wallace, Vicki                                 Whiskey Slide Investment Group,
      Walls, Cheryl L.                               LLC
      Walter Charles Hoekstra Dba                    White, Thomas
      Berryblest Farm Dba Berryblest                 Whitfield, George
      Organic Farm                                   Wick, Richard George (Individually
      Walter Gallentine                              And As Trustee Of The Richard
      Walter Heard                                   George Wick Revocable Trust)
      Walter Mentz                                   Wiebe, Mark Jason and Boyd
      Walters, Brian                                 Wiegel, Debra Lee
      Warren Kayser                                  Willcox, Peggy Lee
      Warren's Expert Spa Repair                     William (Bill) Leonard Craig
      Wawanesa General Insurance                     William A. Cody
      Wawanesa General Insurance                     William Blevins
      Company                                        William Butler
      Wayne Brown                                    William Crossley
      Wayne Charvel                                  William Dreyer
      Wayne Medley                                   William E. Stevens
      Wayne Reek                                     William Flores
      Wayne Smith                                    William Hopper
      Wayne Ward                                     William Hunt
      Webb, Charles Benjamin                         William James Wingo
      Weinstein, Sidney (As A                        William Kirk
      Representative Of Pauline's Pizza)             William Klump
      (Joses)                                        William Lakin Knaus



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      William Lee                                    Xiong, Macy Yang
      William Lewin                                  Xiong, Maila
      William M. Morrison                            Xiong, Mike
      William Martin                                 XL Insurance America, Inc.
      William Mcspadden                              Yan Chu
      William Michael Peoples                        Yancy Beratlis
      William Moore                                  Yang Zhang
      William Mowrey                                 Yang-Fei Zhang
      William Tronson                                Yasmin Hauenstein
      William Yarletz                                Yetter, Eula Jane (related to Joe
      Williams, Bonnie Sue                           Robert Ray)
      Williams, Dean Lee                             Yi Ya
      Williams, Patricia Ann                         Yong Sook Kim (Amerman)
      Williams, Richard Allen                        Young, David
      Williams, Timothy                              Young, Marilyn
      Willow Springs Solar 3, LLC                    Youngblood, Allen Scott
      Wilma "Sue" Scoggin                            Youngblood, Larry Blake
      Wilson, Jonathan                               Yuki Bender
      Wilson, Marianne                               Yvonne Capineri
      Wilson, Rosemary                               Zachary Boston
      Wilson, Wesley Scott                           Zachary Havey
      Wingard, Kimberly                              Zachary Rodgers
      Wingo, Rhonda                                  Zachary Sciacca
      Winkler, Charlene (Individually, and           Zahniser, Albert
      As Trustee of the Charlene Winkler             Zenaida Villarin
      Family Trust)                                  Zenith Insurance Company
      Winn, Don (Individually, and As                Zhong Huang
      Trustees of the Winn Family Trust              Ziegler, Sonya Rose
      Dated 6-2-99)                                  Zollo, Anthony
      Winn, Linda (Individually, and As              Zurich American Insurance
      Trustees of the Winn Family Trust              Company
      Dated 6-2-99)                                  Tommy Wehe;
      WLM Construction, Inc.                         Angelo Loo;
      Wnorowski, Jonathan W.                         Karen K. Gowins;
      Wolters, John Gilbert                          Agajanian, Inc.;
      Wong, Hing Chung Alerxander                    Susan Slocum;
      Wong, Sau Chun Ida                             Samuel Maxwell;
      Wrede, Kyle Vincent                            Karen Lockhart;
      Wrede, Makalya Jean                            Wagner Family Wines-Caymus
      Wrede, Vincent James (Minors, by               Vineyards
      and through Their Guardian Ad                  Gregory Wilson.
      Litem Makalya Jean Wrede)                      Burns & McDonnell Engineering
      (Makayla and Ethan Goble not on                Company, Inc.
      Demand)                                        HMT LLC
      Wuslich, Kristina                              American Modern Home Insurance
      Wuslich, Kristina Anne                         Company



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       Judge Randall Newsome was                        County of Sonoma
       appointed as mediator                            County of Stanislaus
       Sixth Street Partners – Subrogation              County of Tulare
       Claimant                                         County of Tuolumne
       Live Nation c/o Matt Prieshoff and               County of Yolo
       Contra Costa County
       KMPG LLP,                                        Other Professionals
       KMPG SA,                                         Cathy Yanni, as claims administrator
       KMPG AG,                                         Hon. John K. Trotter (Ret) as Trustee
       KMPG Abogados, and
       KPMG Law
       Rechtsanwaltsgesellschaft.                Fee Examiner and Professionals
                                                       Bruce A. Markell, the duly appointed
                                                       Fee Examiner
Ad Hoc Committee of Unsecured Tort                     Scott H. McNutt
Claimant Creditors – Professionals and
Members
      Baker & Hostetler LLP                             Tort Claimants Members – amended
      Development Specialists, Inc.                     Agajanian, Inc. c/o Gary Agajanian
      DLA Piper LLP (US)                                Angela Loo
      Lincoln Partners Advisors LLC                     GER Hospitality, LLC – removed
      Angeion Group, LLC                                Gregory Wilson
      Cathy Yanni, as claims administrator              Karen K. Gowins - removed
      Hon. John K. Trotter (Ret) as Trustee             Karen Lockhart
      Lynn A. Baker, Special Counsel                    Kirk Trostle - removed
      Trident DMG LLC                                   Richard Heffern – removed
                                                        Samuel Maxwell
Ad Hoc Committee of Holders of Trade                    Susan Slocum
Claims                                                  Wagner Family Wines-Caymus
       Gibson, Dunn & Crutcher LLP                      Vineyards c/o Michael T. Carlson
                                                        Tommy Wehe
Ad Hoc California Public Entites Commieett
(updated by ECF 4570)                            Non-Debtors Professionals
       Lamb & Kawakami LLP                             3D-Forensic
       County of Alameda                               Adam Kochanski
       County of Calaveras                             Analytic Focus LLC
       County of El Dorado                             Atmospheric Data Solutions LLC
       County of El Dorado                             B. Don Russell Consulting Engineer,
       County of Fresno                                LLC
       County of Madera                                Bartholomew Associates, Inc.
       County of Marin                                 Business Intelligence Solutions LLC
       County of Mariposa                              (dba BI Solutions, LLC)
       County of Monterey                              Capitol Advocacy, LLC
       County of San Benito                            Cardno, Inc.
       County of San Joaquin                           Clarence Dyer & Cohen LLP
       County of San Luis Obispo                       Complete Discovery Source Inc
       County of Santa Cruz


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      Economic Research Services, Inc.                Veritext Corp (dba Sarnoff Court
      (dba ERS Group)                                 Reporters or Western Regional
      Evergreen Arborists Consultants,                Headquarters)
      Inc.                                            Washington Forestry Consultants,
      Exponent, Inc.                                  Inc.
      Fire Cause Analysis                             Wilmer Hale
      FTI Consulting, Inc.                            Wilson Sonsini Goodrich & Rosati,
      Iron Mountain                                   P.C.
      J. Frank Associates, LLC (dba Joele             Akin, Gump, Strauss Hauer & Feld
      Frank, Wilkinson Brimmer Katcher)               LLP
      John Ashford (dba The Hawthorn                  Perella Weinberg
      Group)
      Kineticorp
      Latham & Watkins LLP                     Official Committee of Unsecured Creditors
      Lighthouse Public Affairs, LLC           Committee – Professionals and Members
      M J Bradley & Associates LLC                     Axiom Advisors
      MacNair & Associates                             BOKF, as indenture trustee under the
      McDermott, Will & Emery LLP                      unsecured notes indentures
      Milbak Tweed Hadley & McCloy                     Centerview Partners LLC's
      LLP (Milbank LLP)                                Deutsche Bank National Trust
      Nielsen, Merksamer, Parrinello,                  Company and
      Gross & Leoni, LLP                               Deutsche Bank Trust Company
      Parker Fire Services                             Americas
      Pasich LLP                                       Epiq Corporate Restructuring, LLC
      Paul, Weiss, Rifkind, Wharton &                  FTI Consulting
      Garrison LLP                                     G4S Secure Solutions (USA) Inc.
      Pavement Engineering Inc.                        and G4S Secure Integration LLC
      PricewaterhouseCoopers LLP                       International Brotherhood of
      Proskauer Rose LLP                               Electrical Workers, Local 1245
      Quanta Technology                                Milbank, Tweed, Hadley & McCloy
      Richard T. Nagaoka                               LLP (Milbank LLP)
      Ropes & Gray LLP                                 NextEra Energy
      Rothschild                                       Pension Benefit Guaranty
      Russo Miller & Associates (dba                   Corporation
      Miller Strategies LLC)                           Roebbelen Contracting
      S2C Pacific LLC                                  The Davey Tree Expert Company,
      SCN Public Relations (dba SCN                    Davey Tree Surgery Company, and
      Strategies)                                      DRG, Inc.
      Simpson Thacher & Bartlett                       Western Asset Management
      Steven Maviglio (dba Forza                       Company
      Communications LLC)
      Storefront Political Media               Retiree Claimants
      Stroock & Stroock & Lavan LLP                   Agerter, Linda
      TeamBuilders, Inc (dba Aerial                   Alexander, Beverly
      Services)                                       Anderson, Barry David
      The Stanton Park Group                          Angalakutai, Mallikarjun



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      Austin, Karen                                 Jackson, Russell M. (Russ)
      Baker, Chris                                  Janis, Megan Smith
      Bar-Lev, Joshua                               Jenkins-Stark, John
      Basgal, Ophelia                               Jeung, Garrett (Gary)
      Becker, James Richard                         Johnson, Manly Kirk
      Bedwell, Ed                                   Johnson, Mark S.
      Bhattacharya, Shankar (Shan)                  Jonas, Junona A.
      Boren, Thomas Garner                          Katz, Michael
      Bottorff, Thomas Edward                       Keenan, John S.
      Brennan, Jean Frances                         Kennady, Donald L.
      Burt, Helen                                   Keyser, John Charles
      Butler, Jeff                                  King, Thomas B.
      Callaway III, Lee                             Klimczak, Rickard L.
      Campbell, Walter Lee                          Kline, Steven L.
      Carter, Glen E.                               Knapp, Kevin
      Clare, David                                  LaRue, R Jack Jr.
      Clark, John                                   Lee, Evelyn Ching
      Clifton, George F. Jr.                        Lipscomb, Robert Cyrus
      Conway, John T.                               Lipson, Merek Evan
      Corippo, Peter                                Livingston, Randal S
      Crossley, Shawn                               Long, Thomas C.
      Cunningham, Russell H.                        Macias, Edward (Jim) James
      Dasso, Kevin John                             Martinez, Placido J.
      Draeger, Anita Loree                          Mayekawa, Douglas W.
      Earley, Anthony F. Jr.                        Meko, Michael D.
      Everett, Leslie Hart                          Moller, David W.
      Fitzpatrick, Tim                              Morrow, William Thomas
      Flynn, Roger James                            Oatley, David Herbert
      Fong, Katheryn M.                             Peters , Roger James
      Fujimoto, Warren H.                           Pope, James Henry
      Garcia, Ronald Craig                          Pruett, Greg S.
      Gibson, Daniel Eugene                         Randolph, James Kay
      Golden, Patrick G.                            Rayburn, Stephen
      Golub, Howard V.                              Regan, Frank
      Hapner, DeAnn (go by Dede)                    Risser, Roland Jonathan
      Harper, William H. III                        Rueger, Gregory Michael
      Harris, Robert L.                             Salas, Edward A.
      Hartman, Sanford L.                           Shiffer, Esther
      Harvey, Jeanne Walker                         Shiffer, Margaret
      Harvey, Kent Michael                          Skinner, Stanley T.
      Hayes, Kathleen                               Smith, Gordon Ray
      Hayes, William D.                             Stanley, Brent
      Higa, Patricia                                Stavropoulos, Nickolas
      Hinds, Jacqueline Rene                        Steel, Brian
      Howard, Robert T.                             Togneri, Gabe
      Howe, James                                   Torres, Albert Frank



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       Townsend, Martha J.                       ASI Select Insurance Corp.
       Wallace, William Henry                    Ascot Underwriting Limited
       Whelan, Steven                            Aspen Insurance
       Williams, Joseph T.                       Aspen Specialty Insurance Company
       Willrich, Mason                           Assurant Group of Carriers
       Womack, Lawrence                                   American Bankers Insurance
       Worthington, Bruce Robert                 Company
       Yura, Jane K.                                      American Bankers Insurance
                                                 Company of Florida
Counsel to Ad Hoc Group of Subrogation                    American Security Insurance
Claim Holders                                    Company
      Diemer & Wei, LLP                                   Standard Guaranty Insurance
      Willkie Farr & Gallagher LLP               Company
                                                          Voyager Indemnity Insurance
Subrogation Claimants                            Company
ACE American Insurance Company                   Attestor Capital LLP
(collectively, the "Chubb Group").               The Baupost Group L.L.C.
Advent Underwriting Ltd.                         Berkley National Insurance Company
AIG Europe Limited                               Berkley Regional Insurance Company
Allianz Global Corporate & Specialty             Berkshire Hathaway Guard Ins.
Allied World Assurance Company                   Berkshire Hathaway Specialty Insurance
Allstate Insurance Company and certain           Company
affiliates                                       Brit Global Specialty
Alternative Insurance Corporation                California Casualty Indemnity Exchange
American General Insurance Company dba           California Fair Plan Association
ANPAC General Insurance Company                  California Insurance Guarantee Association
Certain affiliates of American International     California Mutual Insurance Company
Group, Inc. (“AIG”):                             Century National
      AIG Europe Limited                         Certain Underwriters at Lloyd’s.
      AIG Property Casualty Company              Certain Underwriters of Lloyd’s of London
      AIG Specialty Insurance Company            Subscribing to Policy No. HTB-002381-002
      American Home Assurance Company            c/o Raphael and Associates
      Granite State Insurance Company            Chubb Custom Insurance Company
      The Insurance Company of the State of      Chubb Group:
      Pennsylvania                                    Bankers Standard Insurance Company
      Lexington Insurance Company                     Chubb Custom Insurance Company
      National Union Fire Insurance                   Chubb Insurance Company of New
      Company of Pittsburgh, Pa.                      Jersey
      New Hampshire Insurance Company                 Chubb National Insurance Company
American Modern Insurance Group                       Federal Insurance Company
American National Insurance Company                   Great Northern Insurance Company
Amica Mutual Insurance Company                        Illinois Union Insurance Company
AmTrust North America                                 Indemnity Insurance Company of North
AmTrust Syndicate 1206                                America
Arch Specialty Insurance Company                      Pacific Indemnity Company;
ArgoGlobal London                                     Vigilant Insurance Company
Armed Forces Insurance Exchange


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     Westchester Fire Insurance Company        The Hanover Insurance Group
     (Apa)                                     Hartford Accident & Indemnity Company
     ACE American Insurance Company            and certain affiliates:
     (Chubb)                                        Hartford Casualty Insurance Company
Church Mutual Insurance                             Hartford Fire Insurance Company
CAN Insurance Company                               Hartford Underwriters Insurance
Continental Casualty Company                        Company
Crestmont Insurance Company                         HDI Global SE
United States Fire Insurance Company d/b/a          Property & Casualty Ins. Company of
Crum & Forster                                      Hartford
Crusader Insurance Company                          Sentinel Insurance Company Ltd.
The Dentists Insurance Company                      Trumbull Insurance Company
Electric Insurance Company                          Twin City Fire Insurance Company.
Employers Mutual Casualty Company              HDI Global SE
Endurance American Specialty Insurance         International Insurance Company of
Company                                        Hannover SE
Endurance Specialty Insurance Company          Ironshore Insurance Ltd.
Essentia Ins. Co.                              Ironshore Specialty Insurance Company
Everest Indemnity Insurance Company            KBIC Insurance Company
Everest National Insurance Company             Kemper Auto Alliance United
Certain Affiliates of Farmers Insurance        Landmark American Insurance Company
Exchange                                       Certain affiliates of Liberty Mutual
Federated Insurance                            Insurance Company (Liberty)
First American Insurance Company               Liberty Mutual Insurance / Ironshore
First Specialty Insurance Corporation          Certain Underwriters of Lloyd’s of London,
GCube Insurance Services, Inc.                 UK Subscribing to Certain Policies
General Security Indemnity Company of          Certain Underwriters of Lloyd’s of London
Arizona                                        Subscribing to Policy No. HTB-002381-002
Generali U.S. Branch                           c/o Raphael and Associates
Global Indemnity Group                         Lloyd’s of London Novae 2007 Syndicate
Grange Insurance Association                   Mapfre USA
Great American Insurance Company and           Markel Service Incorporated
certain affiliates:                                 Evanston Insurance Company
     Great American Alliance Insurance              Markel American Insurance Company
     Company                                        Markel Insurance Company
     Great American Assurance Company          Maxum Indemnity Company
     Great American E&S Insurance              Maxum Specialty Insurance Group
     Company.                                  Mercury Insurance and certain affiliates
     Great American Insurance Company          Mesa Underwriters Speicialty Insurance
     Great American Insurance Company of       Company
     New York                                  Metropolitan Direct Property & Casualty
     Great American Spirit Insurance           National Fire & Marine Insurance Company
     Company                                   Nationwide Mutual Insurance Company and
Governmental Employees Insurance               certain affiliates
Company and certain affiliates                 Nautilus Insurance Company
GuideOne Insurance                             Nonprofits Insurance Alliance



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OneBeacon / Atlantic Specialty Ins. Co.              The Travelers Home and Marine
Pacific Specialty Insurance Co.                      Insurance Company
Pharmacists Mutual Insurance Company                 The Travelers Indemnity Company
Philadelphia Indemnity Insurance Company             The Travelers Indemnity Company of
The Princeton Excess and Surplus Lines               America
Insurance Company                                    The Travelers Indemnity Company
The Progressive Corporation                          St Paul Fire and Marine
ProSight Specialty Insurance                         The Standard Fire Insurance Company
PURE                                                 Fidelity and Guaranty Insurance
PURE Insurance                                       Underwriters Inc.
QBE Americas, Inc.                                   Northland Insurance
Rite Aid Corporation and Thrifty Payless,            The Northfield Insurance Company
Inc.                                                 Constitution State Services, LLC
RSUI Group, Inc.                               TWE Insurance Company Pte. Ltd.
RSUI Indemnity Company                         United Fire & Casualty Financial Pacific
Selective Insurance Company of America         Certain Affiliates of United Services
Sentry Select Insurance Company                Automobile Association
Star Insurance Company                               United Services Automobile
Starr Insurance Company                              Association
Starr Surplus Lines Insurance Company                USAA Casualty Insurance Company
Starr Technical Risks                                USAA General Indemnity Company
State Farm General Insurance Company                 Garrison Property and Casualty
State Farm Fire and Casualty Company                 Company, and affiliates companies
State Farm County Mutual Insurance             United Specialty Insurance Company
Company of Texas                               United States Liability Insurance Company
State Farm Mutual Automobile Insurance         Tudor Insurance Company and certain
Company                                        affiliates
Stillwater Insurance Group                           Western World Insurance Company
Sutter Insurance Company                       Velocity Risk Underwriters, LLC
TLFI Investments, LLC                                United Specialty Insurance Company
Tokio Marine American Insurance Company              Interstate Fire and Casualty Company
TOPA Insurance Co.                                   Certain Underwriters at Lloyd's
TPG Sixth Street Partners, LLC                       Certain Underwriters of Lloyd’s of
The Travelers Indemnity Company and                  London
certain of its property casualty insurance     Wawanesa General Insurance Co.
affiliates                                     XL America Insurance, Inc.
      Travelers Casualty Insurance Company     Zenith American Insurance Company
      of America                               Zenith Insurance Company
      Travelers Commercial Insurance           Fairfax Co
      Company                                  Riverstone
      Travelers Indemnity Company of           Horace Mann Insurance
      Connecticut                              RSA Insurance Co PLC
      Travelers Property Casualty Company      Strategic Value Parnters, LLC, acting as
      of America                               agent on behalf of its managed funds and
      Travelers Property Casualty Insurance    accounts
      Company



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Counsel to the Ad Hoc Committee of Senior              David A. Repka
Unsecured Noteholders                                  Davis Polk & Wardwell LLP
      Akin Gump Strauss Hauer & Feld                   Day Carter & Murphy LLP
      LLP                                              Dodge
      Perella Weinberg                                 Ebbin, Moser & Skaggs LLP
                                                       Egoscue Law Group, Inc.
                                                       Ericksen, Arbuthnot, Kilduff, Day &
Counsel to the Ad Hoc Group of                         Lindstrom
Institutional Par Bondholders                          Eversheds - Sutherland
         Proskauer Rose LLP                            Eversheds Sutherland (US), LLP
                                                       Farella Braun + Martel LLP
                                                       Flesher Schaff & Schroeder, Inc.
Claims Representative for Unfiled Fire                 Friedman & Springwater LLP
Claimants                                              Gordon-Creed, Kelley, Holl &
       Wendel Rosen LLP                                Sugerman, LLP
       Michael G. Kasolas                              Gough & Hancock LLP
                                                       Greenberg Traurig, LLP
Ordinary Course Professionals                          Groom Law
       Aldrich & Bonnefin, PLC                         Hanna, Brophy, MacLean, McAleer
       Allen Glaessner                                 & Jensen
       Allen Matkings                                  Hanson Bridgett LLP
       Allen Matkins Leck Gamble Mallory               Harris Wiltshire & Grannis LLP
       & Natsis LLP                                    Hawke McKeon & Sniscak LLP
       Alvaradosmith, APC                              Helena S. Younossi (dba Younossi
       Alvardo Smith                                   Law)
       Amanda C. Lewis, Attorney at Law,               Horvitz & Levy LLP
       Inc.                                            Hunton Andrews Kurth LLP
       Archer Norris                                   Hwang Law Group
       Armbruster Goldsmith & Delvac                   J. Drew Page
       LLP                                             Jackson Lewis P.C.
       Barg Coffin                                     Jenner & Block LLP
       Barg Coffin Lewis & Trapp, LLP                  Jennie Lee
       Boersch Shapiro                                 Jennifer L. Dodge
       Boersch Shapiro LLP                             Jo Lynn Lambert (dba Lambert Law)
       Brown Rudnick LLP                               John H. Kenney
       Burke, Williams & Sorenson, LLP                 King & Spalding LLP
       Castellon & Funderburk, LLP                     Kollitz & Kollitz
       Chou Law Group (f/k/a Nakamoto                  Kronenberg Law, P.C.
       Chou)                                           Lambert Law
       CJG Legal                                       Latham & Watkins
       Clarence Dyer & Cohen LLP                       Latham & Watkins LLP
       Coblentz Patch                                  Law Office of John H. Kenney
       Coleman, Chavez & Associates LLP                Law Office of Mario A. Moya
       Cooley                                          Law Offices of J. Drew Page
       Covington & Burling LLP                         Law Offices of Jennie L. Lee
       Cox Castle & Nicholson, LLP
       Danning, Gill, Diamond & Kollitz


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     Law Offices of Jennifer L. Dodge              Pillsbury
     Inc.                                          Pillsbury Winthrop Shaw Pittman
     Law Offices of Kollitz & Kollitz,             LLP
     LLP                                           PricewaterhouseCoopers (PWC)
     Law Offices of Lindsey How-                   Quinn & Kronlund, LLP (dba Daniel
     Downing                                       F. Quinn and Michael C. Kronlund)
     Law Offices of Lucinda L. Storm,              Ralls, Gruber & Niece LLP
     Esq.                                          Redgrave
     Law Offices of Martha J. Simon                Redgrave LLP
     Law Offices of Michael L. Gallo               Regulatory Law Chambers
     Law Offices of Tamara Gabel                   Rochelle McCullough LLP
     Lee Law Offices                               Rochelle McCullough LLP
     Levine, Blaszak, Block & Boothby,             Rovens Lamb LLP
     LLP                                           Roy J. Park, a Professional Law
     LimNexus LLP                                  Corporation
     Lindsey How-Downing                           Ryan Mau
     Lisa Nicol                                    Samuelsen, Gonzalez, Valenzuela &
     Littler Mendelson, P.C.                       Brown LLP
     Lucinda L. Storm                              Sanchez & Amador LLP
     Manatt Phelps                                 Sedgwick
     Martha J. Simon                               Sheppard, Mullin, Richter &
     Mayer Brown LLP                               Hampton LLP
     McClellan & Corren                            Sidley Austin
     Miller & Chevalier                            Singer & Watts
     Miller Chevalier                              Sinnott, Puebla, Campagne & Curet,
     Miller Starr Regalia                          APLC
     Moya                                          Stander, Reubens, Thomas, and
     Munger Tolles                                 Kinsey
     Nair & Levin, P.C.                            Steptoe & Johnson LLP
     Nakamoto Chou                                 Tamara J. Gabel
     Nielsen Merksamer                             Troutman Sanders
     Nielsen Merksamer Parrinello Gross            Urrabazo Law, P.C.
     & Leoni LLP                                   Van Ness Feldman
     Nixon Peabody                                 Vedder Price P.C.
     Noland, Hamerly, Etienne & Hoss               Wai & Connor, LLP
     Norton RoseFulbright US LLP                   Walsworth WFBM, LLP
     NortonRoseFulbright US LLP                    White & Case
     Nossaman LLP                                  Wilmer Hale
     Opterra Law, Inc.                             Wilson Elser Moskowitz Edelman &
     Paragon                                       Dicker LLP
     Pasich LLP                                    Winston & Strawn LLP
     Paul Hastings LLP                             Work/Environment Law Group
     Perkins Coie LLP                              Younossi Law
     Perkins Coie LLP                              Law Office of Juliana M. Cipriano
     Peters, Habib, McKenna, Juhl-
     Rhodes & Cardoza, LLP



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Letters of Credit                                      California Public Utilities
        California Department of Fish and              Commission
        Game                                           California State Water Resources
        California Department of Fish and              Control Board
        Wildlife                                       California Water Board
        CAISO - California Independent                 Central Coast Board Central Coast
        System Operator (CAISO)                        Regional Water Quality Control
        California Public Utilities                    Board
        Commission                                     Central Coast Regional Water
        California State Water Resources               Quality Control Board
        Control                                        City of Santa Rosa
        California Department of Fish and              Colusa County District Attorney -
        WildLife                                       Matthew R. Beauchamp
        City of Oakland                                Community Choice Aggregator
        Department of Labor                            Contra Costa County District
        Natural Gas Exchange                           Attorney - Diana Becton
        Port of Oakland                                Del Norte County District Attorney -
        Port of San Francisco                          Katherine Micks
        San Francisco Port Commission                  Department of Toxic Substances
        Shasta County                                  Control
        State Water Resources Control                  El Dorado County District Attorney -
        Board                                          Vern Pierson
                                                       Environmental Protection Agency
Regulatory and Government                              European Mutual Association for
       Alameda County District Attorney -              Nuclear Insurance
       Nancy E. O'Malley                               Federal Energy Regulatory
       Alpine County District Attorney -               Federal Energy Regulatory
       Michael Atwell                                  Commission (FERC)
       Amador County District Attorney -               Fresno County District Attorney -
       Todd D. Riebe                                   Lisa A. Smittcamp
       Attorney General for the State of               Glenn County District Attorney -
       California (Xavier Becerra)                     Dwayne R. Stewart
       Butte County District Attorney -                Humboldt County District Attorney -
       Amanda Hopper                                   Maggie Fleming
       Calaveras County District Attorney -            Imperial County District Attorney -
       Barbara Yook                                    Gilbert Otero
       California Air Resources Board                  Internal Revenue Service
       California Department of Forestry               Inyo County District Attorney -
       and Fire Protection                             Thomas L. Hardy
       California Department of Insurance              Kern County District Attorney - Lisa
       California Energy Resources                     Green
       Conservation and Development                    Kings County District Attorney -
       Commission                                      Keith Fagundes
       California Independent System                   Lake County District Attorney - Don
       Operator (CAISO)                                A. Anderson




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     Lassen County District Attorney -              Safety and Enforcement Division of
     Stacey Montgomery                              the CPUC
     Los Angeles County District                    San Benito County District Attorney
     Attorney - Jackie Lacey                        - Candice Hooper-Mancino
     Madera County District Attorney -              San Bernardino County District
     David A. Linn                                  Attorney - Michael A. Ramos
     Marin County District Attorney -               San Diego County District Attorney
     Edward Berberian                               - Summer Stephan
     Mariposa County District Attorney -            San Francisco County District
     Thomas K. Cooke                                Attorney - George Gascón
     Mark Filip, Third Party Monitor                San Joaquin County District
     Mendocino County District Attorney             Attorney - Tori Verber Salazar
     - C. David Eyster                              San Luis Obispo County District
     Merced County District Attorney -              Attorney - Dan Dow
     Larry D. Morse                                 San Mateo County District Attorney
     Modoc County District Attorney -               - Stephen M. Wagstaffe
     Jordan Funk                                    Santa Barbara County District
     Mono County District Attorney -                Attorney - Joyce Dudley
     Tim Kendall                                    Santa Clara County District Attorney
     Monterey County District Attorney -            - Jeffrey F. Rosen
     Dean Flippo                                    Santa Cruz County District Attorney
     Napa County District Attorney -                - Jeffrey S. Rosell
     Allison Haley                                  Shasta County District Attorney -
     National Transportation Safety                 Stephen S. Carlton
     Board (NTSB)                                   Sierra County District Attorney -
     Nevada County District Attorney -              Lawrence Allen
     Clifford Newell                                Siskiyou County District Attorney -
     Nuclear Decommissioning Cost                   J. Kirk Andrus
     Triennial Proceeding                           Solano County District Attorney -
     Nuclear Electric Insurance Limited             Krishna A. Abrams
     Nuclear Regulatory Commission                  Sonoma County District Attorney -
     Nuclear Regulatory Commission                  Jill Ravitch
     (NRC)                                          Stanislaus County District Attorney -
     Orange County District Attorney -              Birgit Fladager
     Tony Rackauckas                                State of California Office of
     Pipelines and Hazardous Materials              Emergency Services
     Safety Administrations (part of                Sutter County District Attorney -
     DOT)                                           Amanda L. Hopper
     Placer County District Attorney - R.           Tehama County District Attorney -
     Scott Owens                                    Gregg Cohen
     Plumas County District Attorney -              Trinity County District Attorney -
     David D. Hollister                             Eric L. Heryford
     Riverside County District Attorney -           Tulare County District Attorney -
     Mike Hestrin                                   Tim Ward
     Sacramento County District Attorney            Tuolumne County District Attorney -
     -Anne Marie Schubert                           Laura Krieg



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      U.S. Attorney California, Northern -            The Bank of Tokyo-Mitsubishi UFJ,
      Alex G. Tse                                     Ltd.
      U.S. Department of Energy                       TPG Sixth Street Partners, LLC
      U.S. Department of the Interior                 U.S. Bank National Association
      U.S. Department of Transportation
      U.S. District Attorney California,       Significant Competitors
      Central- Nicola T. Hanna                         San Diego Gas & Electric Company’
      U.S. District Attorney California,               Southern California Edison
      Eastern- McGregor W. Scott                       Company
      U.S. District Attorney California,
      Southern- Adam L. Braverman              Significant Shareholders (more than 5% of
      U.S. Environmental Protection            equity)
      Agency                                           BlackRock, Inc.
      U.S. Securities and Exchange                     T. Rowe Price Associates, Inc.
      Commission                                       The Vanguard Group, Inc.
      United States of America
      US Nuclear Regulatory Commission         Significant holder of voting securities
      US Nuclear Regulatory Commission                 Baupost GroupSSgA Funds
      US Securities and Exchange                       Management (The)
      Commission                                       BlackRock Fund Advisors
      Ventura County District Attorney -               Blue Mountain Capital Management
      Gregory Totten                                   LLC
      Yolo County District Attorney - Jeff             Elliott Management
      Reisig                                           T. Rowe Price Associates, Inc.
      Yuba County District Attorney -                  The Vanguard Group, Inc.
      Patrick McGrath
                                               Taxing Authorities
DIP Lenders                                           Alameda County Tax Collector
      Apollo Global Management LLC                    Alpine County Tax Collector
      Bank of America, N.A.,                          Amador County Tax Collector
      Barclays Bank PLC and                           Butte County Tax Collector
      Caspian Capital LP                              Calaveras County Tax Collector
      Centerbridge Partners LP                        California Board of Equalization
      Citadel Advisors LLC                            California Department of Finance
      Citigroup Global Markets Inc.                   California Department of Tax and
      Davidson Kempner Capital                        Fee Administration
      Management                                      California Department of the
      Diameter Capital Partners LP                    Treasury
      Farallon Capital Management,                    California Franchise Tax Board
      L.L.C.                                          California Public Utilities
      JPMorgan Chase Bank, N.A.                       Commission
      Lord, Abbett & Co. LLC                          City and County of San Francisco
      Oaktree Capital Management, L.P.                Colusa County Tax Collector
      Pacific Investment Management                   Contra Costa County Treasurer-Tax
      Company LLC                                     Collector
                                                      County of Nevada



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     County of Santa Barbara                       Sonoma County Tax Collector
     County of San Diego                           Stanislaus County Tax Collector
     County of Santa Clara Department of           Sutter County Tax Collector
     Tax and Collections                           Tehama Tax Collector
     Department of Tax and Collections             Treasurer-Tax Collector
     El Dorado County Tax Collector                Trinity County
     Fresno County Tax Collector                   Trinity Tax Collector
     Glenn County Tax Collector                    Tulare County Treasurer-Tax
     Department of Finance                         Collector
     Humboldt County Tax Collector                 Tuolumne County
     Internal Revenue Services                     Tuolumne Tax Collector
     (Department of the Treasury)                  Yolo County Tax Collector
     Kern County Tax Collector                     Yuba County Tax Collector
     Kings County Tax Collector
     Lake County Tax Collector              Top Unsecured Creditors
     Lassen County Tax Collector
     Madera County Tax Collector                   Agile Sourcing Partners Inc.
     Marin County Tax Collector                    Agua Caliente Solar LLC
     Mariposa County Tax Collector                 AJ Excavation Inc.
     Mendocino County Tax Collector                ARB Inc.
     Merced County Tax Collector                   AV Solar Ranch 1 LLC
     Modoc County Tax Collector                    Bank of America
     Monterey County Tax Collector                 Bank of New York Mellon
     Napa County Tax Collector                     Barnard Pipeline Inc.
     Nevada County                                 Bay Area Concrete LLC
     Placer County Tax Collector                   Black & Veatch Construction, Inc.
     Plumas County Tax Collector                   BP Energy Co.
     Sacramento County                             California Dept. of Water Resources
     San Benito County Treasurer-Tax               California ISO
     Collector                                     Calpine King City Cogen LLC
     San Bernardino County Tax                     Calpine Los Esteros
     Collector                                     Ch2m Hill Engineers Inc.
     San Cruz County Tax Collector                 Chevron Power Holding Inc.
     San Francisco Tax Collector                   Citibank, N.A.
     San Joaquin County Tax Collector              Cognizant Worldwide Limited
     San Luis Obispo County Tax                    Crockett Cogeneration LP
     Collector                                     Cupertino Electric Inc.
     San Mateo County Tax Collector                DDB Worldwide Communications
     Santa Barbara County                          Group
     Santa Clara County                            Desert Sunlight Investment Holdings
     Santa Cruz County                             Deutsche Bank
     SDCTTC                                        DTE Energy Services
     Shasta County Tax Collector                   Edf Trading North America LLC
     Sierra County Tax Collector                   Energy Systems Group LLC
     Siskiyou County Tax Collector                 ERM-West Inc.
     Solano County Treasurer                       Exelon Corporation



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      Genesis Solar LLC                             Angelo, Gordon & Co., L.P.
      Genon Marsh Landing LLC                       Apollo Global Management LLC
      Geysers Power Company LLC                     Bank of America Merrill Lynch
      High Plain Ranch II LLLC                      Bank of America, N.A.
      ICE NGX Canada Inc.                           Bank of New York Mellon
      Jeff Abel                                     Barclays Bank PLC
      Jonah Energy LLC                              Barclays Capital Inc.
      Louisiana Energy Services LP                  Barclays Global
      Macquarie Energy LLC                          Blaylock
      McKinsey & Company Inc. - U S                 BNP Paribas
      Meter Readings Holding LLC                    California Infrastructure and
      MGE Underground Inc.                          Economic Development Bank
      Mizuho                                        California Pollution Control
      MRO Integrated Solutions LLC                  Financing Authority
      Mt. Poso Cogeneration Company                 Canadian Imperial Bank of
      MUFG                                          Commerce
      Myers Power Products Inc.                     Canadian Imperial Bank of
      Occidental Energy Marketing Inc.              Commerce, NY Agency
      Onesource Supply Solutions LLC                CarVal Investors
      Oracle America Inc.                           Caspian Capital LP
      Panoche Energy Center LLC                     CastleOak
      Phillips and Jordan                           Centerbridge Partners LP
      Pivot Interiors Inc.                          Citadel Advisors LLC
      Quanta Energy Services LLC                    Citi
      Roebbelen Contracting Inc.                    Citibank, N.A.
      Russell City Energy Company LLC               Citigroup Global Markets Inc.
      Seegert Construction                          Cyrus Capital Partners, L.P.
      Siemens Industry Inc.                         Davidson Kempner Capital
      Singleton-Adler Butte Fire                    Management
      Southwire Company                             Deutsche Bank
      TATA America International Corp.              Deutsche Bank Securities Inc.
      The Bank of New York Mellon                   Diameter Capital Partners LP
      The Okonite Company, Inc.                     Elliott Management Corporation
      Topaz Solar Farms LLC                         Farallon Capital Management,
      Turner Construction Company                   L.L.C.
      Ultra Petroleum Corp                          Goldman Sachs
      Urenco Limited                                Goldman Sachs Bank USA
      Wells Fargo                                   J.P. Morgan Securities LLC
      Westinghouse Electric Co. LLC                 JPMorgan Chase Bank, N.A.
      World Wide Technology Inc.                    Lehman Brothers
      Zones Corporate Solutions                     Loop
                                                    Lord, Abbett & Co. LLC
Unsecured Notes                                     Mellon Bank Boston
      Aegon Asset Management                        Merrill Lynch, Pierce, Fenner &
      Allstate Insurance Company and                Smith Incorporated
      certain affiliates                            Mizuho Bank, Ltd.



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      Mizuho Corporate Bank, Ltd.                      Dell Financial Services L.L.C.
      Morgan Stanley Bank                              Dell Financial Services, L.P.
      Morgan Stanley Bank/ Morgan                      Dominion Federal Corporation
      Stanley Senior Funding                           Employment Development
      Morgan Stanley Senior Funding                    Department
      MUFG Union Bank, N.A.                            Gelco Corporation d//b/a GE Fleet
      Nuveen Alternative Advisors, LLC                 Services
      Oaktree Capital Management, L.P.                 Graphic Savings Group LLC
      Och-Ziff Capital Management Group                Graylift, Inc.
      LLC                                              Great West Life and Annuity
      P. Schoenfeld Asset Management LP                Insurance Company
      Pacific Investment Management                    Internal Revenue Service (“IRS”)
      Company LLC                                      IRS /Ohio – says termination on
      Ramirez                                          summary
      Royal Bank of Canada (RBC)                       Kelley Leasing Partners, LLC
      Royal Bank of Scotland (“RBS”)                   Kevin Woodruff, Executor
      Senator Investment Group LP                      Key Government Finance, Inc.
      Taconic Capital Advisors LO                      MassMutual Asset Finance LLC
      TD Bank, N.A.                                    Natural Gas Exchange Inc.
      TD Securities                                    Nick Miniello
      The Bank of New York Mellon,                     OCE Bruning Inc.
      N.A.                                             Pitney Bowes Global Financial
      The Bank of New York Trust                       Services LLC
      Company, N.A.                                    Production Mail Solutions Financing
      The Bank of Tokyo-Mitsubishi UFJ,                RDO Equipment Co.
      Ltd.                                             State of California
      Third Point LLC                                  State of California – Taxation
      TPG Sixth Street Partners, LLC                   Sterling National Bank
      U.S. Bank National Association                   Storage Technology Corp.
      UBS Investment Bank                              Sunflower Bank, National
      UBS Securities                                   Association
      US Bank                                          U.S Bank Equipment Finance, a
      Varde Partners, Inc.                             division of U.S. Bank National
      Wells Fargo Bank, N.A.                           Association
      Wells Fargo Bank, National                       United Financial of Illinois Inc.
      Association                                      Wells Fargo Bank
      Wells Fargo Securities LLC                       Wells Fargo Bank Northwest,
      Williams Capital                                 National Association, as Trustee
                                                       Mac: U1228-051
UCC Lien Holders
     Accurate Air Engineering                   Unions
     Altec Capital Services, LLC                     Engineers and Scientists of California
     BBH Financial Services                          International Brotherhood of
     Canon Solutions America, Inc.                   Electrical Workers
     Christopher J. Summers                          International Brotherhood of
     Cynthia Davisknotts                             Electrical Workers Local 1245



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      Service Employees International                      Tracy Hope Davis
                                                           Trevor Fehr
Office of the United States Trustee for                    Yung Nor Wong
Region 17
      Alison S. Manning                              Utility Providers
      Allen C. Massey                                       Aces Waste Services
      Anabel Abad-Santos                                    Alameda County Water
      Ankey To                                              Alameda Municipal Power
      Avis J. Haynes                                        Alpine PCS
      Cameron Gulden                                        Amador Valley Industries
      Carla K. Cordero                                      Amador Water Agency
      D A Clarke Finneran                                   American Messaging Services LLC
      Donna S. Tamanaha                                     American Water Services
      Edward M. McDonald                                    Amerigas Propane
      Gregory Powell                                        Arcata, City of
      Ianthe V. Del Rosario                                 AT&T
      Irma H. Garcia                                        AT&T Corp.
      Jared A. Day                                          AT&T Mobility II LLC
      Jason Blumberg                                        AT&T Network
      Joan C. Caskey                                        AT&T PCS Wireless Services
      JoAnne David                                          Atascadero Mutual Water
      Kimberly Massey-Flores                                Atlas Waste Management
      Kristin McAbee                                        Basin Properties
      Kristine Kinne                                        Bella Vista Water
      Laurie Brugger                                        Bertolotti Disposal
      Lisa M. Grootendorst                                  Bertolotti Newman Disposal
      Lynette C. Kelly                                      Bright House Networks LLC
      Lynne C. Knight                                       Burney Disposal
      Margaret H. McGee                                     Burney Water District
      Marta Villacorta                                      Calaveras Telephone Co
      Melinda R. Davis                                      California American Water
      Michael O. Sorgaard                                   California Waste Recovery
      Michelle Forrest                                      California Water Service
      Monette Semana                                        California Water Service Bakersfield
      N. Bryan Green                                        Carmel Marina Corporation
      Nathalie Brumfield-Brown                              Central (VIA Wireless LLC)
      Nicholas Strozza                                      Central Valley Waste
      Patricia Vargas                                       Charter Communications
      Robbin D. Little                                      Chico & Hamilton
      Robert S. Gordon                                      Citizens Telecommunications
      Robin Tubesing                                        City of Angels
      Sue Wolny                                             City of Antioch
      Teresa B. Field                                       City of Bakersfield
      Terri Didion                                          City of Buellton
      Timothy S. Laffredi                                   City of Clovis
      Tina Spyksma                                          City of Coalinga



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    City of Colusa                               City of Stockton
    City of Concord                              City of Taft
    City of Corning                              City of Tracy
    City of Daly City                            City of Turlock
    City of Davis                                City of Vacaville
    City of Dinuba                               City of Vallejo
    City of Eureka                               City of Wasco
    City of Folsom                               City of Watsonville
    City of Fort Bragg                           City of West Sacramento
    City of Fortuna                              City of Willits
    City of Fresno                               City of Winters
    City of Gilroy                               City of Woodland
    City of Grass Valley                         Civic Center Square
    City of Hollister                            Clearlake Waste Solutions
    City of Jackson                              Clearwire
    City of Lakeport                             Coastside County Water District
    City of Lenmoore                             Comcast
    City of Live Oak                             Concord Disposal Service
    City of Livermore                            Consolidated Utilities
    City of Lodi                                 Conterra Wireless Broadband LLC
    City of Lompoc                               Contra Costa Water District
    City of Los Banos                            County of Nevada Dept of Sanitation
    City of Madera                               County of Shasta
    City of Manteca                              County of Yuba (Yuba County
    City of Menlo Park                           Community)
    City of Merced                               Cox PCS - Sprint Spectrum
    City of Millbrae                             Crown Castle
    City of Morgan Hill                          Cupertino
    City of Mountain View                        CVIN LLC
    City of Napa                                 Davis Waste Removal
    City of Newman                               Dept of Industrial Relations (State of
    City of Oakdale                              California)
    City of Orland                               Dixon
    City of Parlier                              Downieville Public Utility Dist
    City of Petaluma                             East Bay Municipal Utility Dist
    City of Pismo Beach                          Edge Wireless
    City of Placerville                          Eel River Disposal
    City of Red Bluff                            El Dorado Disposal
    City of Redding                              El Dorado Irrigation Dist
    City of Redwood                              Emadco Disposal Service
    City of Roseville                            Equinix Inc.
    City of Sacramento                           Extenet System
    City of San Bruno                            Fairfield Municipal Utilities
    City of San Luis Obispo                      Fremont
    City of Santa Maria                          Fresno Fire Department
    City of Santa Rosa                           Frontier Communications



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    Frontier Communications of America           Millview County Water District
    Garberville Sanitary District                Miramonte Sanitation
    Geyersville Water Works/Harry K.             Modesto Irrigation Dist - MID
    Bosworth                                     Modesto Irrigation District
    Gilton Solid Waste Management                Monterey City Disposal
    Globalstar USA                               Monterey Regional Water
    Golden State Towers                          Napa County Recycling & Waste
    Grass Valley, City of                        Napa Recycling & Waste
    Great Oaks Water Co                          Nevada Irrigation Dist (Rollins)
    Greenwaste of Tehama                         New Cingular Wireless Services
    Greenwaste Recovery                          New Cingular Wireless Services
    Hayward Water System                         Nextel Communications
    Health Sanitation Service                    Nextel of California, Inc., a Delaware
    Highlands Water Company                      Corp.
    Hornitos Telephone Co.                       NI Satellite Inc.
    Humboldt Community Service                   North Coast County Water District
    Humboldt Sanitation                          North Marin Water District
    Indian Wells Valley Water Dist               Novato Disposal Service
    Industrial Waste & Salvage                   Novato Sanitary District
    Integra Telecom                              Oakdale Irrigation District
    Intermountain Disposal                       Oakland, City of (Alarms)
    IPN Networks, Inc.                           Oildale Mutual Water
    Jaroth Inc.                                  Oroville, City of
    Joe Cover & Sons                             Pacific Bell Telephone Company
    Kerman Telephone Co.                         Paradise Irrigation District
    Kern County Waste Management                 Petaluma Refuse & Recylcing
    King City                                    Pine Grove CSD
    Lake Alpine Water Company                    Pinnacles Telephone CO.
    Lake County Special District                 Placer County Water Agency
    Lakeport Disposal                            Plumas Sierra Telecommunications
    Level 3 Communications LLC                   Poso Canal Company
    Linden County Water District                 Price Disposal
    Livermore                                    Quincy Community Service
    Livermore Sanitation                         Department
    MarBorg Industries                           Recology Auburn Placer
    Marin Municipal Water District               Recology Golden Gate
    Marin Sanitary Service                       Recology Grover Environmental
    Mariposa Public Utility District             Recology Humboldt County
    Marysville                                   Recology San Mateo County
    Mediacom Communications Corp                 Recology Sonoma Marin
    Mendo Pacific Reuse                          Recology South Bay
    Metricom, PCS                                Recology South Valley
    Metro, PCS California LLC                    Recology Sunset Scavenger Co
    Mid Valley Disposal                          Recology Vacaville Solano
    Mid-Peninsula Water District                 Recology Vallejo
    Midstate Solid Waste & Recycling             Recology Yuba-Sutter



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    Recology-Butte Colusa                          Southern California Edison
    Redding, City of                               Southern California Gas
    Redrock Environmental (Caglia                  Southwestern Bell Telephone LP
    Environmental)                                 Sprint
    Republic Services                              Sprint Nextel Property Services
    Republic Services San Jose                     Sprint Spectrum
    Republic Services/Allied Waste                 Sprint Spectrum- Nextel
    Republic Services/Allied Waste                 SSF, Menlo Park, San Carlos & San
    Services                                       Mateo
    Republic Services/Allied Waste                 Stockton
    Services                                       Stockton Scavengers
    Republic Services/Richmond Sanitary            Stockton, City of
    Service (Richmond Sanitary Service)            Suburban Propane
    Republic Services/Solano Garbage Co            Suddenlink Communications
    #846                                           Sunset Building Company
    Rio Vista Sanitation Service                   Surewest Directories
    Rio Vista, City of                             Taft, City of
    Roseville, City of                             TDS Telecom
    Sacramento Municipal Utility Dist -            Templeton Community Svcs Dist
    SMUD                                           The Promontory
    Sacramento Municipal Utility District          TMO CA/NV LLC, formerly known
    Salinas                                        as Pacific Bell Wireless LLC
    San Carlos, City of                            T-Mobile USA
    San Joaquin Co. Sheriff                        T-Mobile West
    San Jose                                       Tom's Trash
    San Jose Water Co                              Total Waste Systems of Mariposa
    San Luis Garbage (Coastal Rolloff              Tower Co. (Monopole Payout
    Service)                                       Contract)
    San Luis Obispo, City of                       Town of Paradise
    San Rafael Sanitation                          Tracy Delta Disposal
    San Ramon, Walnut Creek, Antioch               Tracy, City of
    Santa Clara Valley Water Dist.                 Trinity Public Utility District
    Santa Clara Valley Water District              Tuolumne Utilities District
    Santa Cruz Municipal Utilities                 Turlock Irrigation Dist – TID
    Santa Maria, City of                           Turlock, City of
    Santa Rosa, City of                            U.S. Cellular
    Satcom Global FZE                              Ubiquitel, LLC
    SBA Communications Corporation                 US Cellular
    Scotts Valley Water District                   US Telepacific Corp.
    Selma                                          USA Mobility Wireless Inc.
    SFPUC - San Fran Water Dept                    USA Waste of California
    Sierra Telphone CO. Inc.                       Utility Management Services (UMS)
    Solid Waste of Willits                         Vacaville, City of
    South County Sanitary                          Vallejo Sanitation and Flood Control
    South Feather Water & Power                    District (VSFCD)
    South San Francisco Scavenger                  Vallejo, City of



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      Verizon (Airtouch)                                 3G Rebar, Inc.
      Verizon Business Network Services                  3P Services GmbH & Co. KG
      Verizon Network Operations                         6M Transport Services Inc.
      Verizon Wireless                                   A & P HELICOPTERS INC
      Verizon Wireless - Network Real                    A G Engineering
      Estate C                                           A Plus Tree Incorporated
      Volcano Telephone Co.                              A Plus Utility Locating
      VSFCD                                              A&T Pacific Constructors, Inc.
      Wasco, City of                                     A.J. Excavation Inc.
      Waste Management - Fresno                          A.M. Stephens Construction Co.,
      Waste Management - Ukiah                           Inc.
      Waste Management - USA Waste of                    A.M. Wighton and Sons Inc.
      California                                         A-1 Advantage Asphalt, Inc.
      Waste Management of Alameda                        A3GEO, Inc.
      Waste Management of Antelope                       AAA Tree Service
      Valley                                             Abacus Construction Inc.
      Waste Management of Corning                        ABB Inc.
      Waste Management of Fort Bragg                     Abel Fire Equipment/Jeff Abel
      Waste Management of Nevada                         Abercrombie Pipeline Services, LLC
      Waste Management of North Valley                   Able Fence Company, Inc.
      Disposal                                           ABM Building Solutions, LLC
      Watsonville, City of                               A-C Electric Company
      WaveDivision Holdings LLC                          ACC Construction, Inc.
      West Kern Water District                           Accelerated Metal Fabrication, LLC
      West Sacramento, City of                           Access Limited Construction
      West Valley Sanitation District/Santa              Access Systems & Solutions Inc.
      Clara County                                       ACCO Engineered Systems Inc
      Westside Waste Management                          Accurate Corrosion Control
      Willits, City of                                   Accurate Energy Services
      Willow Creek Community                             Ace Crane Service Inc.
      Willows                                            Ace Environmental Management
      Woodland, City of                                  Aclara Technologies LLC -
      Xetra Networks Inc.                                California
      Zayo Group Holdings Inc.                           Acme Security Systems
                                                         ACRT Services, Inc.
                                                         Action Resources, LLC
Vendors/Suppliers                                        Action Services
                                                         Active Treatment Systems, Inc.
      Suppliers                                          ADP, Inc.
      Aclara Technologies LLC                            Advanced Air Leak Detection
      Silver Spring Networks, Inc.                       Service, Inc.
      Westinghouse                                       Advanced Environmental Group,
                                                         Inc.
      Vendors                                            Advanced Geological Services, Inc.
      3 Phase Line Construction Inc.                     Advanced Lighting Services Inc.
      3B Enterprises, LLC                                Advanced Tree Care



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     Advanced Trenchless Inc                         Almendariz Consulting Inc.
     Advanced Utility Solutions                      Alpha Pacific Engineering &
     AE3V LLC                                        Contracting, Inc.
     AECOM Technical Services, Inc.                  Alpine Power Systems, Inc.
     Aero-Graphics, Inc.                             Alspaw Tree Service, LLC
     Aerotek Inc.                                    Alta Archaeological Consulting LLC
     Aggreko North America                           Alternative Structural Technologies
     Ahlborn Fence & Steel, Inc.                     Altman Browning and Company
     Ahtna Government Services                       Alvah Contractors, Inc.
     Corporation                                     Amber Resources, LLC
     Aiken & Fairbanks Inc.                          Amec Foster Wheeler Environment
     Air Rescue Systems Corporation                  & Infrastructure, Inc.
     Air Shasta Rotor & Wing Inc.                    Ameresco Inc - Federal
     Air Systems Inc                                 American Air Filter Company, Inc. -
     Air Systems Service and                         Power & Industrial Division
     Construction, Inc                               American Chiller Service, Inc.
     Aire Sheet Metal, Inc.                          American Compliance Services,
     Airgas Specialty Products                       Limited
     Airgas USA, LLC (NORTHERN                       American Construction & Supply
     CALI & NEVADA REGION)                           Inc.
     A-Jay Excavating, Inc.                          American Crane Rental, Inc.
     AJW Construction                                American Custom Private Security
     Alaniz Construction Inc                         American Eagle Protective Services,
     ALB Incorporated                                Inc.
     Albion Environmental, Inc.                      American Eco Services Inc
     Alcal Specialty Contracting, Inc.               American Governor Co.
     Alco Iron & Metal Company                       American Heavy Moving and
     Alert Door Service, Inc.                        Rigging, Inc
     Alfonso Gallegos Inc                            American Hydro Corporation
     A-Line E.D.S.                                   American Incorporated, California
     All Private Utility Locating                    Corporation
     All Tech Welding                                American Insulation Inc.
     All-Cal Equipment Services, Inc                 American Integrated Services Inc
     Allen Acoustics                                 American Land & Leisure
     Alliance Environmental Services                 American Power Systems, LLC
     Alliance Roofing Company, Inc                   American Safety Services, Inc.
     Allied Concrete Pumping                         American Sheet Metal Partition Co.,
     Allied Crane, Inc.                              Inc.
     Allied Reliability, Inc.                        American System Controls and
     Allied Universal                                Integration Inc.
     Allied Weed Control                             Ametek Solidstate Controls
     Allison Sierra Inc                              AMP United LLC
     Allstate Boring                                 Ampirical Solutions, LLC
     Allstate Power Vac, Inc.                        Anamet Inc
     Alltech Services Inc                            Ancon Marine
     Allyn Goodall Trucking Inc.



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     Anderson Burton Construction Inc.             Aspen Helicopters, Inc.
     California Division                           Asplundh Construction LLC region
     Anderson Carpet and Linoleum Sales            208
     Co Inc                                        Associated Power Solutions
     Andy's Construction                           Associated Right of Way Services,
     Anrak Corporation                             Inc.
     Anvil Builders, Inc.                          Asta Construction Company, Inc.
     Anvil Power Inc.                              Astro Pak Corporation
     Apex TITAN, Inc.                              Atascadero Glass, Inc.
     API Services, LLC                             ATC Group Services LLC
     Applied Earthworks Corp.                      ATI Trucking, LLC
     Applied Pest Management                       Atlantic Plant Maintenance
     Applied Power Systems, Inc.                   Atlas Copco
     Applus RTD USA, Inc.                          Atlas Field Services, LLC
     APS Environmental                             Austerman, Inc.
     APTIM Environmental &                         Austin's Concrete & Asphalt Cutting
     Sustainability                                Automated Precision
     Aqua Drill International                      AVANTech Incorporated
     Aquatech International LLC                    AVAR Shoring Services
     Aquatic Designing INC                         Aviat U.S. Inc.
     ARB, Inc. Oil & Gas Division                  AVI-SPL, Inc.
     Arbor Masters, Inc.                           Avtech Construction Inc.
     Arboricultural Specialties, Inc.              AZCO Inc
     Arborists of Washington, Inc                  Aztrack Construction Corporation
     ArborMetrics Solutions LLC                    AZZ WSI LLC
     ArborWorks, Inc.                              B Metal Fabrication Inc
     Arcadis U.S., Inc.                            B&B Hughes Construction, Inc.
     Archrock                                      B&B Locating, Inc.
     ARCO ENTERPRISES, INC.                        B&B Plumbing Construction Inc.
     Area West Environmental, Inc.                 B&L Equipment Rentals, Inc.
     Arizona Pipeline Company                      B2Engineering
     Arizona Pipeline Company Gas                  Babcock & Wilcox Construction
     Division                                      Co., Inc.
     Arizona Waste Oil Service Inc.                Backflow Prevention Specialists,
     Armour Petroleum Service &                    Inc.
     Equipment Corp.                               Badger Daylighting Corp.
     Arnold's Custom Seeding LLC                   BAGG Engineers
     Array Construction LLC                        Bailey's Trenchless Incorporated
     Arrow Acoustics, Inc.                         Baker Hughes Process & Pipeline
     Arrow Drillers Inc - Nevada                   Services
     Division                                      Baker Hughes US Land
     Arroyo Trucking, Inc.                         Baker Topping, Inc.
     Ascent Elevator Services Inc.                 BakerCorp
     Ashbritt Inc.                                 Bakersfield Pipe and Supply, Inc.
     Ashbrook Enterprises Inc                      Baldoni Construction Service, Inc.
     Ashlin Environmental Air Services



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     Ballard Marine Construction -                  Billings Flying Service, Inc.
     Corporate                                      BioMaAS, Inc.
     Bargas Environmental Consulting,               Biotech Scale Up, Inc
     LLC                                            Bjork Construction Co. Inc.
     Barker Mechanical Services, Inc.               B-K Mill and Fixtures, Inc
     Barnard Construction Company, Inc.             BKW, Inc.
     Barnard Pipeline Inc                           Black & Veatch Corporation
     Barnhart Crane and Rigging Co.                 Black Gold Paving & Sealing
     Barrow's Landscaping, Inc                      Blaine Tech Services
     Barry-Wehmiller Design Group,                  Blair, Church and Flynn Consulting
     Inc.                                           Engineers, Inc.
     Baseline Designs, Inc.                         Blankinship & Associates, Inc.
     Basin Enterprises Inc                          Blason Industries, Inc.
     Basin Transportation                           Blue Iron Foundations and Shoring,
     Basin Valve Company                            LLC
     Bastion Security Inc.                          Blue Rock Services, Inc.
     Battalion One Fire Protection                  Blue Sky Environmental, Inc.
     Bay Area Construction, Inc.                    BlueLine Rental, LLC
     Bay Area Traffic Solutions Inc                 Bo Enterprises
     Bay City Mechanical Inc.                       Boart Longyear M&E Drilling
     Bay Valve Services & Engineering               Services
     LLC                                            Bob Smith Glass and Aluminum
     Bayline Cutting and Coring Inc                 Bockmon & Woody Electric Co.,
     Bayside Insulation, Inc.                       Inc.
     BC Laboratories Inc.                           Bohm Environmental
     BCP-3D Inc.                                    Bold Insulation
     Bear Electrical Solutions, Inc                 Bolttech-Mannings, Inc.
     Bear Fireproofing, Inc.                        Bordges Timber Inc
     Beckman Tower                                  Brace Integrated Services Inc.
     Behrens & Associates, Inc                      Brad Moore Logging Sole
     Belshire Environmental Services Inc.           Proprietorship
     Ben's Truck & Equipment, Inc.                  Bradcon
     Benson & Son Electric, Inc.                    Braden Manufacturing
     Benton Fence and Drilling, Inc.                Bradley Tanks Inc.
     Berkeley Cement Inc                            Bragg Companies
     Bess Testlab Inc                               Bragg Crane Service
     BFW Coupling Services Limited                  Brahma Construction Inc.
     BHI Energy I Specialty Services,               Brand Industrial Services, Inc.
     LLC                                            BrandSafway LLC – West Coast
     Big Valley Divers Inc.                         Brannon, Inc.
     Bigge Crane and Rigging Co.                    Bratton Masonry, Inc.
     Bill Jacobson Trucking Company                 Bray Trucking Inc.
     Inc.                                           Brenton VMS, LLC
     Bill Nelson General Engineering                Bridge Diagnostics, Inc
     Construction Inc.                              Bridge Masters Inc
     Bill Sharp Electrical Contractor               Bright Ideas Construction



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     BrightView Landscape Services, Inc.            California Traffic Control
     Brim Aviation Corporation                      California Workforce and Energy
     Brock Services, LLC                            Services
     Bronco Electric                                Californian Environmental Services,
     Brotherton Pipeline                            INC
     Brower Mechanical Heating and Air              CALINC Services Inc.
     Browning Cultural Resources, Inc.              Caltrol Inc.
     Bruce & Merrilees Electric Co.                 Caltrop Corporation
     Bruce Enterprises Parking Area Line            Cal-West Lighting and Signal
     Striping                                       Maintenance Incorporated
     Build It Green                                 Camblin Steel Service, Inc.
     Bullert Industrial Electric, Inc.              Cameron International Corporation
     Burleson Consulting Inc.                       Campos EPC
     Burns & McDonnell Engineering,                 CANUS Corporation
     Inc.                                           Canyon Industries Inc. Field
     C R Fence Company Inc.                         Division
     C Wright & Wright Enterprises Inc              Capax Group, Inc.
     C&H Veteran Enterprises, Inc.                  Cape Environmental Management
     C&R Fence Contractors Inc                      Incorporated
     C.A.R.P.I. U.S.A. Inc.                         Capital Concrete Breaking &
     C.F. Archibald Road & Highway                  Excavating Inc.
     Division                                       Capitol Barricade, Inc.
     C.I. Actuation (Charbonneau                    Capitol Environmental Services, Inc.
     Industries), Inc.                              Capstone Fire Management Inc
     C.T.L. Forest Management, Inc.                 Capt. Doyle' River
     C2R Engineering, Inc.                          Excursions/FunFishing Guide
     Cal Engineering Solutions, Inc.                Service, LLC
     Cal Excavation and Underground                 Carbon Supply Inc
     Inc.                                           Cardno Inc.
     Cal Geotech                                    Caribou Energy Corporation
     Cal Inc.                                       Carlton Christmas Trees LLC
     Cal Pacific Constructors                       Carone & Co, Inc.
     Cal Safety, Inc.                               Carrollco Inc.
     Cal Vada Surveying, Inc.                       Cascade Drilling, L.P.
     Cal Valley Construction, Inc.                  Cascade Energy
     Cal West Concrete Cutting Inc.                 Casing Specialties
     Calco Fence Inc                                Cavalry Construction Services, Inc.
     Caldwell Marine International                  CB Tree
     California Boiler Inc                          CB2 Builders, Inc.
     California Boring, Inc.                        CCN Wholesale Nursery &
     California Construction Surveying              Landscaping, Inc.
     Inc.                                           CDK Perforating
     California Cut & Core Inc                      Cedar Creek Corporation
     California Drywall Company                     Cemtek Environmental
     California Locating Service, Inc.              Cencal Mechanical Heating & Air,
     California Reforestation Inc.                  Inc.



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     CENCAL Services, INC.                          CMA Fire Protection
     Cenergy International Services LLC             CMC Steel Fabricators, Inc
     Central Air Conditioning and                   CMC Traffic Control Specialist, Inc.
     Refrigeration                                  CN Utility Consulting Inc.
     Central Coast Acoustic Ceilings                CNS Mechanical Inc
     Central Coating Company, Inc.                  Coast to Coast Inspection Services
     Central Environmental, Inc.                    Inc.
     Central Sierra Pest Control, Inc               Coastal Chemical Co. L.L.C.
     Century Calibrating Company                    Coastal Demo Inc.
     Certified Specialty Gases, Inc.                Coastal Ignition & Controls, Inc.
     CGGS Backhoe Service Inc.                      Coastal Paving Inc.
     CH Reynolds Electric                           Coates Field Service, Inc.
     CH2M HILL Engineers, Inc.                      Coating Specialists and Inspection
     CHA Consulting, Inc.                           Services, Inc.
     Chain Link Fence & Supply, Inc.                Coffey Building Group
     Chaix Company                                  Cogco Inc.
     Challenger Construction Corporation            Coggins Fence & Supply, Inc
     Champion Cleaning Specialist Inc.              Cogstone Resource Management Inc.
     Champion Industrial Contractor                 Coldsweep, Inc.
     ChemTreat, Inc.                                Colibrì Ecological Consulting, LLC
     Chem-weed LLC                                  Columbia Electric, Inc.
     CHI Transportation                             Column Concepts Inc.
     Chow Engineering, Inc.                         Comfort International, Inc.
     Chrisos Tree Trimming                          Commercial Systems
     Chrisp Company                                 Commercial Waterproofers, Inc.
     Ciaccio Enterprizes Inc.                       Community Tree Service
     CIRCOR Reliability Services                    Conco Services Corp.
     Company                                        Concrete Demo Works
     Cisco Air Systems                              Concrete North, Inc.
     City Rise Inc                                  Concrete Wall Sawing Co., Inc.
     City Wide Property Services, Inc.              Concur
     Civil Substations Inc.                         ConeTec Investigations Ltd.
     Civtel                                         Confluence Environmental, Inc.
     Clark Corporate Services                       Conklin Bros Inc
     Clark Seif Clark, Inc.                         Connexsys Engineering Incorporated
     Clark-Cadman Inc.                              Connor & Sons Concrete, Inc.
     Clarus Management Solutions, Inc.              Consolidated Security Integration
     CLE Engineering, Inc.                          Construction Helicopters, Inc.
     Clean Energy                                   Contra Costa Electric Inc.
     Clean Harbors Environmental                    Contractor Services, Inc. of West
     Services Inc.                                  Virginia
     CLEAResult Western Operations                  Control Components, Inc. - CCI
     Clearwater Construction Services,              Control Solutions, Inc.
     Inc                                            Cook Coatings, Inc.
     Clemmer Services                               Cook Construction
     CM Transport                                   Cool Roofing Systems, Inc.



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     Core Tree Care, Inc.                           D. Foskett Trucking, Inc.
     Cornerstone Environmental                      D. J. Scheffler & Nye, Inc.
     Contractors                                    D.A. Lampe Construction
     Corrosion Service Company Limited              D.C. Taylor Co.
     Corrpro Companies, Inc.                        D.L. Payne, Inc.
     Cosco Fire Protection, Inc.                    D.P. Nicoli, Inc.
     Cotton, Shires & Assoc. Inc.                   Dal Chem, Inc.
     COWI North America, Inc.                       Dale J Gomes
     Craig Communications                           Dale Ruyle Trucking, Inc.
     Crane Nuclear, Inc.                            Dale W. Carter Fencing
     CraneCare, Inc.                                Daleo Inc.
     Craneworks, Inc.                               Danco Builders
     Cranmer Engineeering Inc                       Daniel Garrett
     CRB Electrical and Mechanical Inc.             Danny's Construction Company,
     Cross Country HDI                              LLC
     CROSSFIRE CONSTRUCTION                         Dashiell Corporation/Dacon
     COMPANY                                        Corporation
     Crown Energy Services, Inc.                    Davey Tree Surgery Company
     Crown Services                                 David A. Bush Construction
     Crown Technical Systems                        David Graham Enterprises
     Corporation                                    Davis Painting, Inc.
     Crusader Fence Company, Inc.                   DC Electric
     Crux Subsurface, Inc.                          DC Technical Rescue, Inc.
     Cryogenic Transportation LLC                   DeAngelo Brothers, LLC
     (Division of KAG)                              Dean's Acoustical Ceilings, Inc.
     CS Marine Constructors                         Decker Electric Company Inc.
     CTI and Associates, Inc.                       Decker Landscaping, Inc.
     CTi Controltech                                Dees Hennessey, Inc.
     CTS Resources LLC                              DEKOMTE de Temple LLC
     Cudd Pressure Control, Inc.                    Del Sal Framing Inc
     Culbert Installs Doors, Inc.                   Delta Air Quality Services Inc.
     Cummins Pacific                                Delta Grinding Company, Inc.
     Cupertino Electric, Inc.                       Delta Star Inc.
     Curb Appeal Landscape                          Delta Tech Service, Inc.
     Curro Plumbing, Inc.                           DenBeste Water Solutions Inc.
     Curtiss-Wright Flow Control Service            Derrickson Pike Inc
     Corporation                                    DeWalt Corporation
     Cutsforth, Inc.                                Dewey Services Inc.
     Cutting Edge Drapery                           DeWind One-Pass Trenching LLC
     CVE Contracting Group INC.                     d'Heurle Systems, Inc.
     Cypress Envirosystems, Inc.                    Diakont Advanced Technologies
     D K Enterprises, Inc                           Dielco Crane Service, Inc
     D R S MARINE INC                               Dilbeck & Sons, Inc.
     D W Nicholson Corporation                      Dimitra Zalarvis-Chase Consulting
     D&D Drilling Inc. dba.Valley                   Disaster Resource Group LLC
     Drilling Co.                                   Discovery Hydrovac, LLC



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     Diversified Project Services                  Eighteen Trucking
     International Inc.                            El Capitan Environmental Services
     Diversified Utility Services Inc.             El Dorado Water & Shower Service,
     Dixon Marine Services, Inc.                   Inc.
     DNV GL Energy Services USA Inc.               Elecnor Belco Electric, Inc.
     DNV GL USA, Inc.                              Electrical Builders Inc.
     DoC Mapping, LLC.                             Electricraft, Inc.
     Don Pridmore & Son Construction,              Electronic Innovations Inc.
     Inc.                                          Electrosonic Inc.
     Donald S. MacLean Inc.                        Eleven Engineering, Inc.
     Dorfmeier Masonry, Inc.                       Elliott Company-Technical Services
     Double D Disaster Relief LLC.                 Ellis Fence Co.
     Doug Ross, Inc.                               Emerald Transformer Western States
     DPH Electrical Contracting, Inc.              EMF Fire Solutions
     DPR Construction, Inc.                        Empire Wireline LLC
     Drake Vegetation Management Inc.              EN Engineering, L.L.C.
     Draperies by Rico, Inc.                       Enduro Pipeline Services, Inc.
     Dresser-Rand Co/ Dresser-Rand                 Enercon Services, Inc.
     Services/ Field Services/ Arrow               Energy Efficiency Inc
     Services                                      Energy Experts International
     Drewery Construction Co., Inc.                Energy Link Industrial Services
     Drill Tech Drilling & Shoring Inc.            Energy Management Solutions
     DSM Concrete, Inc.                            Energy Systems Group, LLC
     Dudek                                         EnergySolutions, LLC
     Dunkel Machinery Moving LLC                   EnerTouch, Inc. - Energizing Indiana
     Dura Crane Inc.                               Engineering/Remediation Resources
     Dutch Contracting Inc.                        Group Inc.
     DW Plumbing, Inc.                             Enlight Energy Efficient Lighting
     Dwayne Nash Industries                        Enova Solutions, Inc.
     DWH Creative Contracting, Inc.                Enovity Inc
     Dynamic Ratings, Inc                          Entact, LLC
     Dynamic Risk Assessment Systems               Enterprise Roofing Service Inc.
     Inc.                                          EnviroCal Inc.
     E. Mitchell, Inc.                             Environment One Corporation
     E.E. Gilbert Construction Inc.                Environmental Resources
     E.T. Abatement Inc                            Management (ERM)
     E2 Consulting Engineers Inc                   Environmental Safety Solutions
     EagleHawk One LLC                             Environmental Systems Inc of
     East Bay Clarklift, Inc.                      Northern California
     Eaton Corporation                             Environmental Technical Services,
     Eco & Associates, Inc.                        Inc
     Eco Bay Services, Inc.                        Environmental Waste Minimization
     Ecological Concerns Incorporated              Inc.
     Edge Inspection Group, Inc.                   Envise
     Edison Power Constructors, Inc.               EPIC Industrial, Inc.
     EETS Inc.                                     Epic International, LLC



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     Eppler                                         First Call Storm Removal, LLC
     Eric Ross                                      Fishery Foundation of California
     Erickson Incorporated                          Five Points Construction Co., Inc.
     Ernie & Sons Scaffolding                       Fletcher's Plumbing & Contracting,
     Erosion Control Applications Inc.              Inc
     ESP Surveying Inc.                             Flexim Americas Corporation
     Ethos Energy Field Services, LLC.              Flooring Solutions Inc.
     ETIC                                           Flores Excavation and Demolition,
     Eureka Ready Mix Concrete Co.,                 Inc.
     Inc.                                           Fluor Corporation
     Evans Consoles Incorporated                    Fluoresco Services, LLC
     Evans Right of Way Clearing                    Flyers Energy, LLC - 3015
     Evari GIS Consulting, Inc.                     Foothill Electric, Inc.
     Evergreen Landscape                            Forensic Analytical Consulting
     Evoqua Water Technologies LLC                  Forest & Land Works
     EXARO Technologies Corp                        Fort Bragg Electric, inc
     Exponent, Inc.                                 Foundation Constructors, Inc.
     Express Sewer & Drain Inc.                     Foundation Pile, Inc.
     Expro Americas, LLC - Flarestack               Four Star Erectors, Inc.
     and Pipeline Services                          Fox Loomis, Inc.
     Extreme Plastics Plus, LLC                     Framatome Inc.
     Eynon Management dba Eynon                     Frank Dial Logging
     Weed Control                                   Frank M Booth Inc
     F.D. Thomas, Inc                               Fred E. Scott Timber Contracting
     F3 & Associates, Inc.                          Fremouw Environmental Services,
     Fairbanks Scales                               Inc
     Family Tree Service, Inc.                      Frontier Consulting Engineers, Inc.
     Far West Sanitation & Storage                  Frontier Energy, Inc.
     Far Western Anthropological                    Frontline Environmental
     Research Group, Inc.                           Technologies Group Inc.
     Farmer's Custom Pumping, Inc.                  Fuel Cell Energy Inc.
     Farwest Corrosion Control Company              Fugro USA Land, Inc.
     Farwest Insulation Contracting                 Fugro USA Marine, Inc.
     Federal Signal Corporation - Field             G&G Risk Management Consultants
     Service Division                               Inc.
     Ferreira Construction Co., Inc.                G4S Secure Integration LLC
     FES Investments Inc.                           G4S Secure Solutions (USA) Inc.
     FG Concrete Construction                       Garcia & Associates
     Fiberglass Unlimited Inc.                      Garratt-Callahan Company
     Fibrwrap Construction, Inc.                    Gas Transmission Systems, Inc.
     Fidelis Green, INC                             GCJ Inc.
     Filter Recycling Services, Inc.                GE Oil & Gas - North America
     Finta Enterprises, Inc.                        GE Renewable Energy
     Fire & Risk Alliance, LLC.                     GEI Consultants, Inc.
     Firehawk Helicopters, Inc.                     General Construction
     First Alarm Security & Patrol, Inc.            General Electric International Inc.



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     General Electric International Inc. -           Griffin Soil
     Power Services                                  Ground Penetrating Radar Systems,
     GENERAL TREE SERVICE, INC                       Inc.
     Genox Transportation, Inc.                      Groundwater Partners Inc.
     GENTERRA Consultants, Inc.                      Growth Development Marketing Inc.
     Geo Drilling Fluids                             GSI Environmental
     GeoDigital International Corp.                  Guida Surveying Inc.
     GeoEngineers, Inc.                              Guido's Trucking
     George E. Masker, Inc.                          Gulf Interstate Engineering
     George Moore Service Inc.                       Company
     Geo-Solutions Inc.                              Gulf Interstate Field Services, Inc.
     GeoStabilization International                  Gulf Shore Construction Services,
     GeoSyntec Consultants Inc                       Inc.
     GEOVision Inc                                   Guttmann & Blaevoet
     GeoWing Mapping, Inc.                           H & E Equipment Services, Inc.
     Gettler Ryan Inc.                               H&B Drilling and Sons
     GHD Services Inc.                               H&W Nor-Cal Builders
     Ghilotti Bros., Inc.                            H3 Construction Services Inc.
     Giampolini & Co. Inc.                           Haas Group International
     Gibbons Plumbing Inc.                           Hach Company
     Giosand Environmental                           Haley & Aldrich Inc., its subsidiaries
     Transportation                                  and affiliates
     Global Diving & Salvage, Inc.                   Halliburton U.S. Onshore
     Global Nitrogen Services LLC                    Hamanaka Painting Company, Inc.
     Global Specialized Services                     Hampton Tedder Electric Company
     Global Tower Service, Inc.                      Hanford Applied Restoration &
     Goebel Construction Inc.                        Conservation
     Gold Electric Inc.                              Hangtown Electric, Inc.
     Golden Field Services, Inc.                     Hanly General Engineering
     Golden State Sealing & Striping, Inc.           Corporation
     Golder Associates Inc.                          Hardcore Construction, Inc.
     Gordon Directional Boring Inc                   Harder Mechanical Contractors Inc.
     Got Power Inc.                                  Harmon Trucking
     Gowan Construction Company Inc                  HART High-voltage Apparatus
     Graham Contractors Inc.                         Repair & Testing Co., Inc.
     Granite Construction Company                    Hat Creek Construction & Materials,
     Granny's Alliance Holdings, Inc                 Inc.
     Great Lakes Environmental &                     Hatton Crane and Rigging
     Infrastructure                                  Hayward Baker Inc.
     Greenguard Energy Services LLC                  Hazon Solutions
     Greenjacket Inc                                 HCI Inc. Bakersfield Division
     Greg Cox Electrical Enterprises                 HDR Engineering, Inc.
     Greg Shandel Construction                       Health Science Associates
     Gregg Drilling & Testing, Inc.                  Heath Consultants, Inc.
     Greg's Residential EnerGeficiency               Heathorn & Associates Contractors,
     Services                                        Inc



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     Heli-Dunn                                       Hydro Consulting & Maintenance
     Helimax Aviation Inc.                           Services Inc.
     Heliqwest International Inc                     ICF Consulting Group, Inc.
     Henkels & McCoy, Inc.                           IL Mechanical, Inc.
     Hensel Phelps Construction Co.                  Illuminated Creations, Inc.
     Hercon Company, Inc.                            Image In Flight
     Hernandez Trucking                              Industrial Battery Services, Inc
     Hernandez Trucking LLC                          Industrial Solution Services, Inc.
     Hickman Utility Inc                             Industrial Tests, Inc.
     High Country Construction Co.                   Industry Packing and Seals, Inc.
     High Country Line Construction,                 InfraTerra
     Inc.                                            Ingram Fire Protection Incorporated
     Highlands Diversified, Inc.                     Inland Pacific Electrical Contractors,
     HiLine Nation LLC                               Inc.
     Hill Crane Service                              Innovative Construction Solutions
     Hillcrest Sheet Metal, A Division of            Innovative Machine Solutions, LLC
     Mesa Energy Systems Inc.                        Innovex Environmental
     Hillskemper Enterprises                         Management, Inc.
     HI-TECH Rockfall Construction,                  In-Place Machining Company, LLC
     Inc.                                            Insignia Environmental
     HMI Industrial Contractors, Inc.                Insituform Technologies, LLC
     HMT LLC                                         Inspection Services, Inc.
     Hoem & Associates, Inc.                         InspecTools, Inc.
     Hoffman Southwest Corp. DBA                     INSPIRE Environmental
     Professional Pipe Services                      Installit inc
     Holdrege & Kull Consulting                      Instrument & Valve Services
     Engineers & Geologist                           Company
     Holt of California                              Instrument Manufacturing Company
     Holtec International                            Intec Services, Inc.
     Honeywell HPS                                   Intech Mechanical
     Hooven & Co., Inc.                              Integra Services Technologies, Inc.
     Horizon Consulting Inc                          Integrated Comfort Solutions, Inc.
     Hot Foot America LLC                            Integrated Engineers and Contractors
     Hot Line Construction, Inc                      Corporation
     HOT/SHOT Infrared Inspections,                  Integrated Power Services
     Inc.                                            Intelligent Technologies and
     HPS Mechanical, Inc.                            Services, Inc.
     HRST, Inc.                                      Intermountain Electric Company
     HS Brown Construction Inc.                      International Line Builders, Inc.
     Hulsey Contracting Inc.                         INTERNATIONAL TANK & PIPE
     Huntington Lake Tree Service                    COMPANY
     Hushmand Associates Inc.                        Intren, LLC
     Husky HydroVac, LLC                             Intrinsic Transportation, Inc
     Hutchins Inc.                                   Inyon Corrosion Services, LLC
     Hydratight Operations, Inc.                     Iris Tree Service
                                                     Iron Horse Energy Services, Inc.



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     J G Steel Inc.                                 J-W Power Company
     J Givoo Consultants 1 Inc                      JZ Contracting
     J&D Excavation, Inc.                           K and G Concrete Inc
     J&J Pumps, Inc.                                K.W. Curtis Enterprises, Inc.
     J. Dean Ballard & Sons Tile &                  K.W. Emerson Inc.
     Marble Co.                                     Karsyn Construction Inc.
     J. Moraga Construction Inc                     KC Partners Corp.
     J.A.Gonsalves & Son Const                      Kellie Avila Construction Services
     Jack B. Kelley, LLC                            Inc.
     Jack Sanders Painting, Inc                     Ken Neles Trucking
     Jackson Equipment Services                     Kenny Construction Company
     Jacobson James and Associates, Inc.            Kerex Engineering Inc
     Jam Contractors                                Kerne America Inc.
     James L Harris Painting                        Kernen Construction
     JANX                                           Kevin Moore
     Jason Mansfield                                Keystone Aerial Surveys, Inc.
     Jason Pedrotti Trucking                        Kiefner and Associates, Inc
     J-C General Engineering, Inc.                  Kiewit Power
     JC Hutchins Construction                       Killorn Construction
     JCC, Inc.                                      Kim's Professional Landscape
     Jeffco Painting and Coating Inc.               Kindness General Contractors, LLC
     Jeneric Enterprises Inc                        Kinyon Construction Inc.
     Jensen Precast                                 Kister, Savio & Rei
     Jerry Thompson & Sons Painting,                Kleinfelder, Inc.
     Inc.                                           Kleinschmidt Associates
     Jeta Corporation                               KM 106 Construction
     JH Kelly LLC                                   KMF TRUCKING, INC.
     Jim Norman's Trees Unlimited, Inc.             Knight Brothers LLC
     Jim-n-i-Rentals Inc.                           Koffler Electrical Mechanical
     Joe Tantardino Logging, Inc.                   Apparatus Repair, Inc.
     John Crane Inc.                                Kone, Inc.
     John D. Wait Masonry, Inc.                     Konecranes, Inc.
     John Jackson Masonry                           Koppl Pipeline Services, Inc.
     Johnson Controls Inc. - Central                Krazan & Associates Inc.
     Region                                         Kroeker Inc. - Utility Division
     Johnson Controls Inc. - Systems and            KSB, Inc.
     Services North America                         KUMA Corporation
     Johnson Mechanical Contractors,                kV Structures, Inc.
     Inc.                                           L D Transportation LLC
     Jorgensen & Sons, Inc                          L.B. Foster Rail Technologies
     Jose Luis Gutierrez                            Incorporated
     Joseph J. Albanese, Inc.                       LACO Associates
     JRP Historical Consulting, LLC                 Lamon Construction Co., Inc.
     JS Cole Company                                Lane Safety Co., Inc.
     J-Vac                                          Laron Incorporated
     JW Bamford Inc.                                Larry's Backhoe Service



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     LaSen, Inc.                                      Machado & Sons Construction, Inc
     LAV Consulting & Engineering, Inc.               Macmullin Forestry & Logging
     Layfield USA Corp.                               Maddex Turbine Services Ltd. (US
     LCE TRANSPORT, INC.                              Division)
     LCS Restoration Services, LLC                    Magnetech Industrial Services
     LeapFrog Plumbing & Home                         Mahaffey Fabric Structures Inc.
     Improvement, Inc                                 Maintech Resources
     Leavitt's Freight Service - Fresno               Malcolm Drilling Company, Inc.
     Lee Wilson Electric Company, Inc.                Malcolm International LLC
     Leed Mechanical                                  Mallard Construction Inc.
     Left Coast Land Clearing                         Mapleservice, Inc.
     Leidos Engineering, LLC                          Marelich Mechanical Co., Inc.
     Lemire Tractor Inc.                              Mario's Tree Service
     Leslie Heavy Haul, LLC                           Mark Olson Electric Inc
     Lettis Consultants International, Inc.           Mark Thomas & Company Inc
     Level It Installations                           Marken Mechanical Services Inc.
     Lewis & Tibbitts, Inc.                           Mashburn Transportation Services,
     Lewis-Goetz and Company, Inc.                    Inc.
     Lighting Retrofit International, LLC             Maskell Pipe & Supply, Inc.
     Linda Rogers & Associates, Inc.                  Master-Lee Energy Services, Inc.
     Lindco Inc                                       Material Culture Consulting
     Linden Steel & Construction, Inc.                Materials Testing Inc
     LinkPath Communications, Inc.                    Matrix Energy Services, Inc.
     LinTec Corporation                               Matrix HG, Inc.
     Lloyd W Aubry Co Inc.                            Matthew E. Carpenter Construction
     LN Painting Incoporated                          Inc.
     Loggers Unlimited Inc                            Maxim Crane Works, L.P.
     Lohman Helicopter LLC                            MCCORMICK BIOLOGICAL,
     Lonestar West Services LLC                       INC.
     Longitude 123, Inc.                              MCD Trucking LLC.
     Lost River Fire Management                       MCE Corporation
     Services, Inc.                                   McGuire and Hester
     Louis Berger U.S., INC                           MCK Services Inc
     Lovotti Inc                                      McMillen Jacobs Associates, Inc.
     Loy Clark Pipeline Company                       MCS Construction, Inc
     LT Directional Boring                            MCS Glass, Inc.
     Lucchetti Enterprises Inc.                       MCS OPCO, LLC
     Luhdorff & Scalmanini, Consulting                MCY Tree Company
     Engineers                                        MDR Inc
     Lutzenberg's Performance Drilling,               Mead & Hunt, Inc.
     Inc                                              Mears Group Inc.
     Lyles Utility Construction LLC                   Mechanical Analysis/Repair Inc.
     M V Construction, Inc                            Meeker Energy Solutions
     M. Sawcutting, Inc.                              Merced Fence Co
     M.A. McClish Excavating, Inc.                    MESA
     M.A. Steiner Construction, Inc.                  Mesa Associates, Inc.



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     Metropolitan Electrical Construction            MountainFlame Propane
     Inc                                             Incorporated
     Meyers Earthwork Inc.                           MP Environmental Services
     MG Farrell                                      MRC Global Inc.
     M-G Trucks LLC.                                 MSF INC
     MGE Underground, Inc.                           Mt. Adams Tree Service
     MHK Construction, Inc.                          MTI Power Services, Inc.
     Michael Filbin                                  Municipal Maintenance Equipment,
     Michels Corporation                             INC
     Michels Power                                   Munson Pump Services
     Midland Resource Recovery Inc                   MUTI-SII, Inc.
     Miguel A Garcia Landscaping                     MW Swan Construction Inc.
     Mike Brown Electric                             Myers Power Products, Inc.
     Mike Easley                                     N & T Consulting Service
     Mike Odell Surveys                              N2 Electric, Inc.
     Mike's Heating & Air, Inc.                      Nacho's Carpet Clean
     Milbar Hydro-Test, Inc.                         Nalco Company
     Mile High Plumbing                              Naman Trucking Inc
     Miller Pipeline                                 National Air Balance Company
     Minton Door Company                             National Waste Management
     Misita Tree & Land Inc.                         Louisiana, Inc.
     Mission Constructors, Inc.                      Nations Roof LLC
     Mission Critical Specialists, Inc.              NCC Enterprises, Inc
     MISTRAS Group, Inc.                             NDT Global LLC
     Mitsubishi Electric Power Products,             Neil's Controlled Blasting, L.P.
     Inc. - Substation Division                      Nervik Consulting Inc.
     Mitsubishi Hitachi Power Systems                Ness & Campbell Crane Inc
     Americas, Inc.                                  NET ELECTRIC, INC
     MJ Avila Company Inc.                           NETCo Inc.
     MK Consulting Services, Inc.                    Network Environmental Systems,
     MLU Services Inc.                               Inc.
     MM Reforestation Inc                            Network Mapping Incorporated
     MOC Incorporated                                Nevada County Fence Inc.
     Mollie B Stearns DBA Onsite                     New England Sheet Metal and
     Monterey Mechanical Company                     Mechanical Co.
     Montez Glass, Inc.                              New River Electrical Corporation
     Monticelli Painting and Decorating,             New West Partitions
     Inc.                                            Newcomb Tree Experts, INC.
     Montrose Air Quality Services, LLC              Newtron, LLC
     Moorhead Brothers, Inc.                         Nexans High Voltage USA
     Mott MacDonald, LLC                             Nexant, Inc.
     Mountain F. Enterprises, Inc.                   Nicholas Mathey, LLC Pipe View
     Mountain G Enterprises INC                      Nick Champi Enterprises, Inc.
     Mountain Power Construction                     NiGen International, LLC
     Company                                         Nimble Consulting Inc
                                                     Nish-Ko Inc.



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     Nitta, Inc.                                    Olson & Co. Steel
     NJ McCutchen Inc.                              Olson Wagner Construction Inc
     Nomad Ecology, LLC                             OneSource Supply Solutions
     Nor Cal Pipeline Services                      Onstream Pipeline Inspection
     Nor-Cal Battery Company                        Services Inc.
     Nor-Cal Controls ES, Inc.                      Optimal Recovery LLC
     NorCal Corrosion Company                       Ordaz Contracting Inc.
     Nor-Cal Garage Door Co.                        Orr Industries, LLC
     Noresco LLC                                    Osborn General Engineering and
     Nortex Field Services Inc.                     Construction
     North American Fence & Railing                 Osmose Utilities Services Inc.
     Inc.                                           OST Trucks and Cranes, Inc
     North American Field Services                  Otis Elevator Company
     North American Substation Services,            Outback DVBE, Inc.
     LLC                                            Overhead Door Co. of Fresno, Inc
     North American Training Solutions,             Overton Security Services, Inc.
     Inc.                                           Oxbo, Inc.
     North Star Construction and                    P & G Power Corp.
     Engineering, Inc.                              P & R Tower Company, Inc.
     Northgate Acoustics                            P31 Enterprises, Inc.
     Northgate Environmental                        Pac Machine Company, Inc
     Management, Inc.                               Pace Analytical Services, LLC
     Northgate Tree Care, LLC                       Pace Engineering Inc
     Northstar Environmental                        Pacific Boring, Inc.
     Remediation                                    Pacific Coast Drilling Company Inc.
     Northstate Aggregate, Inc.                     Pacific Coast Energy Conservation
     Northwest Demolition &                         Services Inc.
     Dismantling - US Division                      Pacific Coast Locators, Inc.
     Northwest Hydraulic Consultants                Pacific Coast Tree Experts
     Inc.                                           Pacific Gold Marketing, Inc.
     Northwest Industrial Engine and                Pacific Petroleum California Inc.
     Compressor Co                                  Pacific Pipeline Services Inc.
     NOV FluidControl, a division of                Pacific Plumbing & Sewer Service,
     National Oilwell Varco, LP                     Inc
     Novinium                                       Pacific Power Engineers
     NRC                                            Pacific Surveys, LLC
     O & M Industries Inc.                          Pacific Tank & Construction
     O.C. Jones & Sons, Inc.                        Pacific Titan, Inc.
     O.C. McDonald Company Inc.                     Pacific West Communications Inc.
     OC Vacuum, Inc.                                Pacific West Controls, Inc.
     Ocampo-Esta Corporation                        Padre Associates Inc
     ODOR-TECH LLC                                  Paleo Solutions, Inc.
     Oilfield Environmental &                       Panther Technologies
     Compliance Inc.                                Papich Construction Company, Inc
     Oldcastle Precast, Inc.                        PAR Electrical Contractors, Inc.
     Olsen Investments, Inc.                        Paradigm General Contractors



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     Paragon Enterprises                             Pivot Interiors, Inc.
     Paramount Pest Control, A CA Corp               Pivox Corporation
     PARC Environmental                              PJ Helicopters Inc
     Parmeter General Engineer &                     Planned Environments, Inc.
     Services, Inc.                                  Plant Construction Company, L.P.
     Parsons Environment &                           Plastocor, Inc.
     Infrastructure Group Inc.                       Platinum Scaffolding Services Inc.
     Partition Specialties, Inc                      PMK Contractors
     Parus Consulting Inc                            Polvera Drywall of Riverside Corp
     Pat Baird Acoustics, Inc.                       dba Empire Insulation
     Patriot Environmental Laboratory                Ponder Environmental Services Inc
     Services, Inc.                                  Portable Machine Casting Repair of
     Patriot Environmental Services, Inc.            Oklahoma
     Patriot General Engineering Inc                 Porter Diving LLC
     Paul Graham Drilling & Service                  Portnoy Environmental Inc.
     Company                                         Potelco Inc.
     Paulson Excavating, Inc.                        Powell Electrical Systems, Inc.
     PCA Services LLC                                Service Division
     PDM GEL Solutions, Inc.                         Power Contracting LLC
     Pe Ben USA, Inc.                                Power Engineering Construction Co
     Peacock Construction, Inc                       Power Engineering Inc.
     PEG Construction Incorporated                   POWER Engineers Inc.
     PEI Placer Electric Inc                         Power One LLC
     Penhall Company - Anaheim, CA                   Power Systems Professionals Inc.
     Perera Construction & Design, Inc.              Powercon Testing and Engineering,
     Performance Contracting, Inc.                   Inc.
     Performance Mechanical Inc.                     PPS Operators, LLC
     Perrin Construction, Inc.                       Prava Construction Services, Inc.
     Persson Inc.                                    Praxair
     Pest Management Technology                      Praxair Services, Inc.
     Pestmaster Services of Lake and                 Praxis Optical Networks, Inc.
     Mendocino                                       Precise Concrete Sawing Inc.
     Peterson Power Systems, Inc.                    Precision Crane Service Inc
     Petrochem Insulation Inc                        Precision Directional Boring, Inc.
     Phillips & Jordan, Inc.                         Precision Drilling, Inc.
     Phillips Excavating Inc                         Precision Excavating & Drilling Inc.
     Phoenix International Holdings, Inc.            Precision Iceblast Corp.
     Pinnacle Pipeline Inspection Inc.               Preferred Power Solutions Inc
     Pinnacle Power Services Inc                     Premier Oilfield Service, Inc
     Pipe and Plant Solutions, Inc.                  Premier Stone and Tile
     Pipe Jacking Trenchless, Inc.                   PRENAV, INC.
     Pipeline Video Inspection, LLC                  Presidio Systems, Inc.
     Piper Environmental Group, Inc.                 Preston Pipelines, Inc.
     Pipetel Technologies Inc.                       Pride Contracting Inc.
     Pitcher Drilling Co.                            Primoris Demolition, Inc.
     Pius Construction, Inc.                         Primoris Electric, Inc.



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     Pro Safety & Rescue, Inc.                       R&S Overhead Doors and Gates of
     Proact Services Corporation                     Sacramento, Inc.
     Procore Incorporated                            R&S OVERHEAD GARAGE
     Proctor Engineering Group                       DOOR, INC.
     ProEnergy Services LLC                          R. D. Morgan Construction Inc
     Professional Concrete Sawing, Inc.              R.A. Lee &Sons, LLC
     Professional Electrical Construction            R.E.Y. Engineers, Inc.
     Services, Inc.                                  R.F. MacDonald Company
     Prometheus Energy Group, Inc.                   Rader Excavating, Inc.
     PROS Incorporated                               Radman Aerial Surveys, Inc
     Proteus Inc                                     Raibon & Colbert Associates, Inc.
     PSA Laboratory Furniture, LLC                   RailPros Field Services
     PSC Industrial Outsourcing, LP                  Rainbow Tree Company
     PTS Rentals, Inc.                               Rancho Tree Service
     Public Utilities Maintenance Inc.               RankerAMG
     Pullman SST, Inc.                               Ray Godon & Family
     Pure Effect Inc.                                Raymond Romine
     Pure Technologies Ltd.                          RC Electric
     PureHM Inc.                                     RCI General Engineering
     PV Tree Service, Inc.                           RCP, Inc.
     QPCS, LLC                                       Red Mtn Resource LLC
     Quality Carriers, Inc.                          Red Top Electric Co., Emeryville,
     Quality Conservation Services, Inc.             Inc.
     Quality Erectors & Construction                 Redding Air Service Inc.
     Quality Hoist & Electric                        Redding Tree Growers Corporation
     Quality Landscape Inc.                          Redline Directional Inc.
     Quality Striping, Inc.                          Redmond Construction LLC
     Quality Tong Service, Inc.                      Redwood Electric Group Inc. -Corp.
     Quanta Utility Engineering Services             Redwood Painting
     Quantum Spatial, Inc.                           Reeve Trucking Company Inc.
     Queirolo's Heating & Air                        Reid Recovery Service, Inc.
     Conditioning, Inc.                              Reinhausen Manufacturing Inc.
     Quest Integrity USA, LLC                        Relevant Solutions, LLC
     Quinn Group, Inc.                               Reliability Optimization Inc.
     R & M Paving Contractor's Inc                   Remedial Construction Services, LP
     R & S Erection North Peninsula                  Remedial Transportation Services,
     R & S Erection of Vallejo, Inc.                 Inc.
     R & S Erection Tri-County Inc                   Rentokil North America, Inc.
     R &S Erection of Santa Rosa, Inc.               Res Environmental Services
     R Connally Construction Consulting              Rescue Solutions
     R&S Erection of Monterey Bay, Inc.              Reserve Equipment, Inc.
     R&S Erection of Richmond Inc.                   Residential Weatherization Inc
     R&S Erection of San Mateo Cty.                  Resource Environmental, Inc.
     R&S Erection of Southern Alameda                Restoration Management Company
     County Inc.                                     Retubeco Incorporated
     R&S Erection, Inc                               RHA Northern CA Division



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     RHA Southern CA Division                       Salmon River Helicopters Inc.
     Riccardelli Consulting Services Inc.           Salvador F. Calderon DBA Salco
     Richard C Johnson                              Better Energy
     Rincon Consultants Inc.                        Samuel Engineering, Inc.
     RJT, Inc                                       San Francisco Bay Railroad
     RJW Enterprises Inc.                           San Joaquin Fire Protection Inc.
     Road Safety Inc.                               San Luis Pump Company
     Roadsafe Railroad & Utility Division           Sarens USA, Inc.
     Roadway Construction Inc.                      SAS Home Solutions
     Roberto Jose Jules                             SC Custom Display Corporation
     Roberts Service & Construction                 Scenic Landscape and Design
     Robinson Concrete Cutting, Inc.                Schetter Electric, Inc.
     Robinson Electric Co., Inc.                    Schindler Elevator Corp.
     Rocky Canyon Utility &                         Schlumberger US Land
     Construction, Inc.                             Schneider Electric Systems USA, Inc
     Roebbelen Contracting Inc                      Schneider Electric USA
     Rogers Machinery Company Inc.                  Schweitzer Engineering
     Romano's Painting & Paper Hanging              Laboratories, Inc.
     Roofing Constructors Inc. dba                  Scientific Aviation, Inc.
     Western Roofing Service                        Scientific Drilling International, Inc.
     Rope Partner Inc.                              Scott Timber Contracting Inc.
     Rosemount Field Operations                     SD Enterprises, Inc
     Rosen USA                                      SD Myers, LLC
     Rosendin Electric, Inc.                        SE Energy, LLC
     RT Patterson Company, Inc                      SE Pipeline Construction
     Rua & Son Mechanical Inc.                      Seamair Construction, Inc.
     RunningM Group, Inc.                           SecureCom, Inc. - California
     Russelectric Inc                               Division
     Russell L. Dyer                                Security Management & Consulting
     S & C Electric Co - Power Systems              International, Inc.
     Solutions                                      SEECO Utility Services
     S and S Supplies & Solutions                   SEL Engineering Services Inc
     S&S Landscaping and Lawn                       Selby's Soil Erosion Control Co. Inc.
     Services INC                                   Select Energy Service LLC
     S.S. Papadopulos & Associates, Inc.            Semper Construction Inc.
     Saar's Creative Concrete                       sensemetrics, Inc.
     Sabah International Incorporated               Sentinel Fire Equipment Company
     Sac Valley Electric Inc.                       Sentry Equipment Corp
     Sacramento Executive Helicopters,              Sequoia Ecological Consulting, Inc.
     Inc.                                           Sequoia Engineering & Design
     Safety Network Traffic Control                 Associates
     Services, Inc.                                 Service Metal Products, Inc.
     Safety-Kleen Systems Inc                       Seton Pacific Construction
     Safway Services, LLC (heavy                    SF&S Inc
     industrial industry)                           Shaw Pipeline Services, Inc.
     SAGE Engineers, Inc.                           Sheedy Drayage Co.



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     Shier Aviation Corporation                     Solar Turbines Incorporated
     Shifflet Brothers Enterprises, Inc.            Sonoma fabricators, Inc.
     SHN Consulting Engineers &                     Sonoma Sweepers, Inc.
     Geologists, Inc.                               Source California Energy Services,
     Shooter & Butts, Inc.                          Inc.
     Shore-Tek Inc                                  Source Power Services of CA, Inc.
     Siboney Contracting Co.                        Southern Electrical Equipment
     Siemens Energy, Inc., Fossil                   Company
     Services Power Generation                      Southern States, LLC.
     Siemens Industry, Inc. - Building              Southgate Glass and Screen, Inc.
     Technologies                                   Southland Industries- Northern
     Siemens Industry, Inc. Customer                California Division
     Services Division                              SPEC Services, Incorporated
     Sierra Conveyor Co. Inc.                       Specialized Contracting Services,
     Sierra Electric                                Inc.
     Sierra Integrated Services Inc.                Specialty Construction, Inc.
     Sierra National Construction Inc.              Spray Tech Systems, Inc.
     Sierra Snow Removal & Excavating               Sprig Electric
     Inc.                                           Spring Rivers Ecological Sciences
     Sierra Trench Protection Rentals &             LLC
     Sales                                          SPX Transformer Solutions Inc. -
     Sikes Asphalt Group Inc                        Service Division
     Silicon Valley Foundation, Inc                 SR Diversified, LLC
     Siller Construction Co                         Standard Industrial Structures
     Silvas Oil Company, Inc.                       Corporation
     Silverado Contractors                          Stanley Electric Motor Co., Inc.
     Silverline Pacific                             Stantec
     SimplexGrinnell                                Staples & Associates, Inc.
     Simpson Gumpertz & Heger Inc.                  Starch Concrete, Inc.
     Sinclair General Engineering                   Statewide Traffic, Safety & Signs,
     Construction, Inc.                             Inc.
     Site Safe Traffic Safety And Signs             Stephens Mechanical Corp.
     SJL Construction, Inc.                         Stericycle Environmental Solutions,
     Skyline Construction, Inc.                     Inc
     Skyline Scaffold Incorporated                  Sterling P. Holloway III, Inc.
     Skyline Tree Enterprise                        Steve Halsey Electric
     Sloan Brothers Company                         Steven C. Seegert
     SMA Solar Technology America,                  Steven's Excavating
     LLC                                            Stillwater Ecosystem Riverine and
     Smart Tree Solutions Inc.                      Watershed Sciences
     SmartWatt Energy, Inc.                         Stock Wood Co.
     Smith Grinding A Partnership                   Stockton Fence & Material Company
     Snelson Companies, Inc.                        Stonhard, A division of StonCor
     Sno Valley Process Solutions, Inc.             Group, Inc
     Soar Environmental Consulting                  Stotts & Sons Inc
     Solar Grounds Landscaping Inc                  STRATEGIC MECHANICAL INC.



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     Stress Engineering Services                    T & T Truck & Crane Service
     Stric-Lan Companies, LLC.                      T and S DVBE Inc.
     Striping Graphics, Inc                         T&D Services, Inc.
     Stroer and Graff, Inc.                         Taber Drilling
     Structural Integrity Associates, Inc           Tait Environmental
     Stump & Sons, Inc.                             Tait North America, Inc.
     Sturgeon Electric California, LLC              Take Care Termite
     SUEZ WTS USA, Inc.                             Tamarack Pest Control, Inc.
     Sullivan Thompson Masonry &                    Tap Master, Inc.
     Restoration                                    Tarlton and Son, Inc
     Sulzer Chemtech USA, Inc.                      Tashjian Towers Corporation
     Summit Crane Company of Solano,                Tate Environmental Services, INC
     Inc.                                           Taylor Heavy Hauling
     Summit Helicopter, Inc.                        TCB Industrial, Inc.
     Summit Line Construction, Inc.                 TDW Services, Inc.
     Summit Plumbing and Mechanical,                Team EES, Inc.
     Inc.                                           Team Industrial Services, Inc.
     Sun Light and Power Utility Services           Techimp US Corporation
     Sun Mountain, LLC                              Tecta America
     Sunbelt Rentals Inc.                           TEG Oceanographic Services
     Sunbelt Transformer                            Teichert Pipelines, Inc.
     Sundowner Insulation Company                   Teledyne Monitor Labs Inc.
     Sunrise Engineering Inc.                       Telstar Inc.
     SuperbTech, Inc.                               Tenaris Hydril Field Services
     Superheat FGH Services, Inc.                   Tenera Environmental Inc.
     Superior Coring & Cutting Inc.                 Terminix Co Intl LP Commercial
     Superior Electric, Inc.                        Division
     Surefire Underground & Consulting              Terra Pacific Group
     Inc.                                           TERRA Solutions & Services
     Surf To Snow Environmental                     Terra Verde Environmental
     Resource Management                            Consulting
     Surveying and Mapping, LLC                     Terra West Construction
     Sustainable Group Inc.                         Terracon Consultants, Inc.
     Suts-Superior Underground Tank                 Terry Tree Service South, LLC
     Service Inc                                    Tetra Tech OGI DBA Tetra Tech,
     Swaim Biological, Inc.                         Inc.
     SWCA Environmental Consultants                 Tetrad Services, Inc.
     Swenson Development &                          Thatcher Transportation, Inc
     Construction                                   The Burrow Corp Inc
     Switchgear Solutions, Inc.                     The Campbell Valve & Engineering
     Syblon Reid                                    Corporation
     Sylvania Lighting Services Corp.               The Davey Tree Expert Company
     Synergy Companies                              The Fire Consultants, Inc.
     Synergy Tree Trimming Inc.                     The HDD Company
     Syserco Inc.                                   The Original Mowbray's Tree
     TALX Corp.                                     Service



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     The Smith Company, Inc.                      Triton Construction Services
     The Spear Group, Inc.                        TSA Drilling Inc.
     Thoma Electric                               TSU Tree Services Unlimited, Inc.
     Thomas Gast & Associates                     TTR Substations, Inc.
     Environmental Consultants                    Tubit Enterprises, Inc.
     Thomas N Thomas                              Tulsa Inspection Resources, LLC.
     Throop Lightweight Fill                      Turner Construction Company
     ThyssenKrupp Elevator Corporation            Turner Trans Lift, Inc.
     Tig Tech Inc                                 Turn-Key Constuction Services Inc.
     Tim Messer Construction, Inc.                TWS Environmental, LLC
     Timberline Helicopters, Inc.                 Tyco Integrated Security LLC
     Timothy A. Hilarides                         Type One Tree Service
     Titan Crane & Rigging, inc.                  Tyrrell Resources Inc.
     TJ Sutton Enterprises, LLC                   U.S. Glass, Inc.
     TJH2B Analytical Services Inc.               Underground Construction Co., Inc.
     TNG Energy Services, Inc.                    Underground Electric Construction
     TNT Industrial Contractors Inc.              Co., LLC
     Tony's Landscaping and                       Underground Systems Inc
     Maintenance                                  Underwater Construction
     Towill, Inc.                                 Corporation
     Townsend & Schmidt Masonry                   Underwater Resources Inc.
     Trachte, Inc                                 UNICO Engineering, Inc.
     Traffic Control Pros                         Unico Mechanical Corp.
     Traffic Management, Inc.                     UNITED CALIFORNIA GLASS &
     Transcat, Inc.                               DOOR
     Transformer Technologies                     United Pro Painting
     Transkor Group Inc. (US)                     United Rentals - Onsite
     Transmission and Distribution                Univar USA Inc.
     Services, LLC                                Universal Coatings, Inc
     TRC Companies Incorporated                   Universal Dry Ice Blasting
     TRC Pipeline Services, LLC                   Universal Plant Services
     Trees, LLC                                   Universal Site Services, Inc.
     Trench Plate Rental Co.                      UPE Resources, Inc
     Trenton Corporation                          US Pipeline Incorporated
     Tri Sage Consulting                          UTEC Constructors Corporation
     Tri Tool Inc. adba Tri Tool Power            Utility Construction Services LLC
     Services Inc.                                Utility Tree Service LLC
     Tri-City Power Inc                           V Lopez Jr. & Sons G. E.C., Inc
     Trickle Creek Excavation, Inc.               V&G Builders, Inc.
     Trident Environmental and                    Vadnais Trenchless Services, Inc.
     Engineering, Inc.                            Valin Corporation
     Trimark Associates, Inc.                     Valley Arbor Pros, Inc.
     Trinity Geotechnical Engineering,            Valley Power Systems North
     Inc.                                         Vegetation Solutions Incorporated
     Tri-Pacific Supply Inc                       Veolia ES Industrial Services, Inc.
     Tri-Technic Inc



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     Vermilion Resource Management,                 Wayne V. Johnson
     Inc.                                           WC Tree Service Inc.
     Versalence LLC                                 Weatherford International, LLC -
     Vertical Construction Erectors, LLC            USA
     Vertiv Services                                Weed Management Company
     Verus Associates LLC                           Well Analysis Corporation, Inc.
     Veteran Power Inc                              West Coast Air Systems
     VForce, Inc                                    Technologies
     Victor Backhoe Inc.                            West Coast Drilling
     Victory Well Surveys, LLC                      West Coast Growth Solutions, LLC
     Viking Automatic Sprinkler Co                  West Mountain Timber
     Viking Drillers, Inc.                          West Valley Construction Company
     Vince Sigal Electric Inc.                      Inc
     Vintage Paving Company Inc.                    Westates Mechanical Corp.
     Virginia Mechanical Inc                        Western Allied Mechanical Inc
     VM Tree Service                                Western Construction Enterprises
     Vmax Electric Inc.                             Inc.
     Vogt Power International Inc.                  Western Environmental Consultants
     Voith Turbo Inc.                               Inc.
     Vortex Industries, Inc.                        Western Industrial X-Ray, Inc.
     Voss Laboratories                              Western Land Renovators Inc.
     VP Hauling & Demolition                        Western Oilfields Supply Company
     VPL Transport LLC                              DBA Rain for Rent
     Vulcan Construction & Maintenance,             Western Properties
     Inc.                                           Western States Fire Protection -
     W. C. Sanders Construction Inc.                Corporate
     W.A. Chester LLC                               Western Utilities Transformer
     W.Bradley Electric, Inc.                       Service
     Wahlund Construction, Inc.                     Western Waterproofing Company,
     Walberg Inc.                                   Inc.
     Waldkirch Electric                             Westinghouse Electric Company,
     Walgamuth Painting, Inc.                       LLC
     Walker Telecomm, Inc.                          Whirlwide Inc.
     Wallis Water Systems                           White Construction Co
     Walschon Fire Protection, Inc.                 White Pine LLC
     Walter J. Transportation & Logistics           Whiting Services
     Warren Duncan Contracting                      WHPacific
     Wartsila North America, Inc.                   Wild Electric
     Waste Management National                      Wild Well Control, Inc.
     Services Inc.                                  Wild West Reforesters Inc.
     Water One Industries, Inc.                     Wilgus Fire Protection Inc.
     Water Tectonics, Inc.                          Willdan Energy Solutions
     Watson Electric, Inc.                          Williams Scotsman, Inc. (MD)
     Way-Mar Construction Inc.                      Wilson Construction Co
     Wayne E. Swisher Cement                        Winco, Inc.
     Contractor Inc                                 Window Innovations Inc



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      Windy Tree Inc.                        Interested Parties / Notice of Appearance
      Winegard Energy, Inc.                  Parties
      Winifred Au, Incorporated                      21st Century Casualty Company;
      Wipf Construction                              21st Century Insurance Company;
      WK Mclellan Co                                 A&J Electric Cable Corporation
      Wollin Group, Inc.                             A.J. Excavation Inc.
      Womack Striping, Inc.                          ACRT, Inc.
      Wood Group USA, Inc. – Upstream                Adam Balogh,
      and Midstream Engineering                      Adelina McNeive
      Woodward Drilling Company Inc.                 Adriana Robinson
      WorleyParsons Group, Inc.                      Adventist Health System/West
      WRECO                                          Adventist Risk Management, Inc.,
      Wright Tree Service of the West,               (“Gencon Entities”);
      Inc.                                           AECOM Technical Services, Inc.
      WTL Corporation                                Aegion Corporation and its
      Wylatti Resource Management, INC               subsidiary entities: Corrpro
      X2NSAT                                         Companies, Inc., Insituform
      XNS Inc                                        Technologies, LLC and Fibrwrap
      Y A Hardy Trucking                             Construction Services, Inc.
      Young Electric Company Inc                     Agajanian, Inc.
      YTS Utility Group                              Aggreko
      Z and H Associates, Inc.                       Agile Sourcing Partners, Inc.
      Z Electric Wire Works, Inc.                    Agua Caliente Solar, LLC
      Zayo Group, LLC                                Ahmer Bilal In., dba Tire Depot
      Zefiro Corporation                             Aida Rodriguez
                                                     Allianz Global Corporate &
                                                     Specialty
DIP Term Loan                                        Allied Property and Casualty
      Apollo Global Management LLC                   Insurance Company, a Nationwide
      Caspian Capital LP                             company;
      Centerbridge Partners LP                       Almendariz Consulting, Inc.
      Citadel Advisors LLC                           Alysia Biegler
      Davidson Kempner Capital                       AMCO Insurance Company, a
      Management                                     Nationwide company
      Diameter Capital Partners LP                   Amelia Leal
      Farallon Capital Management,                   American Alternative Insurance
      L.L.C.                                         Corporation
      Lord, Abbett & Co. LLC                         American Bankers Insurance
      Oaktree Capital Management, L.P.               Company of Florida;
      The Bank of Tokyo-Mitsubishi UFJ,              American Bankers Insurance
      Ltd.                                           Company;
      U.S. Bank National Association                 American Reliable Entities,
      Pacific Investment Management                  American Reliable Insurance
      Company LLC                                    Company;
      TPG Sixth Street Partners, LLC                 American Security Insurance
                                                     Company;



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     Amica Mutual Insurance Company,                California Casualty Indemnity
     Amica Mutual Insurance Company;                Exchange;
     Andries Bijstra                                California Community Choice
     Angela Coker                                   Association
     Anita Freeman                                  California Department of Fish and
     Annaleisa Batts                                Wildlife
     APTIM                                          California Department of Forestry
     ARB, Inc.                                      Fire Protection,
     Arlington Wind Power Project LLC               California Department of Industrial
     Arocles Aguilar                                Relations
     Ashley Duitsman                                California Department of Industrial
     Assurant Entities,                             Relations
     Astoria LLC                                    California Department of Toxic
     AT&T Corp.                                     Substances Control,
     Atlantica Yield plc, Mojave Solar              California Department of Water
     LLC                                            Resources
     Avangrid Renewables, LLC                       California Efficiency + Demand
     Bakersfield Memorial Hospital,                 Management Council
     Ballard Marine Construction, Inc.              California FAIR Plan Association,
     Bank of America N.A.                           California Franchise Tax Board
     Bank of New York Mellon                        California Independent System
     Barbara Cruise                                 Operator
     Barbara Jean Zelmer                            California Insurance Guarantee
     Barbara Morris                                 Association
     Benjamin Hernandez                             California Insurance Guarantee
     Bennett Lane Winery LLC                        Association (“CIGA”)
     BlueMountain Capital Management,               California Power Exchange
     LLC                                            Corporation
     BNP Paribas                                    California Public Utilities
     BOKF, NA                                       Commission
     Bradley Tanks, Inc                             California Public Utilities
     Brandee Goodrich                               Commission
     Braton Purcell                                 California Self-Insurers’ Security
     Brenda Howell                                  Fund
     Brian Bolton,                                  Calpine Corporation
     BrightView Enterprise Solutions,               Campos EPC, LLC
     LLC                                            Candace Morey
     BrightView Landscape Services, Inc.            Candice Seal
     Brittany Zummer                                Candice Seals
     Bryan Sullivan                                 Capital Dynamics, Inc.
     Butte County                                   Capital Power Corporation
     Calaveras County Water District                Cardno, Inc.
     Calaveras Telephone Company                    Carmen Maza
     California Air Resources Board                 Cascade Energy Storage, LLC
     California Casualty Indemnity                  Catherine McClure
     Exchange                                       Cathy Dorrance



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     Catlin Specialty Insurance Company              Consolidated Edison Development,
     (for itself and its subrogees David             Inc.
     W. Maehl and Rhonda J. Maehl)                   Constantina Howard
     Cecil Morris                                    Corrpro Companies, Inc.,
     Centerbridge Partners, L.P.                     County of Alameda
     Century National Insurance                      County of San Luis Obispo
     Company;                                        Creative Ceilings, Inc.
     Certain affiliates of Liberty Mutual            Crestbrook Insurance Company
     Insurance Company (Liberty)                     Crockett Cogeneration
     CF Inspection Management, LLC                   Crusader Insurance Company,
     CH2M HILL Engineers, Inc.                       Crusader Insurance Company;
     ChargePoint, Inc.                               Cushman & Wakefield, Inc.
     Chevron Products Company a                      Cypress Energy Management - TIR,
     division of Chevron U.S.A. Inc.                 LLC
     Chippewa Pest Control, Inc.,                    Cypress Energy Partners, L.P.
     Christina Guarino                               Dan Clarke
     Christina Metroka                               Danilov Home Furnishings
     Christopher Franklin                            Dannie Cook
     Chubb Custom Insurance Company                  Davey Tree Expert Company
     Church Mutual Insurance Company,                Dean C. Whaley
     Church Mutual Insurance Company;                Dean Franks
     Citibank N.A., as Administrative                Deborah Baker
     Agent for the Utility Revolving                 Deborah Baker dba The Shearlings
     Credit Facility                                 Debra Grassgreen
     Citibank, N.A.                                  Deirdre State Water Resources
     City and County of San Francisco                Control Board, Regional Water
     City of American Canyon                         Quality Control Boards, State
     City of Clearlake                               Energy
     City of Morgan Hill                             Denise Bindernagel
     City of Napa                                    Denise Stooksberry
     City of San Jose                                Dennis Caselli
     City of Santa Rosa                              Dentons US LLP
     Civic Property & Casualty                       Department of Finance for the State
     Company;                                        of California
     Claudia Bijstra                                 Depositors Insurance Company, a
     Clearway Energy Group LLC                       Nationwide Company;
     Clearway Energy Group LLC                       Desert Sunlight Holdings, LLC
     Clearway Energy, Inc.                           Deutsche Bank National Trust
     Clearway Energy, Inc.                           Company
     Clinton Coleman                                 Deutsche Bank Trust Company
     Coast National Insurance Company;               Americas
     Colonial County Mutual Insurance                Devon Jones
     Company;                                        Diablo Winds, LLC
     Compass Lexecon, LLC                            Diamond States Insurance Company;
     Connor Youngblood                               Diane Marger Moore.
     Conocophillips.                                 Dignity Community Care



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     Dignity Community Care dba French              North State, Dominican Oaks
     Hospital Medical Center,                       Corporation,
     Dignity Community Care dba                     Dignity Health Medical Foundation,
     Methodist Hospital,                            Dignity Health, Dignity Health
     Dignity Community Care dba                     Connected Living,
     Sequoia Hospital,                              Director of Industrial
     Dignity Community Care dba                     Discovery Hydrovac
     Woodland Memorial Hospital,                    Don Steele
     Dignity Health                                 Donna Walker
     Dignity Health dba Dominican                   Dotha Steele
     Hospital                                       DTE Stockton, LLC
     Dignity Health dba French Hospital             Dynamics Inc.
     Medical Center,                                Dynegy Marketing and Trade, LLC
     Dignity Health dba Marian Regional             Earl Achilles Halgren
     Medical Center                                 East Bay Community Energy
     Dignity Health dba Marian Regional             Authority
     Medical Center - Arroyo Grande                 EDP Renewables North America
     Dignity Health dba Mercy General               LLC
     Hospital                                       Edward Delongfield
     Dignity Health dba Mercy Hospital              El Dorado Hydro, LLC
     (Bakersfield)                                  Eleanor Lemke
     Dignity Health dba Mercy Hospital              Elizabeth Jones
     and Mercy Southwest Hospital                   Elliott Management Corporation
     Dignity Health dba Mercy Hospital              Elster American Meter Company,
     of Folsom                                      LLC
     Dignity Health dba Mercy Medical               Employers Insurance Company of
     Center (Merced)                                Wausau (Liberty Mutual)
     Dignity Health dba Mercy Medical               EN Engineering, LLC
     Center Redding                                 Enel Green Power North America,
     Dignity Health dba Mercy San Juan              Inc.
     Medical Center                                 Enel X
     Dignity Health dba Mercy Southwest             Engineers and Scientists of
     Hospital                                       California, Local 20, IFPTE
     Dignity Health dba Sequoia Hospital            Epiq Corporate Restructuring, LLC
     Dignity Health dba St. Elizabeth               ERM-West, Inc.
     Community Hospital                             Estela O. Pino
     Dignity Health dba St. Mary's                  Estelle Mullins
     Medical Center                                 esVolta, LP
     Dignity Health Medical Foundation              Everett Freeman Waining, Jr.
     dba Dignity Health Medical Group -             Exponent, Inc.
     Dominican                                      Farmers Entities,
     Dignity Health Medical Foundation              Farmers Insurance Company of
     dba Dignity Health Medical Group -             Oregon;
     Merced                                         Farmers Insurance Company of
     Dignity Health Medical Foundation              Washington;
     dba Dignity Health Medical Group -             Farmers Insurance Exchange;



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     Farmers Specialty Insurance                    Governor Gavin Newsom, in his
     Company;                                       official capacity as Governor of the
     Farmland Mutual Insurance                      State of California,
     Company                                        Granite Construction Company
     Fatima Vazquez                                 Granite Construction Incorporated
     Federal Energy Regulatory                      Gregory Frase Enterprises, Inc. dba
     Commission                                     Kortick Manufacturing Company
     Federal Energy Regulatory                      Gretchen Franklin
     Commission (FERC)                              Guadalupe Caroline Vazquez
     Federal Monitor                                Gurdon Merchant,
     Fibrwrap Construction Services, Inc            Halkirk I Wind Project LP
     Finestone Hayes LLP                            Harris County
     Fire Insurance Exchange;                       HDI Global Specialty SE
     Fire Protection, California                    Heather Blowers,
     Department of Fish and Wildlife, and           HercRentals
     California Air Resources Boarde                HercRentals
     Foremost Insurance Company Grand               Hermenia Martinez
     Rapids, Michigan;                              Hoffman Southwest Corp.
     Foremost Property and Casualty                 Honeywell International Inc.
     Insurance Company;                             Howard Belden
     Foremost Signature Insurance                   Hummingbird Energy Storage, LLC
     Company;                                       Huonganh Annie
     Foursquare Gospel                              Hyundai Corporation USA
     FPL Energy Montezuma Wind, LLC                 Iain A. Macdonald
     Freedom Specialty Insurance                    ICE NGX Canada Inc.
     Company;                                       IFPTE,
     FTP Power LLC, et al.                          Illinois Farmers Insurance Company;
     Fuguan O’Brien                                 Industrial Relations and Office of
     Garcia and Associates                          Self-Insurance Plans,
     Gartner Inc.                                   Infosys Limited
     Gartner, Inc.                                  Insituform Technologies, LLC
     Gencon Entities,                               Integon National Insurance
     Gencon Insurance Company of                    Company;
     Vermont;                                       International Brotherhood of
     General Security Indemnity                     Electrical Workers Local Union
     Company of Arizona (GSINDA)                    1245
     Genesis Solar, LLC                             International Business Machines
     Genesys Telecommunications                     Corp.
     Laboratories, Inc.                             International Church of the
     Geoffrey Dryvynsyde                            Foursquare Gospel
     GER Hospitality, LLC                           Irma Enriquez
     Ghost Ship Warehouse Plaintiffs                Iron Mountain Information
     Gildardo Leal                                  Management, LLC
     Gill Ranch Stforage, LLC                       Isaiah Vera
     Global Diving & Salvage, Inc.                  Itron, Inc.
     Gloria Ruckman                                 Jacob Baker



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     Jacob Bindernagel                             Leslie Attalla
     Jacqueline Qrd                                Level-It Installations, Ltd.
     James Isham                                   Lewis & Tibbitts, Inc.
     JAN X-Ray Services Inc.                       Liberty Insurance Corporation
     JAN X-Ray Services, Inc.                      Liberty Insurance Underwriters Inc.
     Jeanette Robles                               Liberty Mutual Fire Insurance
     Jennifer Horst                                Company
     Jennifer Makin                                Liberty Mutual Insurance
     Jessica Mullan                                Liberty Mutual Insurance Company
     Jesus Mendoza                                 Liberty Mutual Insurance Company
     Joel Batts                                    and its related entities
     John A. Vos                                   Liberty Mutual Insurance Europe
     John Bindernagel                              Limited
     John Stooksberry                              Liberty Mutual Management
     Jose Antonio Vasquez Herrera                  (Bermuda) Ltd (PDW)
     Jose B. Vazquez                               Liberty Specialty Markets
     Jose Bonifacio Vazquez                        Liberty Surplus Insurance Company
     JP Morgan Chase Bank, N.A.                    Liberty Surplus Insurance
     Juanita Coleman                               Corporation
     Judy L. Wong Living Trust                     Linda Schooling
     Judy Wong                                     Lisa Delaine Allain,
     Julie Sherrill                                Lodi Gas Storage, L.L.P.
     K. Hovnanian California Region,               Louisiana Energy Services, LLC,
     Inc.                                          Luis Flores
     Karen Roberds                                 Lynda Flores
     Karl Knight                                   Lynda Howell
     Kay Johnson                                   Macquarie Energy LLC
     Kelly Jones                                   Majesti Mai Bagorio, etc.
     Kenney Olson                                  Marie Dierssen
     Kepco California LLC                          Marie Valenza,
     Kepco California LLC,                         Marin Clean Energy
     Kerman Telephone Co.                          Mark Efren Robinson
     Kevin Thomposon                               Mark Johnson
     Kiefner and Associates, Inc.                  Mark Pulido
     Kimberly Winick                               Markel Bermuda Limited
     Kings River Water Association                 Martha Van Pelt
     Kingston Energy Storage, LLC                  Martha Vasquez
     Klondike Wind Power III LLC                   Mary Haines
     Kompogas SLO LLC                              MC Shiloh IV Holdings LLC
     Kristal Davis-Bolin                           MCE Corporation
     Lake County                                   McKinsey & Company, Inc. U.S.
     Lara Balas,                                   MDR Inc. dba Accu-Bore
     Larry Biegler                                 Directional Drilling
     Laura Hart                                    Mendocino County
     Lawrence E. Grant                             Meritage Homes of California, Inc.
     Leroy Howard                                  Mia Nash



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     Michael Guarino                                Nationwide Lloyds Insurance
     Michael Marroquin                              Company
     Michael Vairo                                  Nationwide Mutual Fire Insurance
     Michael Williams                               Company
     Michael Wong                                   Nationwide Mutual Insurance
     Michels Corporation                            Company
     Mid-Century Insurance Company;                 Nationwide Property & Casualty
     Middle River Power, LLC                        Insurance Company
     Midway Sunset Cogeneration                     Nautilus Insurance Company
     Company                                        Nautilus Insurance Company;
     Mildred C. Harding                             Nearon Sunset, LLC
     Ming O’Brien                                   Neighborhood Spirit Property and
     Minh Merchant                                  Casualty Company;
     Mirna Trettevik                                Nevada County
     Mirna Trettevik                                Nevada Irrigation District
     Mirna Trettevik                                Nexant Inc.
     Mizuho Bank, Ltd.                              NextEra Energy Inc.
     Mobina Irshad                                  NextEra Energy Montezuma II
     Mount Veeder Springs LLC                       Wind, LLC
     MRO Integrated Solutions, LLC                  NextEra Energy Partners, L.P.
     MRP San Joaquin Energy, LLC                    NextEra Energy, Inc.
     Mt. Poso Cogeneration Company,                 Nor-Cal Pipeline Services
     LLC f/k/a Mt. Poso Cogeneration                North Sky River Energy, LLC
     Company, L.P.                                  NRG Energy Inc.
     Muhammad Khalid                                NRG Energy Inc.
     Mustang Project Companies                      Nuance Communications, Inc.
     Nancy Seals                                    Office of Unemployment
     Napa County                                    Compensation Tax Services
     National Casualty Company                      Okja Back
     National General Insurance                     OneSource Supply Solutions, LLC
     Company                                        Open Space District
     National General Insurance                     Oracle America, Inc.
     Company, (“National General                    Oracle Corporation
     Entities”);                                    Ormat Technologies Inc.
     Nationwide Affinity Insurance                  Pacific Central Coast Health Centers,
     Company;                                       Pacific Mobile Structures, Inc.
     Nationwide Agribusiness Insurance -            Paradise Moose Lodge
     NAIC;                                          Parsons Environment &
     Nationwide Agribusiness Insurance              Infrastructure, Inc.
     Company                                        Patricia Kelly
     Nationwide General Insurance                   Paul Bowen
     Company                                        Peninsula Clean Energy Authority
     Nationwide Indemnity Company                   Pension Benefit Guaranty
     Nationwide Insurance Company of                Corporation
     America                                        Peter Ouborg
     Nationwide Joint Underwriting                  PG&E Holdco Group



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     Philip Verwey d/b/a Philip Verwey              Resources Conservation and
     Farms                                          Development Commission,
     Phillips & Jordan, Inc.                        California Department of Forestry
     Pinnacles Telephone Co.                        and
     Pivot Interiors, Inc.                          Richard Lawrence Antognini
     Port City Operating Company, LLC               Righetti Ranch LP
     Port City Operating Company, LLC               Rising Tree Wind Farm II LLC
     dba St. Joseph's Behavioral Health             Road Safety, Inc.
     Center,                                        Robert Robles
     Port City Operating Company, LLC               Robert Ruckman
     dba St. Joseph's Medical Center of             Robert Thomas Zelmer
     Stockton,                                      Robetia Belden
     Potrero Hills Energy Producers, LLC            Rock Creek Hydro, LLC
     Privilege Underwriters Reciprocal              Roebbelen Contracting, Inc.
     Exchange,                                      Roger Martinez
     Privilege Underwriters Reciprocal              Ronald L.M. Goldman
     Exchange;                                      Ruby Pipeline, L. L. C
     Provencher & Flatt, LLP                        Rudolpho Martinez
     Pryor Cashman LLP                              Ryder Jones
     Public Advocates Office at the                 Saint Francis Memorial Hospital,
     California Public Utilities                    Sally Thorp
     Commission                                     Sam Attalla
     Public Employees Retirement                    Sam Dorrance
     Association of New Mexico                      Samantha Jones
     Puget Sound Energy, Inc.                       San Diego Gas & Electric Company
     Quanta Energy Services LLC                     San Francisco Herring Association
     Quest Diagnostics Health &                     Sara Hill
     Wellness LLC                                   Sarah Thompson
     Ramiro Rodriguez                               Scottsdale Indemnity Company
     Randall Yates                                  Scottsdale Surplus Lines Insurance
     RE Astoria LLC                                 Company
     Realty Income Corporation                      SEIU United Service Workers –
     Realty Income Corporation                      West
     Realty Income Corporation                      Sempra Energy
     Rebecca Bindernagel                            Shafter Solar, LLC
     Rebecca Whaley                                 Sharon Britt,
     Recology Inc.                                  Sheron box
     Refining Company-California                    Shiloh I Wind Project LLC
     Refining Company-California                    Shin H. Lee Cobble
     Regional Water Quality Control                 Sierra Energy Storage, LLC
     Boards,                                        Sierra Nevada Memorial - Miners
     Relations and Office of Self-                  Hospital
     Insurance Plans                                Sierra Telephone Company, Inc.
     Renaissance Reinsurance Ltd                    Simon Property Group
     Renee Grant                                    Simpson Thacher & Bartlett LLP
                                                    (Counsel for the Board of PG&E



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     Corporation and Pacific Gas and                 Sukjoo Lee
     Electric Company & Certain Current              SummerHill Homes, LLC
     and Former Independent Directors)               Sunshine Gas Producers, LLC
     Singleton Law Firm fire victim                  Susan Mauer
     claimants                                       Sutter Insurance Company,
     Singleton Law Firm, APC                         Synergy Project Management, Inc.
     (Attorneys for the Ad Hoc                       Tami Coleman
     Committee of Unsecured Tort                     Tanforan Industrial Park, LLC
     Claimant Creditors and the Singleton            Tata Consultancy Services
     Law Firm Fire Victim Claimants)                 TDS Telecom
     Small LEC Creditors                             Telvent USA, LLC
     Snelson Companies, Inc.                         TerraForm Power, Inc.
     Sodexo, Inc.                                    The Act 1 Group, Inc.
     Solar Partners II LLC                           The Alan and Christina Metroka
     Solar Partners VIII LLC                         Family Trust
     SOLON                                           The Attalla Family Trust
     Sonoma County (California)                      The Baupost Group, L.L.C.
     Sonoma County Agricultural                      The Church of Jesus Christ of Latter-
     Preservation                                    day Saints
     Sonoma County Agricultural                      The City of Oakland
     Preservation and Open Space District            The Davey Tree Expert Company
     Sonoma County Community                         The De Wayne Hart Family Trust
     Development Commission                          The Dean C. Whaley Living Trust
     Sonoma County Treasurer & Tax                   The Lee Family Trust
     Collector                                       The Martinez Revocable Trust
     Sonoma County Water Agency                      Agreement
     Sonoma Valley County Sanitation                 The Michael Y. Wong
     District                                        The Mildred C. Harding Trust
     South San Joaquin Irrigation District           The Mosaic Company
     Southern California Edison                      The Okonite Company
     Southern California Gas Company                 The Olson Revocable Inter Vivos
     Southern Power Company                          Trust
     Southwire Company, LLC                          The Ponderosa Telephone Co.
     Southwire Company, LLC                          The Robert and Kay Johnson Family
     Standard Guaranty Insurance                     Trust
     Company;                                        The Utility Reform Network
     Starr Surplus Lines Insurance                   (TURN)
     Company                                         Thomas Atkinson
     State Energy Resources                          Those Certain Underwriters
     Conservation and Development                    Subscribing To Policy No.
     Commission,                                     Ptnam1701313/010 As Subrogee Of
     State Water Resources Control                   Ashford Inc.
     Board,                                          Thyssenkrupp Elevator (TE)
     Steve Christopher                               Todd McNeive
     Stockton, LLC                                   Tonia Hanson
     Suk 24 Lee, Ok-Sun Lee                          Topa Insurance Company



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     Topaz Solar Farms LLC                         Whitebox Asymmetric Partners, LP
     Topaz Solar Farms LLC                         Whitebox Multi-Strategy Partners,
     Town of Paradise                              LP
     Traffic Manaagement, Inc.                     Whitebox Multi-Strategy Partners,
     Transwestern Pipeline Company,                LP
     LLC                                           Wild Goose, LLC
     Travelers Insurance Co.                       William Jones
     TRC Companies, Inc.                           William K O’Brien
     Truck Insurance Exchange                      William N Steel
     Truck Insurance Exchange                      Winners Industry Co., Ltd.
     (“Farmers Entities”)                          Winners Industry Co., Ltd.
     TTR Substations, Inc.                         Woodland Biomass Power, LLC
     Tulsa Inspection Resources PUC,               f/k/a Woodland Biomass Power, Ltd.
     LLC                                           XL Insurance America, Inc.
     Tulsa Inspection Resources, LLC               XL Insurance America, Inc. (for
     Turner Construction Company                   itself and its subrogees Albertsons
     TURN-The Utility Reform Network               Companies, Inc. and Safeway Inc.)
     United National Insurance Company,            XL Insurance America, Inc. (for
     United National Insurance Company,            Themselves and Their Mutual
     (“American Reliable Entities”);               Subrogees Ashford Inc. and Ashford
     United States of America                      Hospitality Trust, Inc.)
     URENCO Limited                                Yuba County
     Valero Refining Company-California            Yuba County Water Agency
     Valley Clean Energy Alliance                  Zakery Peterson
     Vasco Wind, LLC                               Zenith Insurance Company
     Vertiv Services, Inc.; and Vertiv             City of San Jose
     North America, Inc., successor by             Richard Kelly,
     merger to Alber.                              Grant Smelser,
     Veteran Power, Inc.                           John Randall Dighton,
     Vivian Cook                                   Linda Dighton,
     Vivian Isham                                  Nancy Oliver,
     Volcano Telephone Company                     Teddy Oliver
     Voyager Indemnity Insurance                   Santa Clara Department of Tax and
     Company                                       Collections
     Voyager Indemnity Insurance                   United States of America, Interested
     Company, (“Assurant Entities”)                Party United States on behalf of the
     W. Bradley Electric, Inc.                     Federal Energy Regulatory
     Wawanesa General Insurance                    Commission
     Company                                       United States of America
     Wayne Brown                                   Wayne A. Silver
     Western Electricity Coordinating              Quanta Energy Services LLC
     Council                                       County of Santa Clara Department of
     Western Heritage Insurance                    Tax and Collections
     Company                                       United States on behalf of the
     Westside Solar, LLC                           Federal Energy Regulatory
     Whitebox Asymmetric Partners, LP              Commission



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     Interstate Fire & Casualty Company
     Laurie A. Deuschel
     American Construction and Supply,
     Inc.
     Freemont Bank, N.A.
     State Farm Mutual Automobile
     Insurance Company
     State Farm Mutual Automobile
     Insurance Company and its affiliates
     and subsidiaries
     Paradise Irrigation District
     Paradise Unified School District
     Northern Holdings, LLC
     Northern Recycling and Waste
     Services, LLC
     Napa County Recycling & Waste
     Services, LLC
     Napa Recycling & Waste Services,
     LLC
     MassMutual Life Insurance
     Company




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